Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20   Page 1 of 184 PageID 2405




                        EXHIBIT B
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20          Page 2 of 184 PageID 2406




                                   UNITED STATES DISTRICT COURT

                                   NORTHERN DISTRICT OF TEXAS


KIN-YIP CHUN, Individually and on Behalf
                                  § Civil Action No. 3:18-cv-01338-X
of All Others Similarly Situated, §
                                  § CLASS ACTION
                      Plaintiff,  §
                                  §
      vs.                         §
                                  §
FLUOR CORPORATION, DAVID T.       §
SEATON, BIGGS C. PORTER, BRUCE A. §
STANSKI, MATTHEW McSORLEY, GARY §
G. SMALLEY, CARLOS M. HERNANDEZ, §
D. MICHAEL STEUERT, and ROBIN K.  §
CHOPRA,                           §
                                  §
                      Defendants.
                                  §
                                  § DEMAND FOR JURY TRIAL




         [PROPOSED] SECOND AMENDED CONSOLIDATED COMPLAINT FOR
                VIOLATION OF THE FEDERAL SECURITIES LAWS




Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                                              Page 3 of 184 PageID 2407


                                                 TABLE OF CONTENTS

                                                                                                                                         Page


I.       INTRODUCTION AND SUMMARY OF THE FRAUD...................................................1

         A.        Fixed-Price Contracts...............................................................................................4

         B.        Defendants Misrepresented Fluor’s Bidding Practices and Ability to
                   Execute on Fixed-Price Contracts ............................................................................6

         C.        To Assuage the Market Following Disclosures Related to the Gas-Fired
                   Plants, Defendants Falsely Represented that Robust Internal Controls
                   Ensured Similar Problems Did Not Affect Other Fixed-Price Projects ...................7

         D.        Defendants Knew or Were Reckless in Not Knowing that Their Class
                   Period Statements Were False .................................................................................8

         E.        The Truth Was Revealed Through a Series of Partial Disclosures that
                   Eviscerated 88% of Fluor’s Market Capitalization................................................10

II.      JURISDICTION AND VENUE ........................................................................................10

III.     THE PARTIES...................................................................................................................11

         A.        Plaintiffs .................................................................................................................11

         B.        Defendants .............................................................................................................11

IV.      RELEVANT GAAP, FINANCIAL REPORTING, AND INTERNAL PROJECT
         GOVERNANCE RULES ..................................................................................................13

         A.        GAAP: Accounting Rules and Policies for Fixed-Price Projects ..........................14

         B.        SOX: Internal Controls over Financial Reporting .................................................18

         C.        Fluor’s Project Governance ...................................................................................20

V.       FIXED-PRICE PROJECTS ...............................................................................................21

         A.        The Brunswick County Plant .................................................................................21

         B.        The Radford Plant ..................................................................................................22

         C.        The CPChem Project..............................................................................................23

         D.        The Anderson County Plant ...................................................................................23

         E.        The Citrus County Plant.........................................................................................23

                                                                   -i-
Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                                               Page 4 of 184 PageID 2408




                                                                                                                                          Page


         F.        The Greensville County Plant ................................................................................24

         G.        Penguins Offshore Project .....................................................................................25

         H.        The Warren Project ................................................................................................25

VI.      CONFIDENTIAL WITNESS ACCOUNTS .....................................................................26

VII.     DEFENDANTS’ MATERIALLY FALSE AND MISLEADING STATEMENTS
         AND OMISSIONS DURING THE CLASS PERIOD ......................................................31

         A.        False and Misleading Statements and Omissions Regarding Fluor’s
                   Purportedly Conservative Bidding Process and Risk Management ......................31

         B.        False and Misleading Statements and Omissions Regarding the Gas-Fired
                   Plants ......................................................................................................................42

         C.        False and Misleading Statements and Omissions Regarding Fluor’s
                   Disclosure Controls and Procedures and Its Reported Revenue ............................56

         D.        Defendants Omitted Material Information Regarding Unresolved Change
                   Orders, Claims, and Client, Subcontractor, and Supplier Disputes .......................85

VIII.    DEFENDANTS ACTED WITH SCIENTER ...................................................................87

         A.        The Individual Defendants Personally Reviewed and Approved the Faulty
                   Bids at Issue, Monitored Construction Progress, and Misstated These
                   Projects Publicly ....................................................................................................87

         B.        Fluor’s Judicial Admissions Concerning Problems in the Brunswick and
                   Citrus County Plants Establish the Knowing Falsity of Their Prior
                   Misstatements ........................................................................................................90

                   1.         The Mitsubishi Lawsuit..............................................................................90

                   2.         The Duke Lawsuit ......................................................................................91

         C.        Defendants Knew of or Recklessly Disregarded Red Flags Rendering
                   Their Accounting Statements Misleading..............................................................94

         D.        The Magnitude and Frequency of the Charges Evidence Scienter ........................98

         E.        High-Level Departures and Reorganization of Fluor’s Leadership and
                   Business Model Evidence Scienter ........................................................................99


                                                                   - ii -
Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                                             Page 5 of 184 PageID 2409




                                                                                                                                       Page


         F.        The SEC and New Management Are Now Investigating Fluor’s Prior
                   Financial Reporting and Control Environment ....................................................101

         G.        Defendants’ Motive and Opportunity to Conceal the Truth ................................102

                   1.         The Individual Defendants’ Insider Stock Sales ......................................102

                              a.         Seaton’s Class Period Sales .........................................................103

                              b.         Porter’s Class Period Sales ..........................................................110

                              c.         Stanski’s Class Period Sales ........................................................113

                              d.         Smalley’s Class Period Sales .......................................................117

                              e.         McSorley’s Class Period Sales ....................................................121

                              f.         Hernandez’s Class Period Sales ...................................................122

                              g.         Chopra’s Class Period Sales ........................................................125

                   2.         The Individual Defendants Were Motivated to Lower Cost
                              Estimates, Underbid Projects, and Win Projects Regardless of
                              Enhanced Risk so as to Increase Their Compensation ............................128

                   3.         Fluor Was Motivated to Win Repeat Business from Dominion and
                              Duke Even if Doing so Required Underbidding on Projects ...................135

                   4.         Fluor Issued Debt During the Class Period..............................................136

IX.      FLUOR’S RESTATEMENT FURTHER ESTABLISHES FALSITY AND
         SCIENTER ......................................................................................................................137

         A.        The Restatement Further Establishes the Falsity of Certain Class Period
                   Misrepresentations and Omissions ......................................................................139

                   1.         Fluor’s Purportedly Conservative Bidding Process and Risk
                              Management .............................................................................................139

                   2.         Fluor’s Disclosure Controls and Procedures............................................140

                   3.         Fluor’s Practices Related to Revenue Recognition and Projected
                              Losses .......................................................................................................143

                   4.         Fluor’s 2016-2019 Annual and Quarterly Financial Results ...................144

                                                                 - iii -
Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                                               Page 6 of 184 PageID 2410




                                                                                                                                         Page


          B.         The Restatement Further Supports a Strong Inference of Defendants’
                     Scienter ................................................................................................................153

X.        THE DOJ INVESTIGATION FURTHER SUPPORTS A STRONG INFERENCE
          OF SCIENTER ................................................................................................................155

XI.       LOSS CAUSATION ........................................................................................................156

XII.      APPLICABILITY OF THE PRESUMPTION OF RELIANCE AND THE
          FRAUD-ON-THE-MARKET DOCTRINE ....................................................................169

XIII.     THE STATUTORY SAFE HARBOR DOES NOT APPLY TO DEFENDANTS’
          FALSE AND MISLEADING STATEMENTS AND MATERIAL OMISSIONS .........170

XIV. CLASS ACTION ALLEGATIONS ................................................................................172

XV.       CLAIMS FOR RELIEF ...................................................................................................174

COUNT I For Violations of §10(b) of the Exchange Act and Rule 10b-5 Against All
    Defendants .......................................................................................................................174

COUNT II For Violations of §20(a) of the Exchange Act Against the Individual
    Defendants .......................................................................................................................176

PRAYER FOR RELIEF ..............................................................................................................176

JURY DEMAND .........................................................................................................................177




                                                                    - iv -
Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                      Page 7 of 184 PageID 2411



         Lead Plaintiffs Wayne County Employees’ Retirement System, the Town of Fairfield

Employees’ Retirement Plan, and the Town of Fairfield Police and Firemen’s Retirement Plan

(collectively, “Plaintiffs”), individually and on behalf of all others similarly situated, by Plaintiffs’

undersigned attorneys, allege the following based upon personal knowledge as to Plaintiffs and

Plaintiffs’ own acts, and upon information and belief as to all other matters based on the

investigation conducted by and through Plaintiffs’ attorneys, which included, among other things, a

review of U.S. Securities and Exchange Commission (“SEC”) filings and press releases by Fluor

Corporation (“Fluor” or the “Company”), Fluor’s earnings calls, Defendants’ statements to analysts

at presentations and conferences, media and analyst reports about the Company, statements by

percipient witnesses, Fluor’s stock chart, and Defendants’ own Class Period and post-Class Period

admissions. Plaintiffs believe that substantial additional evidentiary support will exist for the

allegations set forth herein after a reasonable opportunity for discovery.

I.       INTRODUCTION AND SUMMARY OF THE FRAUD

         1.        Plaintiffs bring this securities class action on behalf of all persons who purchased or

otherwise acquired Fluor common stock between August 14, 2013 and February 14, 2020, inclusive

(the “Class Period”), against Fluor; David T. Seaton (Chief Executive Officer (“CEO”) during part

of the Class Period); Biggs C. Porter (Chief Financial Officer (“CFO”) during part of the Class

Period); Bruce A. Stanski (CFO during part of the Class Period); Matthew McSorley (President of

the Power segment during part of the Class Period); Gary G. Smalley (Chief Accounting Officer

(“CAO”) during part of the Class Period); Carlos M. Hernandez (interim CEO and CEO during part

of the Class Period); D. Michael Steuert (CFO during part of the Class Period); and Robin K. Chopra

(CAO during part of the Class Period) (collectively, “Defendants”) for issuing materially false and

misleading statements and omissions during the Class Period in press releases and filings with the



                                                    -1-
Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                     Page 8 of 184 PageID 2412



SEC and in oral statements to the media, securities analysts, and investors in violation of the

Securities Exchange Act of 1934 (“Exchange Act”).

         2.        Fluor is a multinational holding company that provides design, engineering,

procurement, and construction services in a variety of industries. Relevant to this action is Fluor’s

business of providing such services for large fixed-price projects, including gas-fired power plant

projects and other infrastructure projects. This securities class action arises from Defendants’

misleading statements and omissions to investors regarding Fluor’s bidding and construction of such

projects pursuant to fixed-price contracts.

         3.        During the Class Period, Defendants systematically underbid fixed-price projects in a

“race to the bottom” with Fluor’s competitors, while stating the very opposite – that Fluor was

conservative and selective in its bidding for fixed-price projects. When financial charges later

became necessary to bring the Company’s faulty bids in line with reality, Defendants falsely stated

that the problems were contained and fully identified, delaying revelation as to the extent of the

damage. The dire ramifications of Fluor’s bidding strategy appeared first in connection with

financial charges on four gas-fired power plants in the Southeastern United States – the Brunswick

County Plant in Virginia, the Greensville County Plant in Virginia, the Anderson County Plant in

South Carolina, and the Citrus County Plant in Florida (together, the “Gas-Fired Plants”). By 2015,

Defendants were forced to admit that Fluor was required to take financial charges related to the

Brunswick County Plant, with additional financial charges occurring throughout the remainder of the

Class Period related to the other Gas-Fired Plants.

         4.        In connection with recognizing charges on the Gas-Fired Plants, Defendants

repeatedly – in response to extensive, direct analyst questioning – assured the market that the

bidding and construction execution problems causing the financial charges on the Gas-Fired Plants

were not systemic throughout the Company. Rather, Defendants repeatedly misrepresented that the

                                                   -2-
Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                      Page 9 of 184 PageID 2413



bidding and execution problems were contained to the Gas-Fired Plants and that only a select few

projects were affected by improper bidding and execution. Defendants misleadingly announced that

they understood the source of their issues and stated they had implemented corrective measures that

would rectify these problems. Defendants also falsely represented that the Company had robust

internal controls such that its critical accounting policies were adhered to, including performing

robust quarter-end estimates of the total costs to complete each of Fluor’s in-progress, fixed-price

projects and accurately accounting for revenue. Defendants even stated that the Company’s internal

controls and risk management processes had been enhanced because of the charges on the Gas-Fired

Plants.

          5.       In truth, however, many of Fluor’s other fixed-price projects suffered from similar

bidding and execution problems. Although Defendants worked to mislead the market into believing

that the ramifications from underbid contracts were contained in the gas-fired power plant market,

they now admit that similar problems infected several of Fluor’s other fixed-price projects, leading

to an announcement on August 2, 2019 that the Company had recognized $714 million in charges

related to three of the Gas-Fired Plants and other fixed-price projects. Defendants have also made

admissions indicating that, contrary to their Class Period statements, their internal controls were

deficient, resulting in a failure to adhere to critical accounting policies related to estimating costs and

revenue, in a series of revelations extending into February 2020.

          6.       Having been led to believe that the bidding and execution problems were limited to

the Gas-Fired Plants and that fixed-price-related charges were fully accounted for, the market was

stunned by the news that these problems were widespread. As a result of Defendants’ conduct, the

SEC opened an investigation into the Company’s “past accounting and financial reporting, and has

requested documents and information related to projects for which the Company recorded charges in

the second quarter of 2019.” Separately, the Company announced that it is conducting an internal

                                                   -3-
Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                     Page 10 of 184 PageID 2414



investigation of its own into its prior financial reporting, “related control environment,” and

“revenue recognition charges.” As a result of the SEC and internal investigations, Fluor announced

that it would be unable to timely file its 2019 Annual Report on Form 10-K by the end of February

2020. To date, the Company still has not yet filed its 2019 Annual Report.

         A.        Fixed-Price Contracts

         7.        Prior to and during the Class Period, Fluor was engaged in bidding for and, if its bids

were accepted, constructing large-scale projects such as power plants and other infrastructure.

Bidding for these contracts was a competitive process whereby Fluor submitted fixed-price bids to

the company commissioning the project in an effort to win the project. If Fluor’s bids were

accepted, Fluor would be named the Engineering, Procurement, and Construction (“EPC”)

contractor and be responsible for designing and engineering the project, procuring necessary

equipment, and constructing the project, in exchange for compensation capped at the level of its

accepted, fixed-price bid.

         8.        Defendants assured the market that Fluor was able to build projects pursuant to fixed-

price contracts for its customers on time, on budget, and at a profit. This assurance was critical,

because these projects were bid and constructed pursuant to fixed-price, lump-sum contracts under

which Fluor committed to construct a project pursuant to specifications provided by the customer for

a set amount of money. In other words, Fluor’s bids, if accepted, obligated Fluor to perform all

contracted activities for the fixed price identified in Fluor’s bid. As a result, these fixed-price

contracts were risky endeavors – if the construction schedule and costs did not proceed according to

Fluor’s bid, Fluor could not recover cost overruns, except in certain very limited situations, and

would have to bear the cost overages.

         9.        Because of the risks inherent in fixed-price, lump-sum contracts, analysts and

investors were intensely focused on Fluor’s bidding of fixed-price projects. On nearly every

                                                    -4-
Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                   Page 11 of 184 PageID 2415



quarterly and annual earnings call during the Class Period, analysts asked repeatedly whether Fluor

was appropriately conservative in bidding for fixed-price work. This focus was especially acute

because, leading up to and during the Class Period, many of Fluor’s competitors – other EPC

companies – were in a “race to the bottom” to win contracts by overly aggressive bids.

         10.       To elevate Fluor’s stock price, it was therefore imperative that Defendants mislead

the market into believing that Fluor’s bids were conservative and reliably profitable. Accordingly,

throughout the Class Period, Defendants assured the market, in response to direct questions from

analysts concerning Fluor’s bidding practices, that Fluor – unlike its competitors – was “highly

selective” and “very conservative.” Indeed, Seaton stated that Defendants were focused on “being

selective in the projects we pursue.” Similarly, Defendants in Annual Reports throughout the Class

Period stated that “[m]any of our competitors may be more inclined to take greater or unusual risks

or terms and conditions in a contract that we might not deem acceptable.” In response to analyst

questions about the increased risk of fixed-price power plant projects, Seaton stated in no uncertain

terms: “We have not seen our risk profile increase . . . .” And Seaton went to great lengths to

convince the market that Fluor was different than its race-to-the-bottom competitors: “[T]his is going

to sound arrogant, and I don’t mean it that way – we have the ability . . . to say no and make sure

that we get projects that we want at the price we want, that allows us to earn the profitability we

expect.” In contrast, Seaton explained, “there will be some folks that will do some silly things” to

win business who “in a few years will . . . regret that.” The message throughout the Class Period

was clear – investors need not worry about Fluor’s potentially risky fixed-price business because

Defendants “don’t chase everything that is out there.” Rather, Seaton assured, “we have been very

conservative in what we take in and how confident we are in that going forward.” Defendants’

assurances concerning Fluor’s conservative bidding process had their intended effect – Fluor’s stock



                                                  -5-
Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                    Page 12 of 184 PageID 2416



price traded at or near its Class Period high at the time Defendants provided these assurances and

when they themselves made millions in ill-gotten gains from insider transactions.

         B.        Defendants Misrepresented Fluor’s Bidding Practices and Ability to
                   Execute on Fixed-Price Contracts

         11.       Defendants’ representations regarding the conservative nature of Fluor’s fixed-priced

bids were misleading. Contrary to their Class Period public statements, Defendants systematically

understated costs and underbid and approved fixed-priced estimates in order to win Fluor new

business, which personally enriched them due to the structure of their incentive compensation

packages tied to new contract awards. The truth was that Fluor was no different than its race-to-the-

bottom competitors, and Defendants were aware of this fact because they personally reviewed and

approved each fixed-price bid. Directly conflicting with the assurances they gave investors,

Defendants ultimately admitted that “there’s always some contractor that is willing to say okay to [a]

lower number, using some excuse to justify the win, Fluor included.” Indeed, Defendants later

admitted unequivocally that all of the Gas-Fired Plants suffered from a “fundamental problem” due,

in part, to “improper estimating,” and that there were “fatal flaws in the bidding process of all of

those projects.” And despite Defendants’ Class Period drumbeat – emphasizing repeatedly that

Fluor was conservative – Defendants admitted that “10 of the 12” gas-fired projects undertaken by

Fluor since 2003 “have underperformed our as-sold expectation, with 3 suffering losses.”

Confidential witnesses (“CWs”) corroborate Defendants’ admissions, describing how their estimates

for required labor and equipment were routinely reduced so that Fluor could remain competitive in

the bidding process. These witnesses further explained that Fluor’s projects suffered because of poor

estimates and a process by which Fluor would whittle its bid down to an unrealistic “best and final”

number in order to win contracts. As CW-9 recounted, Fluor followed a “bid it low, let it grow”

motto whereby the Company would offer lowball bids in order to win the contract, knowing that the

bid amount was insufficient to complete the work under the contract.
                                             -6-
Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                  Page 13 of 184 PageID 2417



         12.       Throughout the Class Period, Defendants also made repeated statements concerning

the construction and budget progress of the Gas-Fired Plants. These statements, too, were

misleading. For example, in June 2014, Seaton touted Fluor’s ability to install any “gas cycle

regardless of what the turbine choice is,” indicating that Fluor was not experiencing any turbine

issues. And in November 2014 and March 2015, Defendants told investors that the Brunswick

County Plant in particular was “on track, on schedule” and “on budget.” Unbeknownst to investors,

the truth, however, was that months earlier – as early as April 2014 – Fluor was experiencing

irreparable delays and problems with the Mitsubishi turbines at the Brunswick County Plant. In fact,

Fluor later judicially admitted that “[b]y April 2014, Mitsubishi had already begun failing to meet”

the delivery schedule for the components necessary to assemble the turbines and, “[i]n addition to

their lateness, the deliveries evidenced a complete lack of quality control.” These problems, Fluor

admitted, “forced [Fluor] to accelerate the construction process at great additional cost.”

         C.        To Assuage the Market Following Disclosures Related to the Gas-
                   Fired Plants, Defendants Falsely Represented that Robust Internal
                   Controls Ensured Similar Problems Did Not Affect Other Fixed-Price
                   Projects

         13.       As a result of the problems with the Gas-Fired Plants and their own involvement in

Fluor’s systematic underbidding, Defendants were on notice of significant red flags with respect to

bidding and executions risks inherent in all fixed-price projects. Understanding that investors feared

other fixed-price projects might suffer from bidding and construction issues similar to those affecting

the Gas-Fired Plants, Defendants worked to convince the market that they had robust internal

controls to ensure that similar problems did not affect other fixed-price projects. In addition to

repeatedly asserting that the problems affecting the Gas-Fired Plants were not “symptomatic” and

not systemic across Fluor, Defendants stated that they had enhanced their controls in order to

identify problems with the Company’s other fixed-price projects and confirmed that no such

problems existed. In Forms 10-Q and 10-K, Defendants certified that the Company’s internal
                                         -7-
Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                   Page 14 of 184 PageID 2418



controls were designed “to provide reasonable assurance regarding the reliability of financial

reporting” and that the “principal executive officer and principal financial officer have concluded

that our disclosure controls and procedures are effective.” Seaton also stated that, because of the

failures in the gas-fired market, Defendants had “significantly increased the independent review of

critical projects” and “changed the review process to where there’s more cold eyes review.” These

statements were made when Defendants knew of red flags and accounting irregularities rendering the

Company’s internal controls, risk management procedures, and revenue recognition practices

deficient, such that they knew, or should have suspected, that their certifications and other statements

concerning internal controls and risk management were misleading.

         14.       Eventually, however, Defendants were forced to disclose that their bidding and

execution deficiencies were not contained to the Gas-Fired Plants. Rather, those issues were

endemic to Fluor’s portfolio of fixed-price projects. Specifically, beginning in May 2019, the

Company announced charges related to three of the Gas-Fired Plants and a large charge related to a

fixed-price offshore project. Then, in August 2019, the Company took massive charges – $714

million in total – related to 3 of the Gas-Fired Plants as well as 13 other fixed-price projects. As

disclosed on February 18, 2020, the SEC is now investigating these charges and the Company’s past

financial reporting. The Company is also conducting an internal investigation into the propriety of

these charges, its prior revenue recognition, and its internal controls environment. What was initially

disclosed as an issue within its Power segment, the problem with underbidding fixed-price contracts

was revealed to infect every one of Fluor’s business segments, causing $1.4 billion in financial

charges.

         D.        Defendants Knew or Were Reckless in Not Knowing that Their Class
                   Period Statements Were False

         15.       Defendants Seaton, Porter, McSorley, and Stanski personally reviewed and approved

the disastrous fixed-price bids. Following Defendants’ repeated assurances that they had personally
                                               -8-
Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                    Page 15 of 184 PageID 2419



and closely reviewed each bid and in-progress project, and after charges were taken on the Gas-Fired

Plants, Defendants were presented with even more red flags alerting Defendants that the Gas-Fired

Plants and other fixed-price contracts were underbid and that additional financial charges were

necessary. Defendants consistently spoke about Fluor’s purportedly conservative bidding process on

nearly every single earnings call throughout the Class Period, demonstrating that the topic was a

primary market concern and high on Defendants’ radar and that Defendants knew or were reckless in

not knowing the truth – that Fluor’s bids were not conservative and were in actuality far below

necessary levels.

         16.       Defendants were also motived to underbid contracts and misrepresent the true state of

affairs with Fluor’s fixed-price projects. For example, as Fluor’s stock price was artificially inflated

by Defendants’ misstatements and omissions about Fluor’s bidding and its growing portfolio of

underbid fixed-price contracts, the Individual Defendants accumulated more than $34 million in net

gains from illicit insider sales before the truth was revealed. Fluor itself also raised $1.6 billion in

offerings while its securities were inflated by the alleged fraud. The Individual Defendants also had

an unusual incentive compensation structure whereby they were rewarded for winning new business,

regardless of how the plants performed in the future. In other words, by winning contracts with low

bids, Defendants created artificially high expected profit margins for projects and correspondingly

high present-day incentive compensation for themselves. Notably, in the wake of this fraud, Fluor

has reversed this perverse incentive, and now bases incentive compensation on performance, not

merely volume. Defendants were also desperate to win and maintain business from Duke Energy

(“Duke”) and Dominion Virginia Electric and Power Company (“Dominion”), the customers that

commissioned the Gas-Fired Plants. According to a CW-3, Dominion was a key customer from

which Fluor wanted to win repeat business after having previously lost its work, while Duke had not

worked with Fluor since some problematic projects in the 1990s and 2000s. Thus, despite stating to

                                                   -9-
Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                      Page 16 of 184 PageID 2420



investors that they were conservative, did not engage in a race-to-the-bottom with their bids,

Defendants knew that their bids were not conservative and, instead, were very risky.

         E.        The Truth Was Revealed Through a Series of Partial Disclosures that
                   Eviscerated 88% of Fluor’s Market Capitalization

         17.       When the effects of Defendants’ woefully underbid contracts and the true extent of

the Company’s failure with respect to fixed-price contracts could no longer be concealed, investors

were blindsided with a series of charges and adverse disclosures related to the Gas-Fired Plants and

other fixed-price contracts. Beginning in July 2015 and continuing to the end of the Class Period,

Fluor recognized charges totaling more than $1.4 billion related to fixed-price projects. Defendants

also admitted that Fluor’s bidding practices were no different than the most aggressive competitors

from whom Defendants had falsely distinguished themselves, ultimately causing Fluor to make the

drastic decision to exit the gas-fired power plant construction business, seriously restrict its fixed-

price bidding practices, and ban fixed-price bids in its Government segment altogether. Through a

series of partial disclosures, the truth slowly leaked regarding Fluor’s improper bids and project

management and execution, causing Fluor’s stock price to decline and investors to suffer significant

monetary damage. By the end of the Class Period, Fluor’s stock price had fallen to $14.79 – an 82%

decline from its Class Period high of $83.93. It has never recovered.

II.      JURISDICTION AND VENUE

         18.       The claims asserted herein arise under and pursuant to §§10(b) and 20(a) of the

Exchange Act, 15 U.S.C. §§78j(b) and 78t(a), and Rule 10b-5 promulgated thereunder by the SEC,

17 C.F.R. §240.10b-5.

         19.       This Court has jurisdiction over the subject matter of this action pursuant to 28 U.S.C.

§1331 and §27 of the Exchange Act.

         20.       Venue is proper in this District pursuant to §27 of the Exchange Act and 28 U.S.C.

§1391(b). Fluor is headquartered in this District and many of the acts charged herein, including the
                                               - 10 -
Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                  Page 17 of 184 PageID 2421



preparation and dissemination of materially false and misleading information, occurred in substantial

part in this District.

         21.       In connection with the acts alleged in this Complaint, Defendants, directly or

indirectly, used the means and instrumentalities of interstate commerce, including, but not limited to,

the mails, interstate telephone communications, and the facilities of the New York Stock Exchange

(“NYSE”).

III.     THE PARTIES

         A.        Plaintiffs

         22.       Lead Plaintiff Wayne County Employees’ Retirement System (“Wayne County”)

purchased Fluor common stock during the Class Period as set forth in the Certification previously

filed (see ECF No. 17-2) and incorporated herein, and was damaged thereby.

         23.       Lead Plaintiff the Town of Fairfield Employees’ Retirement Plan and the Town of

Fairfield Police and Firemen’s Retirement Plan (together, the “Town of Fairfield”) purchased Fluor

common stock during the Class Period as set forth in the Certification previously filed (see ECF No.

90) and incorporated herein, and was damaged thereby.

         24.       Wayne County and Town of Fairfield are collectively referred to herein as

“Plaintiffs.”

         B.        Defendants

         25.       Defendant Fluor Corporation is a multinational holding company incorporated in

Delaware. Through various subsidiaries, Fluor provides engineering, procurement, construction,

fabrication and modularization, commissioning and maintenance, and management services for

clients in a variety of industries such as oil and gas, chemicals and petrochemicals, mining and

metals, transportation, power, life sciences, and advanced manufacturing. Fluor maintains its



                                                - 11 -
Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                    Page 18 of 184 PageID 2422



headquarters at 6700 Las Colinas Boulevard, Irving, Texas 75039. At all relevant times, Fluor’s

common stock traded on the NYSE under the ticker symbol “FLR.”

         26.       Defendant David T. Seaton (“Seaton”) was Fluor’s CEO and Chairman of the

Company from the beginning of the Class Period until May 1, 2019.

         27.       Defendant Biggs C. Porter (“Porter”) was Fluor’s CFO from the beginning of the

Class Period to August 4, 2017.

         28.       Defendant Bruce A. Stanski (“Stanski”) was Fluor’s CFO from August 4, 2017 until

May 31, 2019. Prior to becoming CFO and throughout the Class Period, Stanski was President of

Fluor’s Government group.

         29.       Defendant Matthew McSorley (“McSorley”) was the President of the Power segment

at Fluor from the beginning of the Class Period to October 2015. Thereafter, McSorley has held

various senior officer roles at Fluor.

         30.       Defendant Gary G. Smalley (“Smalley”) was Fluor’s CAO from the beginning of the

Class Period to July 2015.

         31.       Defendant Carlos M. Hernandez (“Hernandez”) was Fluor’s interim CEO from May

1, 2019 until May 16, 2019, when he was appointed as CEO, and has served as the CEO until the

present. Hernandez also served as the Chief Legal Officer from October 2007 until May 2019.

         32.       Defendant D. Michael Steuert (“Steuert”) has served as Fluor’s CFO from June 1,

2019 to the present.

         33.       Defendant Robin K. Chopra (“Chopra”) has served as Fluor’s CAO from March 1,

2016 to the present.

         34.       The Defendants referenced above in ¶¶26-33 are collectively referred to herein as the

“Individual Defendants.” The Individual Defendants and the Company are collectively referred to

herein as “Defendants.” The Individual Defendants made, or caused to be made, false and

                                                  - 12 -
Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                  Page 19 of 184 PageID 2423



misleading statements that caused the price of Fluor common stock to be artificially inflated during

the Class Period, as alleged herein.

         35.       The Individual Defendants, because of their positions, possessed the power and

authority to control the contents of the Company’s quarterly and annual reports, other SEC filings,

shareholder letters, press releases, securities offering materials, earnings teleconferences, and

presentations to securities analysts, money and portfolio managers, and institutional investors, i.e.,

the market. They were provided with copies of and/or contributed to the Company’s statements

alleged herein to have been false or misleading prior to or shortly after their issuance and had the

ability and opportunity to prevent their issuance or to cause them to be corrected. Because of their

positions, and their access to material non-public information available to them but not to the public,

the Individual Defendants knew or recklessly disregarded that the adverse facts specified herein had

not been disclosed to and were being concealed from the public and that the positive representations

being made were then materially false and misleading. The Individual Defendants are liable for the

false and misleading statements and omissions pleaded herein.

IV.      RELEVANT GAAP, FINANCIAL REPORTING, AND INTERNAL
         PROJECT GOVERNANCE RULES

         36.       The applicable Generally Accepted Accounting Principles (“GAAP”) contract

accounting rules, described below, required Defendants to identify, estimate, and accumulate all

contract costs with a high degree of precision before Fluor could recognize any revenue on each of

its fixed-price contracts. Likewise, the Sarbanes-Oxley Act of 2002 (“SOX”) and SEC rules,

described below, required Defendants to maintain internal controls over financial reporting sufficient

to ensure that for each fixed-price project, all costs were appropriately captured, accounted for, and

reported in the Company’s quarterly project cost estimates.




                                                - 13 -
Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                   Page 20 of 184 PageID 2424



          A.       GAAP: Accounting Rules and Policies for Fixed-Price Projects

          37.      Fluor’s accounting policy for fixed-price contracts required the Company to comply

with GAAP and SEC Rules. 1 The SEC mandated that each of Fluor’s Class Period financial

statements comply with GAAP. Specifically, SEC Rule 4-01(a)(1) of the SEC’s Regulation S-X

states:

          Financial statements filed with the Commission which are not prepared in
          accordance with generally accepted accounting principles will be presumed to be
          misleading or inaccurate, despite footnote or other disclosures, unless the
          Commission has otherwise provided. This article and other articles of Regulation S-
          X provide clarification of certain disclosures which must be included in any event, in
          financial statements filed with the Commission.

17 C.F.R. §210.4-01(a)(1).

          38.      During the Class Period, Defendants stated that one of the Company’s most “critical

accounting policies” was to prepare and assess updated quarter-end estimates of the total costs to

complete each of Fluor’s in-progress, fixed-price projects. The Company described its purported

accounting for long-term contracts in each of its Class Period financial statements as follows:

                 Engineering and Construction Contracts. Contract revenue is recognized on
          the percentage-of-completion method based on contract cost incurred to date
          compared to total estimated contract cost. Contracts are generally segmented
          between types of services, such as engineering and construction, and accordingly,
          gross margin related to each activity is recognized as those separate services are
          rendered. The percentage-of-completion method of revenue recognition requires
          the company to prepare estimates of cost to complete for contracts in progress. In
          making such estimates, judgments are required to evaluate contingencies such as
          potential variances in schedule and the cost of materials, labor cost and
          productivity, the impact of change orders, liability claims, contract disputes and
          achievement of contractual performance standards. Changes in total estimated
          contract cost and losses, if any, are recognized in the period they are determined.



1
    During the Class Period, authoritative GAAP were promulgated by the Financial Accounting
Standards Board (“FASB”) and contained within the FASB’s Accounting Standards Codification
(“ASC”). The use of GAAP brings consistency, conformity, and over time, comparability to
financial reporting. It includes not only broad guidelines of general application, but also detailed
practices and procedures.

                                                  - 14 -
Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                  Page 21 of 184 PageID 2425



         39.       Revenue Recognition on Fixed-Price Contracts. As noted above, Fluor stated that

it measured and recognized revenue on fixed-price contracts based upon the “percentage-of-

completion” method. Under the “percentage-of-completion” accounting method, the quarter-end

estimates of “costs-to-complete” dictated how much revenue Fluor could recognize on each of its

fixed-price contracts. Thus, Defendants’ quarter-end cost estimates impacted billions of dollars of

revenue recognized by Fluor on fixed-price projects during the Class Period.

         40.       To comply with GAAP, Fluor was required to develop reasonable estimates of costs

relating to estimates of the extent of progress toward completion, contract revenues, and contract

costs. See ASC 605-35-25-56. The American Institute of Certified Public Accountants (“AICPA”)

Audit and Accounting Guide for Construction Contractors provides that the “estimated cost to

complete” an arrangement is a “significant variable in the process of determining income earned and

is thus a significant factor in accounting for contracts.” ASC 605-35-25-44.

         41.       Thus, Defendants were required under GAAP to maintain a sophisticated cost

accounting system to accurately track the costs of each of Fluor’s fixed-price contracts. Specifically,

in order to use the percentage-of-completion accounting method to record revenue, ASC 605

requires that “contract costs shall be identified, estimated, and accumulated with a reasonable degree

of accuracy.” ASC 605-35-25-32. ASC 605 notes that as a prerequisite to applying percentage-of-

completion method, “entities with significant contracting operations generally have the ability to

produce reasonably dependable estimates.” ASC 605-35-25-58. Under ASC 605-35-25-44,

Defendants were required to apply the following approaches when estimating the costs to complete

Fluor’s fixed-price contracts:

                 a.     Systematic and consistent procedures that are correlated with the cost
         accounting system should be used to provide a basis for periodically comparing
         actual and estimated costs.

                 b.     In estimating total contract costs, the quantities and prices of all
         significant elements of cost should be identified.
                                                - 15 -
Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                  Page 22 of 184 PageID 2426



                c.      The estimating procedures should provide that estimated cost to
         complete includes the same elements of cost that are included in actual accumulated
         costs. Also, those elements should reflect expected price increases.

                 d.     The effects of future wage and price escalations should be taken into
         account in cost estimates, especially when the contract performance will be carried
         out over a significant period of time. Escalation provisions should not be blanket
         overall provisions but should cover labor, materials, and indirect costs based on
         percentages or amounts that take into consideration experience and other pertinent
         data.

                e.      Estimates of cost to complete should be reviewed periodically and
         revised as appropriate to reflect new information.

         42.       Recording Losses on Fixed-Price Contracts. In addition to revenue, Defendants’

quarter-end estimates of “costs-to-complete” also determined whether any of the fixed-price projects

were in a loss position. If Defendants identified a contract in a loss position - meaning the estimated

total costs to complete the project exceeded the fixed-price value of the contract - the Company was

required to immediately recognize the entire amount of the estimated loss. GAAP required that

Fluor recognize anticipated losses “as soon as the loss becomes evident.” ASC 605-35-25-45.

Specifically, ASC 605-35-25-45 and ASC 605-35-25-46 state:

         For a contract on which a loss is anticipated, GAAP requires recognition of the entire
         anticipated loss as soon as the loss becomes evident. An entity without the ability to
         update and revise estimates continually with a degree of confidence could not meet
         that essential requirement of GAAP.

                 . . . When the current estimates of total contract revenue and contract cost
         indicate a loss, a provision for the entire loss on the contract shall be made.
         Provisions for losses shall be made in the period in which they become evident under
         either the percentage-of-completion method or the completed-contract method.

         43.       Accounting for Contract Change Orders and Claims on Fixed-Price Contracts.

As part of their quarter-end estimates of the “costs-to-complete” each of Fluor’s fixed-price projects,

Defendants were required to properly account for change orders and open claims. Change orders

and claims are modifications of an original contract that effectively change the scope of the contract

without adding new provisions. Initiation of the change order can be from the contractor or the

                                                 - 16 -
Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                       Page 23 of 184 PageID 2427



customer, and can include changes in specification or design, manner, or method of performance or

other modifications. GAAP, namely ASC 605-25-30, addresses the appropriate accounting for the

three primary types of change orders: approved change orders, unpriced change orders, and

unapproved change orders.

                   (a)       Approved change orders. Approved change orders regarding the scope and

price of the work are approved by both parties. The result is a change in the fixed contract price and

total estimated costs to reflect the amounts approved by the customer and the contractor.

                   (b)       Unpriced change orders. Unpriced change orders define the work to be

performed, but the price (adjustment to contract price) is to be negotiated at a later time. For all

unpriced change orders, recovery should be deemed probable if the future event or events necessary

for recovery are likely to occur. Factors to consider in evaluating whether recovery is probable

include the following:

                             (i)     Obtaining the customer’s written approval of the scope of the change

order;

                             (ii)    Separate documentation for change order costs that are identifiable and

reasonable; and

                             (iii)   The contractor’s favorable experience in negotiating change orders.

GAAP requires that all costs attributable to unpriced change orders are treated as costs of contract

performance in the period in which the costs are incurred if it is not probable that the costs will be

recovered through a change in contract price. This would result in no change in contract price and a

decrease in estimated gross profit.

                   (c)       Unapproved change orders. Change orders unapproved as to both scope and

price should be evaluated as a claim. The recognition of additional revenue relating to claims is

appropriate only if it is probable that the claim will result in additional contract revenue and if the

                                                     - 17 -
Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                        Page 24 of 184 PageID 2428



amount can be reliably estimated. The satisfaction of those two requirements is contingent upon the

existence of all of the following conditions:

                             (i)     The contract or other evidence provides a legal basis for the claim; or a

legal opinion has been obtained, stating that under the circumstances there is a reasonable basis to

support the claim.

                             (ii)    Additional costs are caused by circumstances that were unforeseen at

the contract date and are not the result of deficiencies in the contractor’s performance.

                             (iii)   Costs associated with the claim are identifiable or otherwise

determinable and are reasonable in view of the work performed.

                             (iv)    The evidence supporting the claim is objective and verifiable, not

based on management’s feel for the situation or on unsupported representation.

         B.        SOX: Internal Controls over Financial Reporting

         44.       In addition to complying with GAAP, Fluor was also subject to the provisions of

SOX. SOX, including Sections 302 (“SOX §302”) and 404 (“SOX §404”), required that Defendants

assess Fluor’s internal controls over financial reporting and disclose whether or not such controls

were effective to prevent or detect a material GAAP misstatement.

         45.       Quarterly Certifications. Defendants Seaton, Porter, Stanski, Hernandez, and

Steuert signed certifications accompanying each of Fluor’s Class Period financial statements

attesting that they were responsible for establishing and maintaining disclosure controls and

procedures 2 and internal control over financial reporting 3 designed to provide reasonable assurance



2
    “Disclosure controls and procedures include, without limitation, controls and procedures
designed to ensure that information required to be disclosed by an issuer in the reports that it files or
submits under the Act is accumulated and communicated to the issuer’s management, including its
principal executive and principal financial officers, or persons performing similar functions, as
appropriate to allow timely decisions regarding required disclosure.” See 17 C.F.R. §240.13a-15(e).

                                                      - 18 -
Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                    Page 25 of 184 PageID 2429



regarding the reliability of financial reporting and the preparation of financial statements for external

purposes in accordance with GAAP. See ¶¶141-143, infra.

         46.       Evaluation and Testing of Internal Controls Pertaining to Fixed-Price Contracts.

Prior to signing quarterly certifications attesting that Fluor’s internal controls were effective,

Defendants were required to evaluate the financial reporting controls over the Company’s critical

accounting policies, including the cost estimation process on fixed-price contracts described above.

The SEC’s interpretative guidance on SOX §404 dictates that an evaluation of internal controls

begins with management’s identification and assessment of the risks of potential material

misstatement occurring within its financial statements. The cost estimation process on fixed-price

contracts, as described above, was one such risk area – with the potential to affect billions of dollars

of revenues and losses in Fluor’s financial statements. Further, the SEC stated that internal controls

impacting significant accounting estimates or critical accounting policies are generally assessed as

higher risk, including, for example, areas involving significant estimates such as the application of

the percentage-of-completion methodology. In this regard, the SEC required that Defendants

“perform more extensive testing in high-risk areas.” See 17 C.F.R. §241. In particular, SOX §404

required Defendants to perform testing necessary to evaluate the (a) design and (b) operating

effectiveness of the internal controls covering Fluor’s quarter-end cost estimation process.
3
     “[I]nternal control over financial reporting [is] a process designed by, or under the supervision
of, the issuer’s principal executive and principal financial officers, or persons performing similar
functions, and effected by the issuer’s board of directors, management and other personnel, to
provide reasonable assurance regarding the reliability of financial reporting and the preparation of
financial statements for external purposes in accordance with generally accepted accounting
principles and includes those policies and procedures that: (1) Pertain to the maintenance of records
that in reasonable detail accurately and fairly reflect the transactions and dispositions of the assets of
the issuer; (2) Provide reasonable assurance that transactions are recorded as necessary to permit
preparation of financial statements in accordance with generally accepted accounting principles, and
that receipts and expenditures of the issuer are being made only in accordance with authorizations of
management and directors of the issuer; and (3) Provide reasonable assurance regarding prevention
or timely detection of unauthorized acquisition, use or disposition of the issuer’s assets that could
have a material effect on the financial statements.” See 17 C.F.R. §240.13a-15(f).

                                                  - 19 -
Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                   Page 26 of 184 PageID 2430



         47.       Assessing Control Deficiencies. If Defendants determined that a control was not

designed or operating effectively, Defendants were required to assess the control deficiency and

disclose it to investors. The classification of a control deficiency as a significant deficiency or a

material weakness is based on the amount of potential misstatements that could occur as a result of

the deficiency.

         48.       A significant deficiency is a control deficiency, or combination of control

deficiencies, that adversely affects the company’s ability to initiate, authorize, record, process, or

report external financial data reliably in accordance with GAAP such that there is more than a

remote likelihood that a misstatement of the company’s annual or interim financial statements that is

more than inconsequential will not be prevented or detected. A material weakness is a significant

deficiency, or combination of significant deficiencies, that results in more than a remote likelihood

that a material misstatement of the annual or interim financial statements will not be prevented or

detected. Id.

         C.        Fluor’s Project Governance

         49.       One of the critical internal processes that Defendants used throughout the Class

Period to stay apprised of the estimated “costs-to-complete” was Fluor’s Project Status Reviews (or

“PSRs”). Fluor highlighted these PSRs as a “consistent monthly review of the status of [the

Company’s] projects” that provided “objective, accurate, and timely information” that would

“inform[] proposed mitigating actions when needed.”

         50.       In November 2018, Fluor stated that it had gone a “step further” and established an

Office of Project Execution Governance in 2017 to ensure that this PSR process “occurs across all

projects.”




                                                  - 20 -
Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                    Page 27 of 184 PageID 2431



V.       FIXED-PRICE PROJECTS

         51.       Fluor performs services for its clients through either “reimbursable contracts” or

“fixed-price contracts.” Fixed-price contracts include both negotiated and competitively bid fixed-

price contracts. In the case of “negotiated” fixed-price contracts, Fluor is selected as contractor prior

to the price being negotiated with the client. Under “competitively bid” fixed-price contracts, Fluor

bids on a contract against competitors based upon specifications provided by the client and agrees to

develop a project at a fixed price. As the Company explained in each of its Annual Reports issued

during the Class Period, if Fluor “perform[s] well under these contracts, [the Company] can benefit

from cost savings; however, if the project does not proceed as originally planned, [the Company]

cannot recover cost overruns except in certain limited situations.”

         52.       A “backlog” in the engineering and construction industry is a measure of the total

dollar value of work to be performed on contracts awarded and in progress. As work is completed,

revenue is booked.             Thus, backlog is the expected revenue from awarded contracts and

commitments. Throughout the Class Period, Fluor stated that its backlog represented expected

revenue from projects for which it had “an executed contract or commitment” and reported backlog

in the Company’s quarterly and annual financial reports filed with the SEC.

         A.        The Brunswick County Plant

         53.       On July 31, 2012, Fluor entered into an EPC contract with Dominion for a 1,358

megawatt natural gas-fired power plant in Brunswick County, Virginia (the “Brunswick County

Plant”). Under the terms of the EPC contract, Fluor agreed to perform all design work, engineering,

procurement, construction, installation, start-up, and other necessary services for the Brunswick

County Plant in exchange for the agreed-upon lump sum price. The EPC contract also contained

performance guarantees backed by liquidated damages provisions to ensure that the Brunswick



                                                  - 21 -
Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                   Page 28 of 184 PageID 2432



County Plant was completed on schedule and performed as designed. Accordingly, Fluor could not

delay construction to address construction issues mid-project and maintain its expected profitability.

         54.       Fluor was awarded the Brunswick County Plant EPC contract as a result of a

competitive bidding process. Fluor’s bid was the lowest evaluated cost proposal of the three bidders

for the project, leading to Fluor being awarded the EPC contract.

         55.       The Brunswick County Plant was designed to include three Mitsubishi “G” class

combustion turbine generators, three heat recovery steam generators, and one steam turbine

generator – a configuration commonly referred to as a 3x1 combined-cycle.

         56.       On August 14, 2013, Fluor announced that it had received full notice to proceed from

Dominion to begin construction on the Brunswick County Plant. As a result of this notice, Fluor

booked approximately $800 million into its backlog during Q3 2013.

         B.        The Radford Plant

         57.       In 2013, Fluor bid on a subcontract for BEA Systems on the Department of Defense’s

plan to update the Radford Army Ammunition Plant’s power, infrastructure, and manufacturing

facilities. The project was a fixed-price contract that included six gas-fired boilers (“Radford

Plant”). Fluor began the design phase in 2015, and an April 21, 2016 article in The Roanoke Times

reported that officials broke ground on the $60 million project that day. When Fluor began to

disclose that it was taking charges on the Radford Plant in 2019, it also disclosed that the Radford

Plant was in the Government segment.

         58.       United States government agencies operate under annual fiscal appropriations by

Congress and fund various federal contracts only on an incremental basis. But as of December 31,

2013, the Company began including the unfunded portion of multi-year government contract awards

in its backlog.



                                                  - 22 -
Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                  Page 29 of 184 PageID 2433



         C.        The CPChem Project

         59.       On October 3, 2013, Fluor issued a press release announcing that it was awarded a

contract by Chevron Phillips Chemical for its Gulf Coast petrochemicals project in Bayou, Texas

(“CPChem Project”). Fluor’s scope of work was under a fixed-price contract, and included

engineering and construction for the outside battery limit scope as well as the direct-hire

construction for the entire cracker project.

         60.       Fluor stated that it recorded the undisclosed contract value as a new award on its

books for Q3 2013. However, in its Q3 2016 conference call, Fluor admitted that in light of the

charges taken on the CPChem Project, the project was a loss.

         D.        The Anderson County Plant

         61.       In the Q3 2014, Fluor announced that it had been awarded an EPC contract with Duke

for a 750 megawatt natural gas-fired power plant at the W.S. Lee Station in Anderson County, South

Carolina (the “Anderson County Plant”).

         62.       Fluor was awarded the Anderson County Plant EPC contract as a result of a

competitive bidding process.

         63.       The Anderson County Plant was designed to include two combustion turbine

generators, two heat recovery steam generators, and one steam turbine generator – a configuration

commonly referred to as a 2x1 combined-cycle.

         E.        The Citrus County Plant

         64.       On October 15, 2014, Fluor entered into an EPC contract with Duke for a 1,640

megawatt natural gas-fired power plant in Citrus County, Florida (the “Citrus County Plant”). Under

the terms of the EPC contract, Fluor agreed to perform all design work, engineering, procurement,

construction, installation, start-up, and other necessary services for the Citrus County Plant in

exchange for the agreed-upon lump sum price. The EPC contract also contained performance

                                                 - 23 -
Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                   Page 30 of 184 PageID 2434



guarantees, such as dates for Guaranteed Mechanical Completion and Guaranteed Substantial

Completion, backed by liquidated damages provisions to ensure that the Citrus County Plant was

completed on schedule and performed as designed. Accordingly, Fluor could not delay construction

to address construction issues mid-project and maintain its expected profitability.

         65.       Fluor was awarded the Citrus County Plant EPC contract as a result of a competitive

bidding process.

         66.       The Citrus County Plant was designed to be composed of two separate 820 megawatt

generating units, or “Power Blocks.” Each Power Block was designed to include two Mitsubishi

“G” class combustion turbine generators (the same turbines used at the Brunswick County Plant),

two heat recovery steam generators, and one steam turbine generator – the same configuration as the

Anderson County Plant.

         67.       On October 5, 2015, Fluor received full notice to proceed from Duke to begin

construction on the Citrus County Plant.

         F.        The Greensville County Plant

         68.       On April 8, 2015, Fluor entered into an EPC contract with Dominion for a 1,588

megawatt natural gas-fired power plant in Greensville County, Virginia (the “Greensville County

Plant”). Under the terms of the EPC contract, Fluor agreed to perform all design work, engineering,

procurement, construction, installation, start-up, and other necessary services for the Greensville

County Plant in exchange for an agreed-upon lump sum price. The EPC contract also contained

performance guarantees backed by liquidated damages provisions to ensure that the Greensville

County Plant was completed on schedule and performed as designed. Accordingly, Fluor could not

delay construction to address construction issues mid-project and maintain its expected profitability.




                                                  - 24 -
Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                    Page 31 of 184 PageID 2435



         69.       Fluor was awarded the Greensville County Plant EPC contract as a result of a

competitive bidding process. Fluor’s bid was the lowest evaluated cost proposal of the four bidders

for the project, leading to Fluor being awarded the EPC contract.

         70.       The Greensville County Plant was designed to include three Mitsubishi “J” class

combustion turbine generators, three heat recovery steam generators, and one steam turbine

generator – the same configuration as the Brunswick County Plant.

         71.       On July 7, 2016, Fluor announced that it had received full notice to proceed from

Dominion to begin construction on the Greensville County Plant.

         G.        Penguins Offshore Project

         72.       On January 16, 2018, Fluor issued a press release announcing that it was awarded a

contract by Shell for design, procurement, and fabrication of a floating storage and offloading vessel

in the Penguins oil and gas field in the North Sea (“Penguins Offshore Project”). It also said that it

recorded the undisclosed contract value as a new award on its books for Q4 2017.

         H.        The Warren Project

         73.       On December 11, 2018, Fluor announced that it was awarded a contract with the U.S.

Army Corps of Engineers at the Frances E. Warren Air Force Base located west of Cheyenne,

Wyoming. The project was a fixed-price contract to construct a nuclear weapons storage and

maintenance facility (“Warren Project”).

         74.       When Fluor began to disclose that it was taking millions of dollars of charges on the

Warren Project in 2019, it also disclosed that the Warren Project was in the Government segment.

Fluor booked the $145 million contract value in Q4 2018, and the groundbreaking event was held on

May 21, 2019.




                                                  - 25 -
Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                    Page 32 of 184 PageID 2436



VI.      CONFIDENTIAL WITNESS ACCOUNTS

         75.       Several former Fluor employees have provided information demonstrating that

Defendants’ Class Period statements were false and misleading and that Defendants knew or

recklessly disregarded the falsity or misleading nature of their statements. The CWs include

individuals formerly employed at Fluor during the Class Period, whose accounts corroborate one

another, other sources set forth herein, and facts now admitted by Fluor. The CWs provided

information to Plaintiffs’ counsel and/or their investigator on a confidential basis and are particularly

described by job description, responsibility, and duration of employment, thereby providing

sufficient detail to establish their reliability and personal knowledge. As set forth below, the

information provided by the CWs supports a strong inference that Defendants acted with scienter.

         76.       Confidential Witness No. 1 (“CW-1”) worked in the Health, Safety, and Environment

division of the Power segment between May 2014 and March 2017 in the Charlotte office. CW-1

was responsible for estimating gas-fired and other projects from the health, safety, and environment

perspective. CW-1 stated that all hard-number bids were reviewed and approved through the

Executive Review Board process and the Business Risk Management Framework (“BRMF”). This

process included review by Seaton, the President of the Power segment (McSorley during CW-1’s

tenure), and other senior management. CW-1 stated that the problems associated with the gas-fired

plants were the result of poor estimates, lack of execution, and bad management of the projects once

they were underway. CW-1 described the “best and final” process whereby Fluor submitted a bid to

a customer, Fluor met with the customer who suggested that Fluor needed to reduce its price, and

then Fluor amended its bid to a “best and final” price in hopes of winning the contract. CW-1 stated

that CW-1’s estimates to cover health, safety, and environment issues on gas-fired plants were

routinely reduced by management. CW-1 was also told by management to cut costs so that Fluor

could stay competitive in the bidding process for these projects. With respect to the Brunswick

                                                 - 26 -
Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                 Page 33 of 184 PageID 2437



County Plant, CW-1 stated that Fluor underestimated the amount of piping and other expenses

during the design and construction phases.

         77.       Confidential Witness No. 2 (“CW-2”) was Lead Electrical Design Engineer from

May 2007 through September 2017 in the Charlotte office. CW-2 was the Lead Electrical Engineer

for the Citrus County Plant and a Senior Electrical Engineer on the Brunswick, Greensville, and

Anderson County Plants. According to CW-2, Fluor understated the estimates concerning the labor

costs needed to build the plants, which costs constituted a large portion of the projects’ budgets.

CW-2 also stated that the projects suffered setbacks caused by crafts and trades because the quality

of work for trades declined and Fluor did not hire quality tradesmen.

         78.       Confidential Witness No. 3 (“CW-3”) was an Engineer from January 2013 to

February 2014 and a Lead Engineer from February 2014 to April 2016. CW-3 worked on the

Brunswick County and Greensville County Plants. CW-3 stated that CW-3 believed the project

estimates were approved by senior management. CW-3 said that Fluor used the Brunswick County

Plant as a “go-by” for estimating the Greensville County Plant. CW-3 was responsible for

estimating the engineering hours and equipment for the Greensville County Plant. CW-3 stated that

CW-3’s estimates for required equipment and engineering hours for the Greensville County Plant

were cut by management during the estimating phase in order to reduce the bid. CW-3 explained

that Dominion – the customer responsible for the Brunswick County and Greensville County Plants

– was a key customer for which Fluor wanted to do more work. CW-3 said that Fluor had

previously lost work for Dominion, including the Warren County Power Station, and wanted to get

back in Dominion’s good graces at the time it was bidding the Brunswick County and Greensville

County Plants.

         79.       Confidential Witness No. 4 (“CW-4”) was Vice President of the Power Gas Business

from January 2013 to September 2013, and Vice President, US Operations, Power Business from

                                                 - 27 -
Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                 Page 34 of 184 PageID 2438



September 2013 to August 2017, working in the Charlotte office. CW-4 stated that bids on the gas-

fired plants went all the way up to Seaton for approval. The proposals also went to the Executive

Team, Power Group President, Chief Risk Assessment Officer, and CFO (Porter was CFO at the

time the Gas-Fired Plants at issue were bid and approved).

         80.       Confidential Witness No. 5 (“CW-5”) worked in the Charlotte office in the Power

segment as a Senior Mechanical Engineer from 2014 to 2016 working on the Citrus County Plant.

CW-5 stated the view that Fluor did not devote sufficient resources to the estimating and bidding

process before the contract was awarded, explaining that there was not a desire to devote substantial

time and resources to estimating and bidding before winning the contract, since those resources

would be wasted if Fluor did not win the contract. CW-5 stated that management compressed the

design phase of the Citrus County Plant to six months, whereas the design phase typically took one

to one-and-a-half years. CW-5 stated this compression caused scheduling issues, including problems

with the piping design team. CW-5 stated that, during construction on the Citrus County Plant,

issues arose regarding large pieces of equipment that were underestimated in or omitted from the

original bid, including large valves, which added costs and required additional engineering hours.

CW-5 stated there was a discrepancy between the bid provided to win the contract and the bid once

Fluor won the contract. CW-5 stated that, prior to the Anderson and Citrus County Plants, Duke did

not want to work with Fluor because of some problematic projects Duke had with Fluor in the 1990s

and 2000s. CW-5 stated that Fluor really wanted to obtain Duke projects and that winning Duke

projects was a focus. CW-5 stated that there were issues with the Mitsubishi turbines, which CW-5

stated were the same or substantially similar turbines used for the Brunswick County Plant. CW-5

stated that Mitsubishi was not responsive and that it would sometimes take Mitsubishi months to

respond to Fluor, which caused delays on the project. CW-5 also described problems encountered

with the turbine pressure release valves. CW-5 stated that the Mitsubishi turbines at the Brunswick

                                                - 28 -
Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                 Page 35 of 184 PageID 2439



County Plant experienced the same turbine pressure release valve problems. CW-5 also stated that

there was still design work being performed relating to the turbines as they were being installed.

         81.       Confidential Witness No. 6 (“CW-6”) was a Subcontracts Administrator for Fluor’s

Government business from May 2011 to October 2017, working in the Greenville, South Carolina

office. CW-6 stated that deficiencies in the engineering and design work for Fluor’s projects, such

as the Radford Plant, negatively impacted the schedule and costs of the projects. CW-6 stated that

when bidding on these projects, Fluor sought to reduce the estimated costs in its bids to win work

given the hyper-competitive market. In accord with the account of CW-1, CW-6 stated that if Fluor

could not win a project with its current bid, supervisors asked CW-6 to submit a “best and final” bid

to drive down the price of the bid. CW-6’s team would attempt to trim as many of the costs as

possible off the bid. In addition, CW-6 stated that defendant Stanski would lead “red tape”

conference calls to conduct a comprehensive review of Government bids in the range of $50-$75

million and higher, where details of a project would be discussed to “cut out all the fat.” CW-6

experienced issues with obtaining quotes from subcontractors due to the fast turnaround time

required to submit Government project bids, oftentimes limited to just 45 days. It was difficult for

CW-6 to find qualified subcontractors to provide adequate and timely bids to be incorporated into

Fluor’s bid. As a result, CW-6 believed there were instances where Fluor entered misallocated labor

hours into its initial bid, and then if Fluor won the bid or was in the final running, Fluor would

attempt to revise the bid through a change order to more accurately reflect the number of

subcontractor hours required.

         82.       Confidential Witness No. 7 (“CW-7”) worked at Fluor from October 2007 to October

2014 in the Sugar Land, Texas office. Beginning in October 2011, CW-7 served in a Materials

Management Specialist role in Fluor’s purchasing department. CW-7 was a primary contact for

some of Fluor’s large vendors and negotiated contract terms. CW-7 had exposure to the bidding

                                                 - 29 -
Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                Page 36 of 184 PageID 2440



process by performing validity checks on different portions of the bids. CW-7 described a review

board at Fluor, of which Seaton was a member, that conducted a review of all large bids, including a

review of the “estimating packet” for bids. CW-7 learned from his supervisor that Seaton personally

reviewed the bids for large or high-profile projects. The review board would revise numbers based

on their review. CW-7 also developed a database of historical analyses of Fluor’s past bids,

including failed bids, to be referenced to estimate future bids. The database was designed to be a

library to provide a more accurate picture of what cost trends were over time.

         83.       Confidential Witness No. 8 (“CW-8”) was a Principal Design Engineer from August

2016 to January 2018 in the Charlotte, North Carolina office. CW-8 planned the piping for the Duke

Energy plants, Anderson County and Citrus County. CW-8 stated that the projects were on an

impossible budget and schedule because the entire EPC industry, Fluor included, had to underbid

projects in order to win them. CW-8 observed that “[e]veryone does the best they can to keep the

quality up and to meet the scheduling and budget, even though everybody knows that you can’t do

it.” Accordingly, cost-cutting measures were regularly discussed at meetings at the office. CW-8

explained that cost issues on the Duke Energy projects accelerated in the construction phase and the

projects were seriously into the red about midway through construction. Fluor underestimated labor

costs and labor quality which resulted in Fluor being unable to find workers with proper skills and

motivation. CW-8 observed that Fluor’s CEO and CFO closely monitored the employees’ weekly

timesheets and charges and thus would have or could have been aware of ongoing information on the

projects. CW-8 believed that executives would have reviewed the budget performance of Fluor’s

projects on a weekly or monthly basis, and had access to budgeting data as often as they wanted.

         84.       Confidential Witness No. 9 (“CW-9”) worked for Fluor from 2012 to 2013 as a

Project Finance Manager, and again from August 2017 to July 2018 as a Deputy Program

Manager/Business Manager. CW-9 worked on Fluor’s fixed-price government contract for the

                                                - 30 -
Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                    Page 37 of 184 PageID 2441



Naval Air Station (“NAS”) in Jacksonville, Florida. CW-9 described a “bid it low, let it grow”

motto used by project management. In essence, Fluor would bid low to win the government project,

knowing it would be unable to profitably perform the contract. To recoup the frequent cost

overruns, CW-9 stated that Fluor submitted additional task order requests at significantly higher

rates by claiming the work was outside the scope of the initial contract. For example, CW-9 noted

the Jacksonville NAS Project Manager, Henry Fuentes, instructed Fluor employees to refuse to work

on tasks the employees understood to be part of the contract. CW-9 noted the government refused to

pay, which led to payment disputes between Fluor and the U.S. government. CW-9 learned that the

Radford Plant was underbid and executed similarly to the Jacksonville project, as described by CW-

6.

VII.     DEFENDANTS’ MATERIALLY FALSE AND MISLEADING
         STATEMENTS AND OMISSIONS DURING THE CLASS PERIOD

         A.        False and Misleading Statements and Omissions Regarding Fluor’s
                   Purportedly Conservative Bidding Process and Risk Management

         85.       Immediately prior to the beginning of the Class Period, in the 2012 Annual Report

Shareholder Letter dated March 8, 2013, Seaton wrote:

         [W]e are focused on sustainable growth – adapting to market changes and client
         needs, investing in our people, being selective in the projects we pursue, and
         building trusted relationships with our stakeholders.

         86.       The message was clear – despite the risks inherent to fixed-price projects, investors

could take solace in the fact that Fluor’s bids were conservative and that Fluor was remarkable in its

ability to execute projects on time and on budget.

         87.       Statement No. 1: Throughout the Class Period, Fluor touted its “Risk Management”

as a competitive strength in its Forms 10-K for fiscal years 2013-2017, signed by Seaton, Porter,

Stanski, and Smalley and SOX-certified by Seaton, Porter, and Stanski, in identical or substantially

similar form:

                                                  - 31 -
Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                  Page 38 of 184 PageID 2442



         We believe that our ability to assess, understand, gauge and mitigate project risk,
         especially in difficult locations or circumstances or in a fixed-price contracting
         environment, gives us the ability to selectively enter into markets or accept projects
         where we feel we can best manage risks. We have an experienced management
         team, particularly in risk management and project execution, which helps us to
         better anticipate and understand potential risks and, therefore, how to manage
         them. Our risk management capabilities allow us to better control costs and ensure
         timely performance, which in turn leads to clients who are satisfied with the
         delivered product.

         88.       Statement No. 2: Throughout the Class Period, Fluor also downplayed its disclosed

risk factors relating to large-scale project awards in its Forms 10-K, in identical or substantially

similar form:

         We may not win contracts that we have bid upon due to price, a client’s perception of
         our ability to perform and/or perceived technology advantages held by others. Many
         of our competitors may be more inclined to take greater or unusual risks or terms
         and conditions in a contract that we might not deem acceptable. 4

         89.       On February 18, 2014, Fluor released its fiscal year 2013 Form 10-K, signed by

Seaton, Porter, and Smalley and SOX-certified by Seaton and Porter, which contained Statement

Nos. 1 and 2 set forth in ¶¶87-88, supra.

         90.       Statement No. 3: On the earnings call held that evening, in response to a question

regarding whether Fluor needed to take on extra risk to achieve the higher margins, Seaton stated

that Fluor’s risk was properly managed and that it could profitably execute fixed-price projects

across the Company:

         [Analyst:] David, [LDS] margins had a nice uptick in 4Q, you had been talking about
         it. Do think you’re still on track for the 5% margin that you alluded to in the second
         half of this year? Can you tell us how much of the improvement that you saw in 4Q
         based on better mix versus better pricing? Maybe a follow on to that, David, around
         do you have to take extra risk to get to these higher levels? Because you know, we
         do notice more [LSTK] work that Fluor’s taking and maybe you could talk about
         that.

                                            *      *       *

4
    This statement was repeated in every Form 10-K issued during the Class Period, and expressly
incorporated in every Form 10-Q issued during the Class Period.

                                                 - 32 -
Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                   Page 39 of 184 PageID 2443



                [Seaton:] We have not seen our risk profile increase, based on the new
         awards that we are booking right now. Yes, there are some that are fixed-price in
         nature. But I would say that we feel very comfortable in taking the projects that we
         are on the fixed price basis, and that’s not just in oil and gas, but I would say
         across the Company.

         91.       Thereafter, an analyst for Credit Suisse described Fluor as a “Top Pick in

E[ngineering] & C[onstruction]” as the Company “continue[d] to clean house on awards and deliver

on the margin side.”

         92.       Statement No. 4: On June 5, 2014, during a Credit Suisse Engineering &

Construction Conference, Seaton continued to state that Fluor was conservative in its bids despite the

competition in the market. As Seaton explained:

                 Power, as I mentioned, has just kind of been on its ear. I would suggest that
         that’s probably one of the most competitive markets that we work in right now. We
         have been fairly successful on the coal-fired side. We’ve got a lot of proposals
         pending and we feel good about that.

                 However, we have lost a few to competition who need it more than we do.
         One of the things that we enjoy is that diversity and it allows us – this is going to
         sound arrogant, and I don’t mean it that way – we have the ability because of that
         diversity to say no and make sure that we get projects that we want at the price we
         want, that allows us to earn the profitability we expect.

                 So we are pretty conservative in how we do things like that, but it does give
         us I think an advantage in making sure we don’t take projects that begin in a
         challenged nature.

         93.       Statement No. 5: On July 31, 2014, Fluor released its Q2 2014 financial results. On

the earnings call held that day, Seaton continued to tout Fluor’s ability to win projects with

conservative bids:

         We do a really good job of choosing carefully the projects we want to chase. We’re
         conservative in how we take them in, and in those projects are holding to the
         schedules that we expected.

         94.       Statement No. 6: In response to analyst questioning regarding overly aggressive

bidding by competitors, Seaton again expressed confidence in Fluor’s bidding quality and practice of

foregoing riskier projects:
                                                  - 33 -
Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                     Page 40 of 184 PageID 2444



                   [Analyst:] . . . There’s been a lot of discussion about pricing maybe getting a
         little bit more aggressive in North America from the Western competitors. What are
         you guys seeing there?

                 [Seaton:] . . . We’ve seen some really aggressive pricing in the power market,
         and in the infrastructure market.

                 Again, we’ve got the profit expectations built into what our offering is. And
         we’ll let the chips fall where they may. But I would say that we’ve seen an increased
         competitive landscape in North America.

         95.       Statement No. 7: On August 14, 2014, Fluor presented at the Jefferies Global

Industrials Conference. During the conference, Fluor’s Vice President of Investor Relations, Ken

Lockwood, acknowledged the risks inherent to the Company’s fixed-price contracts, but represented

that Fluor effectively managed the risk:

                 And then from a contract type, if you look at an engineering and construction
         company, there are basically two types of contracts, fixed-price contracts and
         reimbursable contracts. Reimbursable by nature, by definition, are low risk or no
         risk. Fixed-priced contracts, obviously, have a risk element that is fixed cost and
         fixed schedule. We tend to do those predominantly in infrastructure and in power.
         We are very comfortable with that risk and we are very comfortable with this risk
         profile. So, really nothing noteworthy there.

         96.       Statement No. 8: On November 13, 2014, Fluor held its Investor Day conference. At

the conference, Seaton again highlighted Fluor’s bidding quality:

                 We do believe that some of our competitors are in a weakened state. As
         you’ve heard me say, because of that diversity, we’ve had an ability to say no in
         certain markets when our competition – if that’s the only market they’re in and they
         have a different position. Now, I hope that doesn’t sound arrogant; I certainly don’t
         mean it that way. But we believe that our strategy and the discipline we have
         around how we bid, who we bid to, what projects are actually going to go to FID
         [final investment decision], which ones are actually going to get to the field, I think
         provides a lot more confidence, at least for me, in terms of insight into those
         longer-term earning cycles.

         97.       Statement No. 9: McSorley added that because of Fluor’s selectivity, estimating

capability, and execution, Fluor’s power projects were on budget, on schedule, and had no claims:

                 Let’s talk about some of our existing projects. As I said, our work is lump
         sum in the power industry. And over the past three to five years, we have really had
         a solid execution of our projects. Many of you in here hear about companies
                                                  - 34 -
Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                   Page 41 of 184 PageID 2445



         struggling in the power EPC space, some of them wanted to maybe even exit the
         space.

                All of our projects over the past four or five years: on budget, on schedule,
         no claims. This is largely due to our selectivity. We don’t chase everything that is
         out there. Our estimating capability and, of course, our execution of the work.

         98.       On February 18, 2015, Fluor released its Q4 2014 financial statements and its fiscal

year 2014 Form 10-K, signed by Seaton, Porter, and Smalley and SOX-certified by Seaton and

Porter, which contained Statement Nos. 1 and 2 set forth in ¶¶87-88, supra.

         99.       Statement No. 10: On the earnings call that evening, analysts asked whether Fluor’s

purportedly “disciplined bidding” would prevent it from gaining market share. Seaton assured

analysts that Fluor was in a good competitive position, omitting that the Company could only

continue to win projects if it lowered its bids and weakened is bidding practices:

                 So regardless of the competitive situation, we feel like we are in the best
         position to give them the best asset at the best price and at the same time maintain
         the profitability that we expect. So, I think we’ve kind of changed the game here
         and I think that is going to bode well for us for many, many years to come.

         100.      Statement No. 11: Seaton was also questioned with respect to Fluor’s growth in

fixed-price contract awards. Seaton responded that, unlike its competitors, Fluor had been and

would continue to be conservative in selecting projects on which to bid:

         I think over time we have been very conservative in what we take in and how
         confident we are in that going forward.

                 So I don’t really see a lot of risk in our current backlog from a cancellation
         or a delay perspective.

                                             *      *       *

                 Well, I think Power has become, if you can believe it, more competitive.
         There is a lot of people that don’t have the diversity that we have that are forced to
         make some, in my opinion, some poor decisions on what they expect and what they
         will accept.

                 I do believe we are in a good position to grow backlog in Power over the
         short term. And I feel good about our position regardless of the fuels choice.


                                                  - 35 -
Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                   Page 42 of 184 PageID 2446



         101.      Statement No. 12: On March 5, 2015, Fluor issued its 2014 Annual Report, which

stated that “[t]he Power group serves a geographically focused, fiercely competitive, lump-sum

industry. In this environment, we have to be highly selective in the projects we bid. We had an

active year, winning and progressing projects in the gas, renewables and nuclear sectors.”

         102.      Statement No. 13: On April 30, 2015, Fluor held a Q1 2015 earnings call during

which Seaton was questioned about Fluor’s bidding discipline in light of “competitors trying to get

more competitive on pricing in an attempt to fill volumes.” Seaton reassured the analysts that Fluor

continued to remain disciplined and did not, like its competitors, reduce its bids in order to win

projects:

                 Well I’m sure they will, I’m sure they will. That’s the normal herd
         mentality I think that damages our industry. I think what we’ve proven is that we
         focused on a better delivery model, and therefore, we don’t have to have margin
         suffer because we’re competitive in other ways.

                  But there’s always somebody that’s going to drop their price to ensure that
         they have the volumes that they want. And frankly, there’s nothing I can do about
         that. I’m going to focus and our people are going to focus on continuing to improve
         our offering and meet my expectation and your expectation in terms of creating
         shareholder value through enhanced margin performance. So we’re just going to
         stick to our knitting and let others do what they think they need to do to meet their
         needs.

         103.      Statement No. 14: On June 4, 2015, Defendants presented at the Credit Suisse

Engineering & Construction Conference. In response to analyst concerns that the increase in fixed-

price work, coupled with a competitive bidding environment, could hurt Fluor’s profit margins,

Porter confirmed that the Company continued to bid conservatively:

         [W]e’re not changing our approach at all. I think we’ve proven over the last two
         years that we have kind of changed how we look at projects, and have the ability to
         deliver those things on a more cost-effective basis. That does not mean that we are
         dropping margin.

                 And I think it’s kind of one of these things where our diversity is a positive
         overall, but it also puts us in an awkward position sometimes where many of our
         competition, depending on whatever market it is, that that’s all they do. We kind of

                                                 - 36 -
Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                    Page 43 of 184 PageID 2447



         have the ability to say no. And we’ll continue to do that on these projects that are
         marginal . . . .

                  Two, they don’t provide the profitability that we expect, or the contract is in
         a form that puts undue risk on our books as opposed to the balanced approach we
         like to see. So, we have not changed our DNA in terms of how we look at projects,
         and the conservative nature that we are, and the way we put things in the backlog,
         and how we execute things. So that hasn’t changed at all.

         104.      Statement No. 15: Seaton echoed Porter with respect to Fluor’s purportedly

conservative bidding process:

                [Analyst:] David, you mentioned some competitive pressures in the
         marketplace, but that Fluor isn’t really going to change how they approach projects.
         Do you think that some of the competitive pressures go beyond price and maybe into
         concessions towards terms and conditions?

                  [Seaton:] I think we’ve seen that. I mean, you know, this isn’t my first rodeo.
         I mean, I’ve seen this cycle significant up and down, this is probably the fourth or
         fifth time in my career. And when that happens, people do what they feel they have
         to do to maintain their core competency.

                 As I mentioned, we are – and I hope this doesn’t come across as arrogant
         because I don’t mean it that way – being able to say no, I think is the right thing in
         terms of shifting from a competitive price to where we are actually, as an industry,
         accepting liabilities that should be borne by the customer or somebody else. So, we
         are seeing some of those types of behaviors again. And we’ll stick to our knitting.

         105.      Statement No. 16: On November 10, 2015, Fluor presented at the Robert W. Baird

and Co. Industrial Conference. Geoff Telfer, Fluor’s Senior Vice President of Corporate Finance,

assured analysts that any concerns about Fluor’s fixed-price projects were misguided:

                 The lump sum plays are – traditionally it is the power play and the
         infrastructure. And they were starting to see more now and especially when we work
         for the NOCS. They tend to like the fixed-price work. But we are not – we are very
         comfortable going fixed price on anything now. With the way that we are
         executing our projects with our supply chain, we are very comfortable doing fixed
         price.

         106.      Defendants’ misrepresentations and omissions had their intended effect.          For

example, in a November 18, 2015 Credit Suisse Sell Side Dinner Takeaways report, Credit Suisse




                                                  - 37 -
Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                    Page 44 of 184 PageID 2448



reported that Fluor management confirmed that “[Fluor] will remain disciplined and walk away from

work.” Sterne Agee similarly reported in “High Notes from Meetings with CEO” that:

         Competition to bid on combined cycle gas power plants remains extremely
         competitive and commoditized which should result in FLR passing on or losing some
         projects as the competition goes through its learning curve. A typical project might
         have six bidders. Management noted that it does not plan[] to take risks that exceed
         potential economic benefits.

         107.      On February 18, 2016, Fluor released its Q4 2015 financial statements and its fiscal

year 2015 Form 10-K, signed and SOX-certified by Seaton and Porter, which contained Statement

Nos. 1 and 2 set forth in ¶¶87-88, supra.

         108.      Statement No. 17: On November 3, 2016, Fluor released its Q3 2016 financial

statements. During the earnings call, Seaton continued to tout improvements to Fluor’s costs,

scheduling, and bid discipline:

                 [Analyst:] Just one, first, to follow up on your comments regarding rational
         pricing and risk. Is it just more concentrated in the energy projects? Or are you
         seeing other clients maybe in power industry or infrastructure taking advantage of the
         competitive nature and also trying to push down pricing?

                                             *      *       *

                  [Seaton:] So like I said, this isn’t the first time I’ve seen this. And we are
         going to maintain our discipline. And there will be some folks that will do some
         silly things, and maybe in a few years they will regret that.

                   But it is what it is. But we’ve proven over time that we can compete.

         109.      Statement No. 18: On November 7, 2016, Fluor held its Investor Day where Seaton

confirmed, in response to an analyst question about “how tempting is it to sort of take on work that’s

maybe a little more borderline from the execution perspective or risk perspective to sort of fill in the

gaps,” Fluor’s purported bid and risk discipline:

                 [Seaton:] I’m going to kind of push part of this question along, but I think the
         short answer is we’re going to maintain our discipline. We’re not going to do
         stupid things like we’re starting to see in the marketplace.



                                                  - 38 -
Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                       Page 45 of 184 PageID 2449



                 We’ve proven over time that when we focus on our own knitting and
         changing our own world and controlling the things that we can control, we do better
         and we’re going to continue that. So, again, in the short term, I don’t see us doing
         things like that.

         110.      On February 17, 2017, Fluor released its Q4 2016 financial statements and its 2016

Annual Report Form 10-K signed by Seaton, Porter, and Chopra and SOX-certified by Seaton and

Porter, which contained Statement Nos. 1 and 2 set forth in ¶¶87-88, supra.

         111.      Statement No. 19: During the May 9, 2017 Wells Fargo Industrial and Construction

Conference, Porter continued to represent that Fluor had avoided, and would continue to avoid,

aggressive and risky bidding:

         The markets that were competitive today are competitive – they are the same ones
         that were competitive 4 or 5 years ago. And those largely have been the Power
         business more than any other. On the Power business, we can see as many as 5
         competitors on a particular proposal. When you get to energy and chemicals, it may
         just be a couple. So it’s rational. We haven’t – so broadly speaking, the markets are
         rational. We haven’t seen a situation like there was many years ago with the Korean
         companies coming in and bidding very aggressively. I think they got punished for
         that, and the customers weren’t happy with how it all turned out. And we haven’t
         seen a return of that kind of environment. And so happily, it’s rational. I believe it
         will stay that way, but if somebody did decide to be irrational, we’re not going to
         chase it. We’re not going to take that risk.

         112.      On February 20, 2018, Fluor released its Q4 2017 financial statements and its fiscal

year 2017 Form 10-K, signed by Seaton, Stanski and Chopra and SOX-certified by Seaton and

Stanski, which contained Statement Nos. 1 and 2 set forth in ¶¶87-88, supra.

         113.      Statement Nos. 1-19 were materially false and misleading or omitted material

information necessary to make them not misleading for the following reasons that were unbeknownst

to investors:

                   (a)       Contrary to Defendants’ representations, Fluor was not able to “anticipate and

understand potential risks” or recklessly disregarded those risks to win contracts, and its risk profile

had greatly increased as a result of its bids for the Gas-Fired Plants and other fixed-price contracts.

Over the course of the Class Period, the Company ultimately recognized $643 million in pre-tax
                                            - 39 -
Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                       Page 46 of 184 PageID 2450



charges and/or losses due to forecast revisions and cost overruns at the Gas-Fired Plants and more

than $750 million related to other fixed-price projects arising from similar problems. §VIII.D., infra.

Indeed, the Company recognized pre-tax charges and/or losses related to the Gas-Fired Plants in

eight out of nine consecutive quarters from Q1 2017 to Q2 2019. Id.

                   (b)       Contrary to Defendants’ representations, Fluor was not conservative, was not

selective, and did not produce bids based on expected profit but, rather, to ensure Fluor won the bid

at any price – as Individual Defendants Seaton, Porter, McSorley, and Stanski knew because they

were the ones who effectuated unachievable revisions to project revisions during the “best and final”

bidding process described by multiple CWs. Defendants later admitted that Fluor’s Gas-Fired Plant

bids were not conservative, establishing that Statement Nos. 1-19 were misleading:

                             (i)     After Statement Nos. 1-19 were uttered, Defendants admitted that

Fluor’s gas-fired power plant bids were never realistic: “We . . . have led our clients to believe that a

gas-fired power project costs approximately 650 kilowatts – $650 per kilowatt, although virtually no

one has delivered one for that value. The customers start at that figure [i.e., price to build a gas-fired

plant] and negotiate downward, and there’s always some contractor that is willing to say okay to

lower number, using some excuse to justify the win, Fluor included.” ¶316, infra.

                             (ii)    Similarly, Defendants later admitted that the Gas-Fired Plants suffered

from a “fundamental problem” and “did not meet the original baseline assumptions due to improper

estimating, craft productivity and equipment issues” and that “all 4 of those [Gas-Fired Plants] were

bid at a time when we didn’t have good information on the new first-of-a-kind equipment, nor did

we really have a good handle on the level of skill and number of craft employees that we would have

available to us in some of these locations.” ¶314, infra.

                             (iii)   Proving that the bidding team – which included Individual Defendants

Seaton, Porter, McSorley, and Stanski – neither appropriately considered risks nor erred on the side

                                                     - 40 -
Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                      Page 47 of 184 PageID 2451



of being conservative, Defendants later admitted that “[t]hese projects, the Power project

specifically, were bid at a time by a bidding team that did not follow the rules.” ¶163, infra. That is,

Defendants ultimately conceded that there were “fatal flaws in the bidding process of all of those

projects,” ¶317, infra, and that they “were more aggressive than [they] should have been in bidding

those [gas-fired] projects.” ¶171, infra.

                             (iv)   Defendants later admitted that of the 12 gas-fired projects the

Company undertook since 2003, “10 of the 12 have underperformed our as-sold expectations, with 3

suffering losses.” ¶316, infra. That means that prior to the four Gas-Fired Plants at issue, six of

eight fixed-price gas-fired power projects awarded to Fluor since 2003 – or 75% – had

underperformed Fluor’s bid assumptions.

                   (c)       Contrary to Defendants’ November 2014 assertion that all of their fixed-price

Power projects over the past four or five years were “on budget, on schedule, no claims . . . largely

due to our selectivity,” Defendants later admitted in 2018 that of the 12 gas-fired projects the

Company undertook since 2003, “10 of the 12 have underperformed our as-sold expectations, with 3

suffering losses.” ¶316, infra.

                   (d)       Confidential witnesses also corroborate Defendants’ admissions, describing

that Fluor’s bids were not conservative and were routinely reduced in order to remain competitive:

                             (i)    CW-1, who participated in bidding all of the Gas-Fired Plants, stated

that estimates were routinely reduced by the Executive Review Board, which included Seaton,

McSorley, and other senior management, who told CW-1 that CW-1 needed to cut costs so that

Fluor could stay competitive in the bidding process. Indeed, CW-1 stated that Fluor understated the

estimates for piping and other expenses during the design and construction phases of the Brunswick

County Plant. CW-1 described a “best and final” process at Fluor whereby Fluor submitted a bid to



                                                     - 41 -
Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                      Page 48 of 184 PageID 2452



a customer, Fluor met with the customer who suggested that Fluor needed to reduce its price, and

then Fluor amended its bid to a “best and final” price in hopes of winning the contract.

                             (ii)    CW-2, who worked on the Brunswick County Plant, stated that Fluor

understated the estimates for labor costs needed to build the gas-fired projects, which costs

constituted a large portion of the projects’ budgets.

                             (iii)   CW-3, who was responsible for estimating engineering requirements

for the Greensville County Plant, stated that CW-3’s estimates for required engineering hours and

equipment were reduced by management in order to lower Fluor’s bids on the Greensville County

Plant.

                             (iv)    CW-4 said that Seaton approved bids for Gas-Fired Plants and that

Porter and other senior executives reviewed the bids.

                             (v)     CW-6 corroborated that a “best and final” process was used to drive

down bids, with Stanski leading a comprehensive review of all Government bids valued at $50-$75

million or higher.

                             (vi)    CW-8 noticed that Fluor routinely underbid fixed-price projects as it

was necessary to win contracts.

                             (vii)   CW-9 stated that Fluor followed a “bid it low, let it grow” motto

whereby the Company would offer lowball bids in order to win the contract, knowing that the bid

amount was insufficient to complete the work under the contract.

         B.        False and Misleading Statements and Omissions Regarding the Gas-
                   Fired Plants

         114.      Statement No. 20: On August 14, 2013, Fluor issued a press release announcing that

it had received from Dominion full notice to proceed with construction on the Brunswick County

Plant, a new 1,358-megawatt, natural gas-fueled power station in Brunswick County, Virginia. The


                                                     - 42 -
Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                       Page 49 of 184 PageID 2453



release touted the project and emphasized that Fluor had been working on the project for months, but

omitted that the project was won through an unrealistic, risky bid:

         Fluor Corporation announced today that it received full notice to proceed from
         Dominion Virginia Power to begin construction on the company’s new 1,358-
         megawatt, natural gas-fueled power station in Brunswick County, Virginia. . . .

                 “Fluor is pleased that the project has received the approval from the Virginia
         State Corporation Commission to move forward with construction,” said Matt
         McSorley, senior vice president and head of Fluor’s Power business. “We look
         forward to continuing to provide Dominion with our full suite of engineering,
         procurement and construction services on this significant new power source in the
         eastern United States.”

                Fluor began providing engineering and procurement services on the plant
         from its Charlotte, North Carolina office last year while Dominion awaited
         regulatory approvals to begin construction. The project is expected to staff
         approximately 600 craft workers at peak during the construction phase.

         115.      Statement No. 20 omitted material information necessary to make it not misleading

for the following reasons that were unbeknownst to investors:

                   (a)       Defendants’ positive statements regarding the initiation of construction on the

Brunswick County Plant omitted the fact that Fluor’s bid for the Brunswick County Plant was

artificially low and based on faulty assumptions. See ¶113, supra.

                   (b)       Fluor was awarded the EPC contract for the Brunswick County Plant in July

2012. Thus, by August 14, 2013, when Fluor was given notice to proceed with construction, Fluor

had already “beg[u]n providing engineering and procurement services on the plant from its

Charlotte, North Carolina office” for roughly a year, during which Fluor completed detailed

“engineering and procurement services on the plant.” ¶114, supra. This detailed work revealed that

Fluor’s “baseline assumptions” underlying its bid for the Brunswick County Plant were not

achievable – something Defendants later admitted. ¶314, infra (“The projects did not meet the

original baseline assumptions due to improper estimating, craft productivity and equipment issues.”).

As CW-5 described, there was not a desire to devote substantial time and resources to estimating and

                                                     - 43 -
Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                   Page 50 of 184 PageID 2454



bidding before winning the contract, since those resources would be wasted if Fluor did not win the

contract, and the design phase was severely compressed. Thus, much of the work was performed

only after Fluor was awarded the Brunswick County Plant EPC contract, at which time Fluor

confirmed that its original, lowball bid was insufficient.

         116.      Statement No. 21: On February 18, 2014, Fluor released its Q4 2013 and fiscal 2013

financial results and held a conference call with analysts. In its 2013 Form 10-K, signed by Seaton,

Porter, and Smalley and SOX-certified by Seaton and Porter, Fluor stated: “[Power] [r]evenue in

2013 was 65 percent higher compared to 2012, primarily attributable to a significant increase in

project execution activities for a solar power project in the western United States and two gas-fired

power plant projects in Texas and Virginia.” The Form 10-K also noted that “[n]ew awards of $1.5

billion in 2013 included a natural gas-fired power plant project in Virginia,” i.e., the Brunswick

County Plant.

         117.      Statement No. 22: On the earnings call, in response to a question regarding whether

Fluor had taken on additional risk as part of its recent contract awards, Seaton stated:

                We have not seen our risk profile increase, based on the new awards that
         we are booking right now. Yes, there are some that are fixed-price in nature. But I
         would say that we feel very comfortable in taking the projects that we are on the
         fixed price basis, and that’s not just in oil and gas, but I would say across the
         Company.

                   We feel pretty good about our ability to execute against that.

         118.      Statement No. 23: On October 30, 2014, Fluor released its Q3 2014 financial results

and held an earnings call with analysts. On the earnings call, Seaton responded to an analyst

question regarding progress at the Brunswick County Plant and other fixed-price projects on which

Fluor was currently working:

                 [Analyst:] David can you just comment on how the execution is going on
         your fixed-price projects right now?


                                                  - 44 -
Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                  Page 51 of 184 PageID 2455



                  [Seaton:] Pretty good. I feel really good about where we stand. It’s got the
         normal puts and takes as any project does, but I feel really good about where we are
         at this stage of the game on our fixed-price projects.

         119.      Statement No. 24: On November 13, 2014, Fluor announced that it had been

awarded EPC contracts for the Anderson and Citrus County Plants. On that day, Fluor held its

Investor Day conference during which McSorley highlighted Fluor’s performance on existing fixed-

price power EPC projects and distinguished Fluor from competitors who might exit the power

market (as Fluor itself would later do):

                 Let’s talk about some of our existing projects. As I said, our work is lump
         sum in the power industry. And over the past three to five years, we have really had
         a solid execution of our projects. Many of you in here hear about companies
         struggling in the power EPC space, some of them wanted to maybe even exit the
         space.

                All of our projects over the past four or five years: on budget, on schedule,
         no claims. This is largely due to our selectivity. We don’t chase everything that is
         out there. Our estimating capability and, of course, our execution of the work.

         120.      Statement No. 25: McSorley also assured investors that the construction of the

Brunswick County Plant was “on track, on schedule and cost”:

                Dominion Brunswick County, this is one of our largest ones we have going
         on right now. This is about a $900 million lump sum project. It is a three-on-one
         combined cycle project in Virginia. Again, we have about [900 craft] there, about
         35% to 40% complete, and we are on track, on schedule and cost.

         121.      Statement No. 26: On March 5, 2015, Fluor issued its 2014 Annual Report, which

highlighted Fluor’s successful execution on gas-fired projects, including the Brunswick County

Plant:

         [Fluor] [c]ontinued work on Dominion Brunswick, an immense 3-on-1 combined-
         cycle plant in Virginia. The project is about 40% finished, on schedule and on
         budget.

         122.      On April 27, 2015, Fluor issued a press release announcing it was awarded the EPC

contract for the Greensville County Plant. In the press release, McSorley highlighted the Brunswick



                                                 - 45 -
Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                     Page 52 of 184 PageID 2456



County Plant, stating: “‘Fluor has a proven track record supporting Dominion in their goal to provide

clean, reliable, and low-cost energy to their Virginia customers.’”

         123.      Statement No. 27: On April 30, 2015, Fluor released its Q1 2015 financial results

and held an earnings conference call with analysts. On the call, Seaton emphasized Fluor’s

performance on existing fixed-price projects:

         [O]ur relationship with Dominion, I think Greensville shows that we execute for
         them on the projects that they need. That’s a very large project that we’re going to
         backlog next year when we get to final notice to proceed.

                 So I think they’re kind of on a roll, and I think that we’ve looked at the things
         we need to look at around competitiveness. I think our execution approach is
         sharpened relative to how we do those projects. Those projects were typically lump
         sum, so it’s how well are we performing. And I think we’re performing very, very
         well in the power sector.

                 So I’m pretty bullish on them being able to deliver on what we’ve got in
         front of us, but I wouldn’t suggest what number projects that are out there in front
         for award in the next little while. But Greensville is a very, very important win and
         a very large project.

         124.      Statement No. 28: On June 4, 2015, Seaton presented at the Credit Suisse

Engineering & Construction Conference. Seaton commented on the recent uptick in power projects,

and how Fluor’s capabilities resulted in increased contract wins. Specifically, Seaton emphasized

Fluor’s successful implementation of the most critical component of Fluor’s gas-fired Power projects

– the turbines. Seaton’s statements assured investors that Fluor was not encountering any problems

with the Mitsubishi turbines that were being installed at the Brunswick County Plant and the other

Gas-Fired Plants:

                 You go to power, we are seeing a big uptick in power. I feel good about
         where we are there. We are probably one of the few that can actually implement
         the gas cycle regardless of what the turbine choice is. And we see a significant
         uptick in terms of project load as we go into the next couple of years.




                                                  - 46 -
Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                  Page 53 of 184 PageID 2457



         125.      Statement Nos. 21-28 were materially false and misleading or omitted material

information necessary to make them not misleading for the following reasons that were unbeknownst

to investors:

                   (a)       Contrary to Defendants’ positive statements regarding Fluor’s project

execution and the Mitsubishi turbines, Fluor was not executing on schedule or on budget and the

installation of the Mitsubishi turbines was a disaster. By January 2014 – before Defendants made

Statements Nos. 21-28 – Defendants were aware of problems with the Mitsubishi turbines, which

were the most critical components of the Gas-Fired Plants and which were part of the “critical path”

for the construction of the Gas-Fired Plants. As described in more detail in §VIII.B.1., infra, by

January 2014, Mitsubishi had already missed the delivery schedule for two Minor Components 5 of

the Brunswick County Plant. By April 2014, Fluor determined that Mitsubishi’s deliveries

“evidenced a complete lack of quality control,” which “forced [Fluor] to accelerate the construction

process at great additional cost.” ¶189, infra. Thus, Defendants knew that the Brunswick County

Plaint was not “on track, on schedule and cost” or “on schedule and on budget” when they stated so

on November 13, 2014 and March 5, 2015. ¶¶120-121, supra. Nor was it true that Fluor could

“implement the gas cycle regardless of what the turbine choice is” when Defendants stated so on

June 4, 2015. ¶124, supra. Finally, Fluor used these same or substantially similar Mitsubishi

turbines on the other Gas-Fired Plants, all of which were “next generation” turbines with which

Fluor had never worked, and therefore the problems equally affected and illustrated identical risks at

the other Gas-Fired Plants – a fact Defendants later admitted. See ¶180, infra.




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    Mitsubishi’s failure to properly deliver the Minor Components was anything but minor. As
Fluor has judicially admitted, the meaning of Minor Components within the Turbine Supply
Agreement includes “all equipment and materials related to and necessary for the installation of
the Turbines.” ¶186, infra.

                                                  - 47 -
Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                  Page 54 of 184 PageID 2458



                   (b)       At the time Defendants made Statement Nos. 21-28, Defendants were also

aware of significant schedule delays and cost overruns due to “issues with labor productivity” at the

Brunswick County Plant. By the start of the Class Period, Defendants knew or recklessly

disregarded that Fluor’s bids for the Gas-Fired Plants were artificially low and based on faulty

assumptions. See ¶113, supra. Moreover, Defendants acknowledge that bidding issues generally

“raise their heads” when a project reaches “about 40% – 30% to 40% construction progress.” ¶181,

infra. CW-8 confirmed that cost issues arose during the construction phase and that projects would

already be seriously into the red by midway through construction. Thus, by March 2015, when

Defendants announced that the Brunswick County Plant was “about 40% finished,” they were aware

or recklessly disregarded the craft labor shortages. In particular, Fluor encountered a lack of

experienced welders, which forced it to find costly workarounds, including using multiple “shifts to

make the best use of the limited number of welders” and even resorting to starting “a welding

school” at a local community college. Ultimately, Fluor admitted that it did not have “a good handle

on the level of skill and number of craft employees” that would be available on site, and that craft

labor was a “major issue” tied to the cost overruns at the Brunswick County Plant.

         126.      Statement No. 29: By October 29, 2015, Defendants could no longer fully conceal

the problems plaguing the Brunswick County Plant. On that day, Fluor released its Q3 2015

financial results, announcing a $21 million charge related to the Brunswick County Plant, and held

an earnings call with analysts and investors. On the call, however, Defendants continued to omit and

misstate material facts regarding problems plaguing all of the Gas-Fired Plants and other fixed-price

projects. Rather than disclose the true extent of the fixed-price problems, Seaton affirmatively stated

that the issues occurring at the Brunswick County Plant were not symptomatic across Fluor’s other

fixed-price projects:



                                                  - 48 -
Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                   Page 55 of 184 PageID 2459



                 [Analyst:] Related to Brunswick County, David, you’ve been very careful on
         setting up the organization to manage these fixed-price projects to minimize risk.
         And I do remember that this plant had been competitively bid. Just trying to get
         comfortable with the fixed-price mix that’s in the rest of the backlog now. Is there
         something different about the way the organization was structured for Brunswick
         County versus the other gas-fired power plants you have in backlog and you’re going
         to put in there? And then more broadly, the other oil and gas projects now you have
         in backlog on a fixed-price basis, just trying to be comfortable with the fixed-price
         now.

                  [Seaton:] That’s a great question. I would put the Brunswick situation in
         three categories. None of which, do I believe are embedded in how we’ve done any
         of the others. And in fact, we’ve learned from this and have implemented some of
         those learnings as we bid some of these other programs. It falls into three
         categories. One is the weather that we experienced was a huge factor. As you
         remember, last winter was the coldest winter in a long, long time, maybe in history.
         And certainly Appalachia, I come from not too far from there, it can be really, really
         cold. And we had issues associated with weather. Secondly, we had issues with
         labor productivity, something that is both in and outside of our control. But in terms
         of the learnings, I think that’s where we’ve learned the most. The third piece is that
         Mitsubishi machine, that’s the first time it’s been installed in the United States, and
         the learnings from that put us in I think a better position going forward.

                 So it’s not symptomatic within the organization. You are correct; we’ve
         taken a very measured look at many of the programs and projects we’re doing,
         including the ones that are fixed-price. And I don’t see a fly in the ointment, so to
         speak, and I guess that’s kind of what you were getting at, relative to what we’ve got
         in backlog or the competitive nature of our offerings.

         127.      Statement No. 30: Porter stated that Fluor had “done well” on fixed-price projects,

and reiterated that the issues were limited to execution only at the Brunswick County Plant project,

and denied that there were systemic issues with bidding:

                The power projects have been competitively bid for the last many years, and
         we’ve done well on them over the last several that were competitive bids. I
         wouldn’t put something in a distinct category just because it happened to be
         competitively bid. It’s more attributable to the things David just described, as
         opposed to it being a competitive situation.

         128.      On February 18, 2016, Fluor released its Q4 2015 financial statements and its fiscal

year 2015 Form 10-K signed and SOX-certified by Seaton and Porter, and held an earnings

conference call with analysts. The Form 10-K disclosed a fourth quarter $31 million pre-tax loss

resulting from forecast revisions to the Brunswick County Plant. Fluor also reported that the Power
                                                  - 49 -
Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                      Page 56 of 184 PageID 2460



segment “profit for 2015 included a loss of $60 million (including the reversal of previously

recognized profit) resulting from forecast revisions for a large gas-fired power plant in Brunswick

County, Virginia.” Defendants, however, omitted that the issues affecting the Brunswick County

Plant were affecting Fluor’s other Gas-Fired Plants.

         129.      Statement Nos. 29-30 were materially false and misleading or omitted material

information necessary to make them not misleading for the following reasons that were unbeknownst

to investors:

                   (a)       Contrary to Defendants’ assurances that the turbine and craft labor issues

occurring at the Brunswick County Plant were one-off events and were not “symptomatic” of Fluor’s

other gas-fired projects, as Defendants later admitted, all of the Gas-Fired Plants “had a fundamental

problem” and all of the plants suffered from the same “improper estimating, craft productivity and

equipment issues.” ¶314, infra.

                   (b)       Problems with the Mitsubishi turbines at the Brunswick County Plant were

not isolated to that plant – they were “symptomatic” across all of the Gas-Fired Plants. Because the

other Gas-Fired Plants used the same or substantially similar Mitsubishi turbines, they were plagued

by the same problems. For example, CW-5 described a pressure valve problem affecting the Citrus

County Plant turbines that had also affected the Brunswick County Plant turbines. Indeed, as

Defendants later admitted, “all 4 projects were based on next-gen turbines or steam generators that

were first of a kind for Fluor,” and “all 4 of those projects were bid at a time when we didn’t have

good information on the new first-of-a-kind equipment.” ¶314, infra.

                   (c)       The craft labor issues at Brunswick were also “symptomatic” across all of the

Gas-Fired Plants. CW-8 observed that at the Anderson County and Citrus County Plants, Fluor was

unable to find workers with proper skills and motivation due to Fluor’s faulty labor cost estimates.

As Defendants later admitted, craft labor was a “major issue” and “all 4 of those projects were bid at

                                                     - 50 -
Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                      Page 57 of 184 PageID 2461



a time when we didn’t . . . have a good handle on the level of skill and number of craft employees

that we would have available to us in some of these locations.” ¶314, infra.

                   (d)       Seaton’s representation that Fluor had taken “a very measured look” at the

other gas-fired projects and the problems at the Brunswick County Plant were not “embedded in how

we’ve done any of the others” was knowingly or recklessly misleading when made. ¶126, supra.

The truth, however, was that all of the gas-fired projects were bid “by the same pursuit team” who

used “the same statistics and information” and who “did not follow the rules.” ¶163, infra.

                   (e)       Porter’s representation that Fluor had “done well” on gas-fired projects was

knowingly or recklessly misleading when made. Since 2003, six of eight fixed-price gas-fired power

projects awarded to Fluor prior to the Brunswick County Plant EPC contract – or 75% – had

underperformed Fluor’s bid assumptions.

         130.      Statement No. 31: On May 4, 2017, Fluor released its Q1 2017 financial results and

held an earnings conference call with analysts and investors. The Form 10-Q, signed by Porter and

SOX-certified by Seaton and Porter, disclosed a $30 million charge related to cost overruns on the

Anderson County Plant: “The decrease in segment profit was driven by cost increases and forecast

revisions of approximately $30 million, primarily for a gas-fired power plant in South Carolina.”

Defendants, however, omitted the full scope of the problems, cost overruns, and delays plaguing the

Anderson County Plant. Rather, Seaton stated the opposite by falsely assuring investors that Fluor’s

execution problems at the Anderson County Plant were not significant and Fluor could even reverse

some of its losses in the future. On the earnings call, Seaton declined to provide any details

regarding the charge, and instead assured investors:

         [T]he South Carolina project is nearing completion, and there are some issues there
         that I really don’t want to talk about because we’ve got some opportunities,
         hopefully, to maybe reverse some of that.



                                                    - 51 -
Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                   Page 58 of 184 PageID 2462



         131.      On August 3, 2017, Fluor released its Q2 2017 financial results and held an earnings

conference call with analysts and investors. The Form 10-Q, signed by Porter and SOX-certified by

Seaton and Porter, disclosed a $194 million charge related to three of its fixed-price gas-fired power

plants: “The Industrial, Infrastructure & Power segment reported a segment loss of $168 million,

compared to a segment profit of $51 million in the second quarter of 2016. Results for the quarter

include approximately $194 million in pre-tax project expenses related to forecast adjustments on

three gas-fired power projects.” On the call, Seaton provided an update regarding ongoing issues at

the Gas-Fired Plants:

         I want to start our call today discussing the issues we are experiencing in our
         Industrial, Infrastructure & Power segment, specifically the concerns on 3 gas-fired
         projects currently under construction. All 3 projects, 4 if you include the Brunswick
         project that incurred a charge in 2015, had a fundamental problem. The projects
         did not meet the original baseline assumptions due to improper estimating, craft
         productivity and equipment issues. All of these projects were bid in 2014 by the
         same pursuit team. In addition, all 4 projects were based on next-gen turbines or
         steam generators that were first of a kind for Fluor. The quality control and
         completeness of these turbines delivered to the site were not in line with our bid
         assumptions and we are pursuing our options.

         132.      Statement No. 32: Defendants, however, continued to omit the full scope of the

problems, cost overruns, and delays plaguing the Gas-Fired Plants. On the earnings call, Seaton

represented that a new management team had reviewed the Gas-Fired Plants and any problems were

captured in the newly announced forecast:

                 So where are we today? Of the 3 currently active projects, 1 is 92%
         complete, with an expected mechanical completion in Q4. One is 45% complete,
         with an estimated completion date of Q2 2018. And the last project [the Citrus
         County Plant] is 42% complete, and is expected to be complete in Q4 2018. I’d
         make a comment that those are construction completion percentages, not overall
         project percent completes. So this is specifically related to the construction scope.

                I’ve discussed the problems, and now I’d like to talk about we’ve changed.
         After we had the initial charge last quarter, we changed the Power leadership team
         and brought in Simon Nottingham as the President of that group – of the Power
         group. Simon comes from our oil and gas group, and he brings to this role his
         extensive background in project and program management. He and his team, in
         coming to this role, led a review of the 3 projects in the second quarter and
                                                 - 52 -
Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                     Page 59 of 184 PageID 2463



         developed a path forward that is reflected in our current estimates. Some members
         of the Power management team have exited Fluor. We also informed our employees
         that we are closing our Charlotte office and consolidating Power operations in
         Greenville, where it will be closer to our other businesses and leadership.

                                             *       *       *

                 In addition to the changes in management of Power group, our strategic
         evaluation of the gas-fired power market, we’re also implementing other changes to
         give us greater confidence that these types of earnings adjustments are diminished
         and less frequent.

                                             *       *       *

         We – as I said, we’ve changed the review process to where there’s more cold eyes
         review. And I feel reasonably good about where we are.

         133.      On February 20, 2018, Fluor released its Q4 2017 financial results and held an

earnings call with analysts and investors. Fluor disclosed a $41 million charge related to the Citrus

County Plant, but continued to omit ongoing problems and mounting costs.

         134.      On May 3, 2018, Fluor released its Q1 2018 financial results and held an earnings call

for analysts and investors. Fluor disclosed another $125 million charge for the Citrus County Plant.

The Form 10-Q, signed by Stanski and SOX-certified by Seaton and Stanski, stated: “The decrease

in segment profit was primarily driven by forecast revisions of approximately $125 million for

estimated cost growth for the [Citrus County] fixed-price, gas-fired power plant project . . . .” On

the call, Seaton described the additional issues and charges on the Citrus County Plant:

                 Let’s start off by discussing the challenges that we are experiencing on the
         same gas-fired power project we discussed last quarter and the steps we’re taking to
         complete this project and in Fluor’s participation in the specific end market. Craft
         productivity and estimating were materially different than the original baseline
         expectations we made in the initial charge on this project last year. While those
         factors were included in our initial charge, the majority of the $125 million charge
         taken this quarter is driven by extremely low ongoing productivity and the
         financial impact that this has relative to initial expected timing of when the 2 units
         would be available for power production based on the current outlook.

         135.      Statement No. 33: In an exchange with an analyst, Seaton assured investors that the

Gas-Fired Plants would be completed within the charges that the Company took:
                                                   - 53 -
Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                    Page 60 of 184 PageID 2464



                [Analyst:] . . . So David, the power project is 86% done, you’ve said. I think
         you have one more project in backlog of the same A-grade. And it is probably the
         same level done. Is there anything else you could do on the projects to assure
         investors that they can invest, really for the next couple of quarters, in Fluor until
         the projects are done? I think I remember back in the day, Alan Boeckmann saying
         he was going to visit his embassy problem project every week toward the end of it.
         Can you do that? Shouldn’t you do that? Anything more you can do.

                                             *       *      *

                 So I just said that – yes, back in, I think it was 2006 or something, I’m
         showing my age. But Alan Boeckmann had said that he was going to go visit the
         embassy project, his problem projects literally every week until it’s done. So as a
         CEO, what more can you do, David? Like we always get the question, “Can I
         invest in Fluor until these problem projects are done?” How would you answer
         that?

                 [Seaton:] Yes, I mean, I’ve been in the project site twice this year, and I have
         personally directed different resources there. And I am – I hate to even say
         confident, but I am in the ability of the project to complete within this number, as
         well – and look, we used an abysmal productivity rate in setting the number that we
         wrote down. So I have confidence that we’ll be able to finish. As you said, we’re
         high 80s percentage. We’re starting to turn over systems to the customer on unit 1.
         Unit 2, I think, will be an easier finish than unit 1 has been. So I feel pretty good
         about the team that’s there now. Yes, I’m not going to say that I will be there every
         week, but I’m going to be there on a routine basis, and I have already taken
         personal review of this project. With regard to the other one, and this is a hell of it,
         is the project in Virginia is going very well. It is in the same kind of completion
         percentage. And those guys have done a better job relative to managing that craft
         and making the progress that they need to make. So I feel very good about that
         project and what that team is doing. But yes, I mean when things go bad, the boss
         has got to be there, and I get that. And I have been and will be as we finish this
         project.

         136.      Statement No. 34: In Seaton’s closing remarks, he repeated his assurance that all the

issues with the Gas-Fired Plants had been captured by the charge and completion was near:

         Despite a disastrous quarter and our disappointment, I’m really excited about the
         future. No one’s more disappointed than I am relative to where we are on a very
         finite sample of projects. And we do know where the end is, and we believe we’ve
         captured that.

         137.      Statement No. 35: Likewise, a slide presented on the earnings call represented that

“[t]he underperforming gas-fired projects have been de-risked.”



                                                  - 54 -
Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                    Page 61 of 184 PageID 2465



         138.      On August 2, 2018, Fluor released its Q2 2018 financial results and held an earnings

call for analysts and investors. Fluor disclosed another $16 million charge for the Citrus County

Plant. The Form 8-K announcing the results disclosed “[t]he Mining, Industrial, Infrastructure &

Power segment . . . [r]esults for the quarter include a pre-tax charge of $16 million for forecast

revisions on a gas-fired power project.” On the earnings call, Seaton commented on the Citrus

County Plant losses on the Company’s overall performance: “It’s just a shame that this noise on

legacy projects has dampened what could have been some really good quarters over the last 2 years.”

         139.      Statement No. 36: Defendants, however, continued to conceal the full scope of the

problems, cost overruns, and delays plaguing the remaining gas-fired plants: “[W]e’ve done

everything in our power to lessen that risk and give us better insight and surety in terms of our

performance going forward.”

         140.      Statements Nos. 31-36 were materially false and misleading or omitted material

information necessary to make them not misleading for the following reasons that were unbeknownst

to investors:

                   (a)       At the time Seaton stated that Fluor had “developed a path forward that is

reflected in our current estimates” (¶132, supra), the Citrus County Plant was already suffering from

material and costly schedule delays. As described in §VIII.B.2., infra, by November 2017, the

delays were so severe that Fluor was forced to enter into a change order with Duke to push back the

Guaranteed Mechanical Completion Date from December 2017 to March 2018. Ultimately, the

Citrus County Plant charges were the result of these schedule delays; Fluor admitted that the charges

were due to the “financial impact . . . relative to initial expected timing of when the 2 units would be

available for power production.” ¶316, infra.

                   (b)       Although Defendants claimed the Citrus County Plant had been “de-risked”

and Fluor had captured the risks in its estimates by May 2018, the Citrus County Plant continued to

                                                    - 55 -
Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                    Page 62 of 184 PageID 2466



suffer from material schedule delays and execution problems. As described in §VIII.B.2, infra,

Fluor missed the amended Guaranteed Mechanical Completion Date deadline of March 2018 by

approximately six months. As a result, Fluor was liable for “all additional costs incurred by Duke

Energy due to the failure to meet the agreed milestone dates.”

                   (c)       Contrary to Defendants’ representation that the Gas-Fired Plants had been

“de-risked” and that all possible future losses had been “captured” by the charges taken in Q1 2018,

the Company continued taking massive charges on the Gas-Fired Plants in every consecutive quarter

from Q2 2018 to Q2 2019. §VIII.D., infra.

         C.        False and Misleading Statements and Omissions Regarding Fluor’s
                   Disclosure Controls and Procedures and Its Reported Revenue

         141.      Statement No. 37: Throughout the Class Period, Fluor provided investors with its

“Management’s Report on Internal Control Over Financial Reporting” in its Forms 10-K for fiscal

years 2013-2018, signed by Seaton, Porter, Stanski, and Smalley and SOX-certified by Seaton,

Porter, and Stanski:

         The company’s internal control over financial reporting is a process designed, as
         defined in Rule 13a-15(f) under the Exchange Act, to provide reasonable assurance
         regarding the reliability of financial reporting and the preparation of consolidated
         financial statements for external purposes in accordance with generally accepted
         accounting principles in the United States.

                 In connection with the preparation of the company’s annual consolidated
         financial statements, management of the company has undertaken an assessment of
         the effectiveness of the company’s internal control over financial reporting . . . .
         Management’s assessment included an evaluation of the design of the company’s
         internal control over financial reporting and testing of the operational effectiveness
         of the company’s internal control over financial reporting. Based on this assessment,
         management has concluded that the company’s internal control over financial
         reporting was effective as of [the end of the period covered by this annual report].

         142.      Statement No. 38: Defendants also provided an “Evaluation” of these controls and

procedures in their Forms 10-K and 10-Q issued throughout the Class Period:



                                                   - 56 -
Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                        Page 63 of 184 PageID 2467



                 Based on their evaluation as of . . . the end of the period covered by this . . .
         report, our principal executive officer and principal financial officer have
         concluded that our disclosure controls and procedures . . . are effective . . . . 6

         143.      Statement No. 39: In connection with the filing of each Form 10-K and Form 10-Q

issued during the Class Period, Seaton, Porter, Stanski, Hernandez, and Steuert stated that the

financial statements of the Company were prepared in accordance with GAAP and signed SOX

certifications, certifying that:

                   (a)       each report “fairly present[ed] in all material respects the financial condition

[and] results of operations” of the Company;

                   (b)       each report “d[id] not contain any untrue statement of a material fact or omit

to state a material fact necessary to make the statements made, in light of the circumstances under

which such statements were made, not misleading”;

                   (c)       they had “[d]esigned such disclosure controls and procedures, or caused such

disclosure controls and procedures to be designed under [their] supervision, to ensure that material

information relating to the [Company] . . . is made known to [them]”;

                   (d)       they had “[d]esigned such internal control over financial reporting, or caused

such internal control over financial reporting to be designed under [their] supervision, to provide

reasonable assurance regarding the reliability of financial reporting and the preparation of financial

statements for external purposes in accordance with generally accepted accounting principles”;

                   (e)       they had “[e]valuated the effectiveness of the registrant’s disclosure controls

and procedures”; and

                   (f)       they had disclosed “[a]ll significant deficiencies and material weaknesses in

the design or operation of internal control over financial reporting which are reasonably likely to


6
    This statement was repeated in every Form 10-K and Form 10-Q issued during the Class Period
in identical or substantially similar form.

                                                      - 57 -
Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                   Page 64 of 184 PageID 2468



adversely affect the registrant’s ability to record, process, summarize and report financial

information.”

         144.      Statement No. 40: In connection with the filing of each Form 10-K and Form 10-Q

issued during the Class Period, Defendants also assured investors that, in recognizing revenue for

that period, all currently estimated fixed-contract costs had been recognized:

         The percentage-of-completion method of revenue recognition requires the company
         to prepare estimates of cost to complete for contracts in progress. In making such
         estimates, judgments are required to evaluate contingencies such as potential
         variances in schedule and the cost of materials, labor cost and productivity, the
         impact of change orders, liability claims, contract disputes and achievement of
         contractual performance standards. Changes in total estimated contract cost and
         losses, if any, are recognized in the period they are determined. 7

         145.      Statement No. 41: On February 18, 2016, Fluor released its Q4 2015 financial

statements and its fiscal year 2015 Form 10-K, signed and SOX-certified by Seaton and Porter.

Fluor reported total revenue of approximately $18.1 billion for fiscal year 2015. The Company also

reported that it had recorded $30 million in claim revenue as of the end of 2015. In discussing

revenues, it attributed the Power segment’s impact as being due to the Gas-Fired Plants:

                 Revenue in 2015 decreased 6 percent compared to 2014, principally due to a
         decrease in project execution activities for a solar energy project in California and a
         large gas-fired plant in Brunswick County, Virginia. The overall revenue decline
         was partially offset by increased project execution activities for several projects in
         the early stages of project execution, including a gas-fired power plant in Greensville
         County, Virginia and two large gas-fired power plants in South Carolina and Florida.

It stated: “Consolidated new awards for 2015 were $21.8 billion compared to $28.8 billion in 2014

and $25.1 billion in 2013. The Oil & Gas and Power segments were the major contributors to the

new award activity during 2015.” It added: “Consolidated backlog was $44.7 billion as of December

31, 2015, $42.5 billion as of December 31, 2014, and $34.9 billion as of December 31, 2013. The



7
   This statement was repeated in every Form 10-K issued during the Class Period in identical or
substantially similar form.

                                                 - 58 -
Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                     Page 65 of 184 PageID 2469



higher backlog at the end of 2015 was primarily due to significant new awards in the Power

segment . . . .”

         146.      Statement No. 42: On May 5, 2016, Fluor released its Q1 2016 Form 10-Q, signed

by Porter and Chopra and SOX-certified by Seaton and Porter. Fluor reported total revenue of

approximately $4.4 billion for Q1 2016, and net earnings of approximately $119 million. The

Company also reported that it had recorded $36 million in claim revenue as of the end of Q1 2016.

In discussing revenues, it credited growth in the Power segment as offsetting declines:

                 Consolidated revenue of $4.4 billion for the three months ended March 31,
         2016 decreased slightly compared to $4.5 billion for the three months ended March
         31, 2015. Revenue in the Energy, Chemicals & Mining segment decreased in the
         current year period due to reduced levels of project execution activities in the mining
         and metals business line and for certain large upstream projects progressing to
         completion. Revenue growth in the Industrial, Infrastructure & Power segment due
         to increased project execution activities for several power projects, as well as
         revenue contributions from the Stork acquisition, largely offset this revenue decline.

It elaborated:

                 Revenue for the three months ended March 31, 2016 increased by 52 percent
         compared to the three months ended March 31, 2015 primarily due to increased
         project execution activities in the power business line for several projects in the early
         stages of project execution including two nuclear projects and several gas-fired
         power plants in the southeastern United States.

It also stated:

                Consolidated new awards were $4.7 billion for the three months ended March
         31, 2016 compared to new awards of $4.4 billion for the three months ended March
         31, 2015. The Government and Industrial, Infrastructure & Power segments were the
         major contributors to the new award activity in the first quarter of 2016.

It added: “Consolidated backlog as of March 31, 2016 was $46.0 billion compared to $41.2 billion as

of March 31, 2015. The increase in backlog was primarily due to significant new awards booked

after the first quarter of 2015 in the Industrial, Infrastructure & Power segment.”

         147.      Statement No. 43: On August 4, 2016, Fluor released its Q2 2016 Form 10-Q, signed

by Porter and Chopra and SOX-certified by Seaton and Porter. Fluor reported total revenue of

                                                  - 59 -
Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                  Page 66 of 184 PageID 2470



approximately $4.8 billion for Q2 2016, and net earnings of approximately $120 million. The

Company also reported that it had recorded $49 million in claim revenue as of the end of Q2 2016.

In discussing revenues, it stated:

                 Consolidated revenue of $4.9 billion and $9.3 billion for the three and six
         months ended June 30, 2016, respectively, was essentially flat when compared to
         consolidated revenue of $4.8 billion and $9.4 billion for the three and six months
         ended June 30, 2015. During both periods, revenue growth in the Industrial,
         Infrastructure & Power, Government and Maintenance, Modification & Asset
         Integrity segments were offset by revenue declines in the Energy, Chemicals &
         Mining segment. The revenue growth in both periods resulted primarily from
         increased project execution activities for several power projects, as well as revenue
         contributions from the Stork acquisition.

It also highlighted the Power segment as favorably offsetting lowered earnings elsewhere, stating:

                 Net earnings attributable to Fluor Corporation were $102 million and $206
         million for the three and six months ended June 30, 2016, respectively, compared to
         net earnings attributable to Fluor Corporation of $149 million and $293 million,
         respectively, for the corresponding periods of 2015. The three and six month periods
         of 2016 reflect lower earnings contributions from the Energy, Chemicals & Mining
         segment compared to the prior year periods, partially offset by higher contributions
         from power projects in the Industrial, Infrastructure & Power segment.

It elaborated as to the Power segment’s contributions, stating: “[Power] [s]egment profit for the three

and six months ended June 30, 2016 significantly increased from the corresponding periods in 2015,

primarily due to higher contributions associated with the project execution activities for several

power business line projects in the early stages of project execution.” It highlighted the Power and

Government segments as driving Fluor’s new contract awards, stating:

                 Consolidated new awards were $6.4 billion and $11.1 billion for the three and
         six months ended June 30, 2016, respectively, compared to new awards of $4.3
         billion and $8.7 billion for the three and six months ended June 30, 2015. The
         Industrial, Infrastructure & Power and Government segments were the major
         contributors to the new award activity in the first half of 2016.

It similarly touted the Power segment as fueling increases in Fluor’s backlog, stating: “Consolidated

backlog as of June 30, 2016 was $47.3 billion compared to $41.6 billion as of June 30, 2015. The



                                                - 60 -
Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                    Page 67 of 184 PageID 2471



increase in backlog was primarily due to new awards booked after the second quarter of 2015 in the

Industrial, Infrastructure & Power segment.”

         148.      Statement No. 44: On November 3, 2016, Fluor released its Q3 2016 Form 10-Q,

signed by Porter and Chopra and SOX-certified by Seaton and Porter. Fluor reported total revenue

of approximately $4.8 billion for Q3 2016, and net earnings of approximately $17 million. The

Company also reported that it had recorded $56 million in claim revenue as of the end of Q3 2016.

It highlighted the Power and Government segments as revenue drivers:

                  Consolidated revenue for the three months ended September 30, 2016
         increased 9 percent from $4.4 billion to $4.8 billion compared to the three months
         ended September 30, 2015. Consolidated revenue for the nine months ended
         September 30, 2016 increased 2 percent from $13.7 billion to $14.0 billion compared
         to the first nine months of the prior year. During both periods, revenue growth in the
         Industrial, Infrastructure & Power, Government and Maintenance, Modification &
         Asset Integrity segments were partially offset by revenue declines in the Energy,
         Chemicals & Mining segment. The revenue growth in both periods resulted
         primarily from increased project execution activities for several power projects, as
         well as revenue contributions from the Stork acquisition.

Regarding the Power segment specifically, it added:

                 Revenue for the three and nine months ended September 30, 2016 increased
         by 89 percent and 72 percent, respectively, compared to the three and nine months
         ended September 30, 2015 primarily due to increased project execution activities in
         the power business line for several projects, including two nuclear projects and
         several gas-fired power plants in the southeastern United States, as well as increased
         project execution activities in the infrastructure business line for several projects in
         the early stages of project execution.

It said the Power segment offset earnings declines elsewhere, stating:

                 Earnings from continuing operations attributable to Fluor Corporation were
         $5 million and $211 million for the three and nine months ended September 30,
         2016, respectively, compared to earnings from continuing operations attributable to
         Fluor Corporation of $176 million and $469 million, respectively, for the
         corresponding periods of 2015. Earnings from continuing operations attributable to
         Fluor Corporation for the three and nine month periods of 2016 were adversely
         affected by after-tax charges of $154 million and $170 million, respectively, related
         to forecast revisions for estimated cost increases on a petrochemical project in the
         Energy, Chemicals & Mining segment, which were partially offset by higher
         contributions from power projects in the Industrial, Infrastructure & Power segment.

                                                  - 61 -
Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                   Page 68 of 184 PageID 2472



It elaborated:

                 [Power] [s]egment profit for the three and nine months ended September 30,
         2016 significantly increased from the corresponding periods in 2015 primarily due to
         the higher volume of project execution activities for the power projects mentioned
         above, as well as the adverse impact on segment profit for the prior year periods
         resulting from forecast revisions on a large gas fired power plant.

It also touted the Power and Government segments as driving new contract awards:

                  Consolidated new awards were $7.0 billion and $18.1 billion for the three and
         nine months ended September 30, 2016, respectively, compared to new awards of
         $5.3 billion and $14.0 billion for the three and nine months ended September 30,
         2015. The Energy, Chemicals & Mining, Industrial, Infrastructure & Power, and
         Government segments were the major contributors to the new award activity in the
         first nine months of 2016 . . . .

It also touted the Power segment as increasing backlog:

                 Consolidated backlog as of September 30, 2016 was $44.3 billion compared
         to $41.7 billion as of September 30, 2015. The increase in backlog was primarily
         due to new awards booked after the third quarter of 2015 in the Energy, Chemicals &
         Mining and Industrial, Infrastructure & Power segments partially offset by a current
         period adjustment for a liquefied natural gas project that was suspended in the third
         quarter.

         149.      Statement No. 45: Seaton began the earnings call that evening call by discussing the

“significant charge” the Company had taken on its “fixed-price project for CPChem in the Gulf

Coast,” and assured investors that changes in the Company’s internal processes would prevent such

charges in the future:

         [W]e took a really hard look at this, almost a conservative look at this, because of
         what we knew we had to get done.

                 I will mention that this project was bid prior to some of the changes that
         we’ve made and some of the innovations that we’ve applied in the integrated
         solutions model. So when you look at where we are going, we shouldn’t have these
         kinds of issues in our backlog or in the projects that we win.

         150.      Statement No. 46: On February 17, 2017, Fluor released its Q4 2016 financial

statements and its fiscal year 2016 Form 10-K, signed by Seaton, Porter, and Chopra and SOX-

certified by Seaton and Porter. Fluor reported total revenue of approximately $19 billion for fiscal

                                                  - 62 -
Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                   Page 69 of 184 PageID 2473



year 2016. The Company also reported that it had recorded $61 million in claim revenue as of the

end of 2016. It credited the Power and Government segments with driving revenues:

                 Consolidated revenue for 2016 was $19.0 billion compared to $18.1 billion
         for 2015. During 2016, revenue growth in the Industrial, Infrastructure & Power,
         Government and Maintenance, Modification & Asset Integrity segments were
         partially offset by a revenue decline in the Energy, Chemicals & Mining segment.
         The revenue growth resulted primarily from increased project execution activities for
         several power projects, as well as revenue contributions from the acquired Stork
         business.

Elaborating on the Power segment, it stated:

                Revenue in 2016 increased 81 percent compared to 2015, primarily due to
         increased project execution activities in the power business line for several projects,
         including two nuclear projects and several gas-fired power plants in the southeastern
         United States. . . .

                Segment profit increased significantly in 2016 compared to 2015 primarily
         due to the higher volume of project execution activities for the power projects
         mentioned above, as well as the adverse impact in the prior year of a loss of $60
         million resulting from forecast revisions on a large gas-fired power plant in
         Brunswick County, Virginia.

It credited the Power segment with offsetting earnings declines elsewhere, stating:

                Earnings from continuing operations before taxes for 2015 decreased 40
         percent to $727 million from $1.2 billion in 2014 primarily due to a pre-tax pension
         settlement charge of $240 million (discussed below). The decrease in earnings from
         continuing operations before taxes in 2015 also reflected reduced contributions from
         the power and infrastructure business lines of the Industrial, Infrastructure & Power
         segment.

It added:

                 Consolidated new awards for 2016 were $21.0 billion compared to $21.8
         billion in 2015 and $28.8 billion in 2014. The Energy, Chemicals & Mining;
         Industrial, Infrastructure & Power; and Government segments were the significant
         drivers of new award activity during 2016, including an award for the Tengiz Oil
         Expansion Project in Kazakhstan that was awarded in the third quarter.

It also stated:

                 Consolidated backlog was $45.0 billion as of December 31, 2016, $44.7
         billion as of December 31, 2015, and $42.5 billion as of December 31, 2014. The
         higher backlog at the end of 2016 was due to significant new awards and project
         adjustments in the Energy, Chemicals & Mining and Industrial, Infrastructure &
                                                 - 63 -
Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                   Page 70 of 184 PageID 2474



         Power segments, partially offset by an adjustment for a liquefied natural gas project
         that was suspended in the third quarter.

         151.      Statement No. 47: On May 4, 2017, Fluor released its Q1 2017 Form 10-Q, signed

by Porter and Chopra and SOX-certified by Seaton and Porter. Fluor reported total revenue of

approximately $4.8 billion for Q1 2017, and net earnings of approximately $77 million. The

Company also reported that it had recorded $66 million in claim revenue as of the end of Q1 2017.

It again touted the Power and Government segments:

                Consolidated revenue of $4.8 billion for the three months ended March 31,
         2017 increased compared to $4.4 billion for the three months ended March 31, 2016.
         Revenue growth in the Industrial, Infrastructure & Power; Government; and
         Diversified Services segments were partially offset by revenue declines in the
         Energy, Chemicals & Mining segment. The revenue growth resulted primarily from
         increased project execution activities for several power projects, as well as revenue
         contributions from the Stork acquisition.

Expanding on the Power segment, it stated:

                 Revenue for the three months ended March 31, 2017 increased by 44 percent
         compared to the three months ended March 31, 2016 primarily due to increased
         project execution activities for several power projects, including two nuclear projects
         for Westinghouse and two gas-fired power plants in the southeastern United States,
         as well as increased project execution activities for several life sciences and
         advanced manufacturing projects in the early stages of project execution.

                 Segment profit for the three months ended March 31, 2017 decreased
         significantly compared to the corresponding period in 2016. The decrease in
         segment profit was driven by cost increases and forecast revisions of approximately
         $30 million, primarily for a gas-fired power plant in South Carolina.

It explained the Power and Government segments’ impacts on earnings as follows:

                 Net earnings attributable to Fluor Corporation were $61 million and $104
         million for the three months ended March 31, 2017 and 2016, respectively. The first
         quarter of 2017 reflects lower earnings contributions from the Energy, Chemicals &
         Mining segment . . . . The decrease in earnings was further driven by cost increases
         and forecast revisions on certain Industrial, Infrastructure & Power projects,
         primarily for a gas-fired power plant in South Carolina, as well as lower earnings
         contributions from the Diversified Services segment when compared to the prior
         period. These declines were partially offset by higher earnings contributions from
         the Government segment and lower corporate general and administrative
         expenses . . . .

                                                 - 64 -
Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                   Page 71 of 184 PageID 2475



It added:

                 Consolidated new awards were $2.3 billion for the three months ended March
         31, 2017 compared to new awards of $4.7 billion for the three months ended March
         31, 2016. The Energy, Chemicals & Mining; Industrial, Infrastructure & Power; and
         Government segments were the major contributors to the new award activity in the
         first quarter of 2017 including the A10 Zuidasdok project in Amsterdam and two
         refinery projects in Texas.

Its discussion of backlog failed to address the Power or Government segments, instead stating:

                 Consolidated backlog as of March 31, 2017 was $41.6 billion compared to
         $46.0 billion as of March 31, 2016. The decrease in backlog primarily resulted from
         an adjustment for a liquefied natural gas project in Canada that was suspended in the
         third quarter of 2016 and an adjustment made in the first quarter of 2017 to limit the
         contractual term of the Magnox RSRL Project to a five year term, as well as new
         award activity being outpaced by work performed in the Energy, Chemicals &
         Mining segment.

         152.      Statement No. 48: On August 3, 2017, Fluor released its Q2 2017 Form 10-Q, signed

by Porter and Chopra and SOX-certified by Seaton and Porter. Fluor reported total revenue of

approximately $4.7 billion for Q2 2017, and a net loss of approximately $7 million. The Company

also reported that it had recorded $75 million in claim revenue as of the end of Q2 2017. It stated:

                 Consolidated revenue of $4.7 billion for the three months ended June 30,
         2017 decreased 3 percent compared to $4.9 billion for the three months ended June
         30, 2016. During the three month period, revenue declines in the Energy, Chemicals
         & Mining and Diversified Services segments were partially offset by revenue
         increases in the Government segment. Consolidated revenue of $9.6 billion for the
         six months ended June 30, 2017 increased 3 percent compared to $9.3 billion for the
         six months ended June 30, 2016. During the six month period, revenue growth in the
         Industrial, Infrastructure & Power and Government segments were partially offset by
         revenue declines in the Energy, Chemicals & Mining segment.

Elaborating as to the Power segment, it stated:

                 Revenue for the three and six months ended June 30, 2017 increased by 2
         percent and 21 percent, respectively, compared to the three and six months ended
         June 30, 2016. Revenue growth for both periods, which primarily resulted from
         increased project execution activities for several life sciences and advanced
         manufacturing projects and two nuclear projects for Westinghouse, was adversely
         affected by forecast revisions for three fixed-price, gas-fired power plant projects in
         the southeastern United States.


                                                 - 65 -
Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                   Page 72 of 184 PageID 2476



                 Segment profit and segment profit margin for the three and six months ended
         June 30, 2017 were adversely affected by charges totaling $194 million and $219
         million, respectively, resulting from forecast revisions for estimated cost growth at
         the three fixed-price, gas-fired power plant projects mentioned above.

In discussing earnings, it stated:

                 The net loss attributable to Fluor Corporation was $24 million for the three
         months ended June 30, 2017 compared to net earnings attributable to Fluor
         Corporation of $102 million for the prior year period. Net earnings attributable to
         Fluor Corporation were $37 million for the six months ended June 30, 2017
         compared to $206 million corresponding period of 2016. Earnings for the three and
         six months ended June 30, 2017 were adversely affected by charges totaling $194
         million and $219 million, respectively, resulting from forecast revisions for estimated
         cost growth at three fixed-price, gas-fired power plant projects in the southeastern
         United States.

It continued:

                 Consolidated new awards were $3.2 billion and $5.5 billion for the three and
         six months ended June 30, 2017, respectively, compared to new awards of $6.4
         billion and $11.1 billion for the three and six months ended June 30, 2016. All
         business segments contributed to the new award activity in 2017.

It added:

                 Consolidated backlog as of June 30, 2017 was $37.6 billion compared to
         $47.3 billion as of June 30, 2016. The decrease in backlog primarily resulted from
         an adjustment for a liquefied natural gas project in Canada that was suspended in the
         third quarter of 2016, an adjustment for the July cancellation of a nuclear power plant
         project for Westinghouse in South Carolina (V.C. Summer), and an adjustment made
         in the first quarter of 2017 to limit the contractual term of the Magnox nuclear
         decommissioning project in the United Kingdom (“Magnox RSRL Project”) to a five
         year term, as well as new award activity being outpaced by work performed.

         153.      Statement No. 49: On the earnings call that evening Defendants discussed the $194

million charge related to three of the Gas-Fired Plants, and Seaton repeatedly assured investors that

the Company was improving its internal controls to make further charges “diminished and less

frequent”:

                 In addition to the changes in management of Power group, our strategic
         evaluation of the gas-fired power market, we’re also implementing other changes to
         give us greater confidence that these types of earnings adjustments are diminished
         and less frequent.

                                                 - 66 -
Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                  Page 73 of 184 PageID 2477



                                           *      *       *

                 We have significantly increased the independent review of critical projects.
         We are improving our estimating system. And we’re also making significant
         investments in applying data analytics to projects so that we can identify challenges
         earlier, which would allow us to mitigate problems sooner. We believe all these
         actions will minimize downside risk and allow for greater upside opportunities.

                                           *      *       *

         We have – we do review all these big projects on a routine basis. And we do have
         cold eyes or different lenses that look at them.

                                           *      *       *

         I would argue that the lion’s share of our lump-sum backlog is performing extremely
         well. And that’s about as far as I really want to go with that. But we’re improving
         our tools and systems. We – as I said, we’ve changed the review process to where
         there’s more cold eyes review.

                                           *      *       *

         [W]e’re looking at ourselves in terms of what we need to do. We just – I don’t think
         it’s going to take long. I think that my expectation, and I’ve kind of coined this
         phrase, is flawless personal performance. And what that – it doesn’t mean I’m
         looking for perfection, but what it does mean I’m looking for is accountability and
         execution excellence. And we started that process when we found the problem in the
         CPChem, and we’re continuing to do those reviews and make the changes necessary
         so that we don’t have a repeat of what we’ve had here. And I’m – I can tell you that
         – I guess that we’ve dinged our credibility with you guys and we got to rebuild that.

         154.      Statement No. 50: On November 2, 2017, Fluor released its Q3 2017 Form 10-Q,

signed by Stanski and Chopra and SOX-certified by Seaton and Stanski. Fluor reported total

revenue of approximately $4.9 billion for Q3 2017, and net earnings of approximately $113 million.

The Company also reported that it had recorded $80 million in claim revenue as of the end of Q3

2017. It stated:

         Consolidated revenue of $4.9 billion for the three months ended September 30, 2017
         increased 4 percent compared to $4.8 billion for the three months ended September
         30, 2016. During the three month period, revenue increased in the Energy,
         Chemicals & Mining and Government segments, while revenue from the Industrial,
         Infrastructure & Power and Diversified Services segments was consistent with prior
         year levels. Consolidated revenue of $14.5 billion for the nine months ended
         September 30, 2017 increased 3 percent compared to $14.0 billion for the nine

                                                - 67 -
Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                  Page 74 of 184 PageID 2478



         months ended September 30, 2016. During the nine month period, revenue growth in
         the Industrial, Infrastructure & Power; Government; and Diversified Services
         segments was partially offset by a revenue decline in the Energy, Chemicals &
         Mining segment.

Regarding the Power segment, it elaborated:

                 Revenue for the three months ended September 30, 2017 remained flat when
         compared to the same period in 2016. Revenue growth from increased project
         execution activities for several life sciences and advanced manufacturing projects
         was offset by reduced levels of project execution for certain power and infrastructure
         projects. Revenue for the nine month period ended September 30, 2017 increased by
         13 percent compared to the corresponding period in 2016, primarily due to increased
         project execution activity for several life sciences and advanced manufacturing
         projects.

It added:

                 Segment profit for the three months ended September 30, 2017 remained
         relatively flat compared to the prior year. Segment profit for the nine months ended
         September 30, 2017 was adversely affected by pre-tax charges of $219 million
         resulting from forecast revisions for estimated cost growth at three fixed price, gas
         fired power plants projects, which were recognized in the first half of 2017.

Discussing earnings, it said:

                 Net earnings attributable to Fluor Corporation were $94 million and $131
         million for the three and nine months ended September 30, 2017, respectively,
         compared to earnings attributable to Fluor Corporation of $5 million and $211
         million for the corresponding periods of 2016. Earnings for the nine months ended
         September 30, 2017 were adversely affected by after-tax charges totaling $140
         million resulting from forecast revisions for estimated cost growth at three fixed-
         price, gas-fired power plant projects in the southeastern United States, which were
         recognized in the first half of 2017.

It added:

                 Consolidated new awards were $3.8 billion and $9.3 billion for the three and
         nine months ended September 30, 2017, respectively, compared to new awards of
         $7.0 billion and $18.1 billion for the three and nine months ended September 30,
         2016. All business segments contributed to the new award activity in 2017.

It also stated:

                 Consolidated backlog as of September 30, 2017 was $32.9 billion compared
         to $44.3 billion as of September 30, 2016. The decrease in backlog primarily
         resulted from the removal of two nuclear power plant projects for Westinghouse
         Electric Company LLC (“Westinghouse”) in South Carolina (“V.C. Summer”) and in
                                                 - 68 -
Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                   Page 75 of 184 PageID 2479



         Georgia (“Plant Vogtle”) and an adjustment made in the first quarter of 2017 to limit
         the contractual term of the Magnox nuclear decommissioning project in the United
         Kingdom (“Magnox RSRL Project”) to a five year term, as well as new award
         activity being outpaced by work performed.

         155.      Statement No. 51: On February 20, 2018, Fluor released its Q4 2017 financial

statements and its fiscal year 2017 Form 10-K, signed by Seaton, Stanski, and Chopra and SOX-

certified by Seaton and Stanski. Fluor reported total revenue of approximately $19.5 billion for

fiscal year 2017. The Company also reported that it had recorded $124 million in claim revenue as

of the end of 2017. It stated:

                Consolidated revenue was $19.5 billion, $19.0 billion and $18.1 billion
         during 2017, 2016 and 2015, respectively. During both 2017 and 2016, revenue
         growth in the Industrial, Infrastructure & Power, Government and Diversified
         Services segments was partially offset by revenue declines in the Energy, Chemicals
         & Mining segment.

Regarding the Power segment specifically, it stated:

                Revenue in 2017 increased 7 percent compared to 2016 primarily due to
         increased project execution activity for several life sciences and advanced
         manufacturing projects, partially offset by reduced levels of project execution for two
         nuclear projects. . . .

                 Segment profit in 2017 was adversely affected by pre-tax charges of $260
         million resulting from forecast revisions for estimated cost growth at three fixed-
         price, gas-fired power plant projects.

It added:

                 Earnings from continuing operations before taxes for 2017 decreased 29
         percent to $386 million from $547 million in 2016. Earnings in 2017 were adversely
         affected by pre-tax charges totaling $304 million resulting from forecast revisions for
         estimated cost growth at three fixed-price, gas-fired power plant projects in the
         southeastern United States and a downstream project.

It stated:

                  Consolidated new awards in 2017 were $12.6 billion compared to $21.0
         billion in 2016 and $21.8 billion in 2015. All business segments contributed to the
         new award activity in 2017, including a mining project in Chile, a power restoration
         project in Puerto Rico, a contract extension for the LOGCAP IV program, a
         propylene oxide project in Texas and infrastructure projects in the United States and
         the Netherlands.
                                                 - 69 -
Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                  Page 76 of 184 PageID 2480



It also stated:

                 Consolidated backlog was $30.9 billion as of December 31, 2017, $45.0
         billion as of December 31, 2016, and $44.7 billion as of December 31, 2015. The
         decrease in backlog at the end of 2017 primarily resulted from the removal of two
         nuclear power plant projects for Westinghouse Electric Company LLC
         (“Westinghouse”) and an adjustment to limit the contractual term of the Magnox
         nuclear decommissioning project in the United Kingdom (the “Magnox RSRL
         Project”) to a five year term, as well as new award activity being outpaced by work
         performed.

         156.      Statement No. 52: On the earnings call that evening, Seaton continued to tout the

Company’s purported improvements to its internal controls:

         We made improvements to our systems and processes to improve project delivery
         and have invested in new data-centric execution platform that will use historical,
         standardized data to more accurately analyze and predict project outcomes.

         157.      Statement No. 53: On May 3, 2018, Fluor released its Q1 2018 Form 10-Q, signed

by Stanski and Chopra and SOX-certified by Seaton and Stanski. Fluor reported total revenue of

approximately $4.8 billion for Q1 2018, and a net loss of approximately $12 million. The Company

also reported that it had recorded $134 million in claim revenue as of the end of Q1 2018. It stated

         Consolidated revenue of $4.8 billion for the three months ended March 31, 2018
         remained flat compared to the three months ended March 31, 2017. Revenue growth
         in the Government and Diversified Services segments was offset by revenue declines
         in the Mining, Industrial, Infrastructure & Power and Energy & Chemicals segments.

Regarding the Power segment specifically, it stated:

                Revenue for the three months ended March 31, 2018 decreased by 34 percent
         compared to the three months ended March 31, 2017, primarily due to reduced
         volume of project execution activities for several power projects, including
         cancellation of two nuclear projects, as well as forecast revisions for estimated cost
         growth for a fixed-price, gas-fired power plant project.

It continued:

                [Power] [s]egment profit for the three months ended March 31, 2018
         decreased significantly compared to the corresponding period in 2017. The decrease
         in segment profit was primarily driven by forecast revisions of approximately $125
         million for estimated cost growth for the fixed-price, gas-fired power plant project
         discussed above. The decline in segment profit was also driven by the reduced

                                                 - 70 -
Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                  Page 77 of 184 PageID 2481



         volume of project execution activities in the power business line mentioned above, as
         well as an increase in NuScale expenses, net of qualified reimbursable expenditures.

Regarding earnings, it added:

                 For the three months ended March 31, 2018, the company recognized a net
         loss attributable to Fluor Corporation of $18 million compared to net earnings
         attributable to Fluor Corporation of $61 million for the three months ended March
         31, 2017. During the first quarter of 2018, losses in the Mining, Industrial,
         Infrastructure & Power and lower earnings contributions from the Diversified
         Services segments were partially offset by higher earnings contributions from the
         Government and Energy & Chemicals segments. Earnings in the first quarter of
         2018 and 2017 were adversely affected by after-tax charges totaling approximately
         $96 million and $22 million, respectively, resulting from forecast revisions for
         estimated cost growth on certain fixed-price projects.

It added:

                Consolidated new awards were $2.5 billion for the three months ended March
         31, 2018 compared to new awards of $2.3 billion for the three months ended March
         31, 2017. The Mining, Industrial, Infrastructure & Power and Energy & Chemicals
         segments were the major contributors to the new award activity in the first quarter of
         2018.

It also stated:

                Consolidated backlog as of March 31, 2018 was $29.1 billion compared to
         $41.6 billion as of March 31, 2017. The decrease in backlog primarily resulted from
         the removal of two nuclear power plant projects for Westinghouse Electric Company
         LLC (“Westinghouse”) as well as new award activity being outpaced by work
         performed.

         158.      The Form 10-Q also disclosed a formal change in Fluor’s internal controls for

financial reporting:

                On January 1, 2018, the company adopted ASC Topic 606, “Revenue from
         Contracts with Customers.” In connection with the adoption, we implemented
         certain changes to our processes, systems and controls related to revenue
         recognition. These changes included the development of new policies and practices
         based on the five-step model outlined in ASC Topic 606, new contract review
         requirements and new processes and controls related to the additional disclosure
         requirements.

         159.      Statement No. 54: On the earnings call that evening, Defendants discussed the

charges that the Company had taken on the Gas-Fired Plants and on the fixed-price CPChem Project.

                                                 - 71 -
Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                    Page 78 of 184 PageID 2482



Seaton essentially admitted that the Company’s prior controls were inadequate, while stressing that

Fluor had learned from its prior mistakes:

         Now that project, as well as these other projects, were bid prior to the maturation
         of our integrated solutions approach. And there are fatal flaws in the bidding
         process of all of those projects, and there were execution issues that weren’t
         properly covered. And you didn’t have the coverage ratio as you expect on a
         project that has a kind of risk that those projects had, part of it driven by market in
         terms of the power business. But one of the things we’ve done is we look at
         CPChem and the results, and we broke it down into the issues that led to that loss.

                                             *       *      *

         [W]e’re not going to be the low bidder, but we’re going to have the best solution, in
         some cases. And that should give everyone comfort that we’re actually doing the –
         we’re looking at these differently today than we looked at when we bid those 4
         power plants.

                                             *       *      *

         We have 4 power projects that were bid by the same management team at the same
         time. And we accepted. We, being me and my management team, accepted those
         bids, primarily because we just come off of a project in that market where we had
         bettered the [as sold] margin expectation. Different things happened, we ended up
         with a problem, but it’s a confined problem within a group. And I acknowledge the
         question by Jamie on E&C and specifically, the CPChem project, again bid before
         we exercised this. So I believe when we look at the risk in the backlog, based on
         our reviews and based on our – where we are on finishing projects that are
         questionable without benefit of the integrated solutions, I think we’re in a good
         place . . . . We have invested, over the last 5 years, significantly in our tools and
         systems and in this model, which includes fabrication, construction, our supply chain
         capabilities. When we’re able to deploy those, I think we’re going to be in a very
         good place. And where we’re not, there will be a risk-adjusted approach to that.

         160.      That same day, Fluor disclosed a formal change in its internal controls for financial

reporting in its Form 10-Q for Q1 2018:

                On January 1, 2018, the company adopted ASC Topic 606, “Revenue from
         Contracts with Customers.” In connection with the adoption, we implemented
         certain changes to our processes, systems and controls related to revenue
         recognition. These changes included the development of new policies and practices
         based on the five-step model outlined in ASC Topic 606, new contract review
         requirements and new processes and controls related to the additional disclosure
         requirements.



                                                  - 72 -
Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                   Page 79 of 184 PageID 2483



         161.      Statement No. 55: On August 2, 2018, Fluor released its Q2 2018 Form 10-Q, signed

by Stanski and Chopra and SOX-certified by Seaton and Stanski. Fluor reported total revenue of

approximately $4.9 billion for Q2 2018, and net earnings of approximately $131 million. The

Company also reported that it had recorded $132 million in claim revenue as of the end of Q2 2018.

It stated:

                 Consolidated revenue of $4.9 billion for the three months ended June 30,
         2018 increased 4 percent compared to $4.7 billion for the three months ended June
         30, 2017. Revenue growth in the Mining, Industrial, Infrastructure & Power,
         Government and Diversified Services segments was partially offset by revenue
         declines in the Energy & Chemicals segment. Consolidated revenue of $9.7 billion
         for the six months ended June 30, 2018 increased slightly compared to $9.6 billion
         for the six months ended June 30, 2017. Revenue growth in the Government and
         Diversified Services segments was offset by revenue declines in the Energy &
         Chemicals and Mining, Industrial, Infrastructure & Power segments.

For the Power segment, it elaborated:

                 Revenue for the three months ended June 30, 2018 increased by 13 percent
         compared to the same period in 2017. . . . This revenue growth was partially offset
         by reduced levels of project execution activity for several power projects, including
         two nuclear projects that were cancelled during 2017. Revenue for the six months
         ended June 30, 2018 declined by 12 percent compared to the same period in the prior
         year, largely due to the reduced volume of project execution activity for the power
         projects discussed above.

It added:

                 Segment profit and segment profit margin for the three and six months ended
         June 30, 2018 were adversely affected by charges totaling $16 million and $142
         million, respectively, resulting from forecast revisions for estimated cost growth at a
         fixed-price, gas-fired power plant project. Segment profit and segment profit margin
         for the three and six months ended June 30, 2017 were also adversely affected by
         charges totaling $194 million and $219 million, respectively, resulting from forecast
         revisions for estimated cost growth at three fixed-price, gas-fired power plant
         projects.

Regarding earnings, it stated:

                 Net earnings attributable to Fluor Corporation were $115 million and $97
         million for the three and six months ended June 30, 2018, respectively, compared to
         a net loss attributable to Fluor Corporation of $24 million for the three months ended
         June 30, 2017 and net earnings attributable to Fluor Corporation of $37 million for
         the six months ended June 30, 2017. Earnings for the three and six months ended
                                                  - 73 -
Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                     Page 80 of 184 PageID 2484



         June 30, 2018 were adversely affected by after-tax charges totaling $80 million and
         $176 million, respectively, resulting from forecast revisions for estimated cost
         growth at a fixed-price, gas-fired power plant project and a fixed-price downstream
         project. Earnings for the three and six months ended June 30, 2017 were adversely
         affected by after-tax charges totaling $124 million and $140 million, respectively,
         resulting from forecast revisions for estimated cost growth at three fixed-price, gas-
         fired power plant projects.

It added:

                 Consolidated new awards were $5.4 billion and $7.9 billion for the three and
         six months ended June 30, 2018 compared to new awards of $3.2 billion and $5.5
         billion for the three and six months ended June 30, 2017. The Mining, Industrial,
         Infrastructure & Power and Energy & Chemicals segments were the major
         contributors to the new award activity in the first half of 2018.

It also stated:

                Consolidated backlog as of June 30, 2018 was $29.3 billion compared to
         $37.6 billion as of June 30, 2017. The decrease in backlog primarily resulted from
         the removal of a nuclear power plant project for Westinghouse Electric Company
         LLC (“Westinghouse”) as well as new award activity being outpaced by work
         performed.

         162.      Statement No. 56: On the earnings call that evening, Seaton again claimed that the

Company had turned a corner from its problematic fixed-price projects: “It’s just a shame that this

noise on legacy projects has dampened what could have been some really good quarters over the last

2 years. And we’ve done everything in our power to lessen that risk and give us better insight and

surety in terms of our performance going forward.”

         163.      Statement No 57: On October 10, 2018, Fluor announced its preliminary financial

results for Q3 2018 in a press release and held an earnings call. On the call, Seaton was asked

whether the Company had done any “soul-searching” to determine whether the consistent charges it

had taken on its fixed-price projects were “a function of something structural within the company,”

to which Seaton responded:

                  Well, speaking as a frustrated CEO, I can tell you that having this call and the
         last calls we’ve had, had taken years off my life. We’ve done a lot of soul-searching,
         to your point, but I will point you back to one fact that I think is relevant, and that is
         that this is 2 projects out of 1,000 that are operating at any given time. These
                                                  - 74 -
Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                   Page 81 of 184 PageID 2485



         projects, the Power project specifically, were bid at a time by a bidding team that
         did not follow the rules. Those people are no longer in our company. And so the
         review processes have been changed accordingly. The refining project was bid at
         about the same time, and they’ve made some fundamental flaws in terms of how they
         transition from engineering into the construction phase of the project, again, things
         that we’ve taken to heart and have strengthened the decision-making process. But
         as I mentioned in the previous question, that project governance organization and
         what their responsibilities are to make sure that: a, it’s bid correctly; b, it
         transitions from the different phases of a project. And I see them as an early
         warning system, in addition to what we’ve done with – that we announced with IBM
         and the use of Watson. So we’ve done a lot of things . . . .

         164.      Statement No. 58: On November 1, 2018, Fluor released its Q3 2018 Form 10-Q,

signed by Stanski and Chopra and SOX-certified by Seaton and Stanski. Fluor reported total

revenue of approximately $4.7 billion for Q3 2018, and net earnings of approximately $96 million.

The Company also reported that it had recorded $156 million in claim revenue as of the end of Q3

2018. It stated:

                 Consolidated revenue of $4.7 billion for the three months ended September
         30, 2018 decreased 6 percent compared to $4.9 billion for the three months ended
         September 30, 2017. Revenue declines in the Energy & Chemicals and Diversified
         Services segments were partially offset by revenue growth in the Mining, Industrial,
         Infrastructure & Power and Government segments.

Elaborating as to the Power segment, it stated:

                 Revenue for the three months ended September 30, 2018 increased by 4
         percent compared to the same period in 2017. . . . This revenue growth was
         substantially offset by reduced levels of project execution activity for several power
         projects, including two nuclear projects that were cancelled during 2017. Revenue
         for the nine months ended September 30, 2018 declined by 7 percent compared to the
         same period in the prior year due to the reduced volume of project execution activity
         for the power projects discussed above, largely offset by increased levels of project
         execution activity in the mining & metals, infrastructure and life sciences & advance
         manufacturing business lines.

It continued:

         [Power] segment profit for the three and nine months ended September 30, 2018 was
         adversely affected by charges totaling $35 million and $177 million, respectively,
         resulting from forecast revisions for estimated cost growth at a fixed-price, gas-fired
         power plant project.

Regarding earnings, it stated:
                                                 - 75 -
Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                  Page 82 of 184 PageID 2486



                 Net earnings attributable to Fluor Corporation were $77 million and $175
         million for the three and nine months ended September 30, 2018, respectively,
         compared to net earnings attributable to Fluor Corporation of $94 million and $131
         million for the three and nine months ended September 30, 2017. . . . [E]arnings for
         the three and nine months ended September 30, 2018 were adversely affected by
         after-tax charges totaling $70 million and $244 million, respectively, resulting from
         forecast revisions for estimated cost and schedule impacts at a fixed-price, gas-fired
         power plant project and a fixed-price downstream project.

It continued:

                Consolidated new awards were $9.6 billion and $17.6 billion for the three and
         nine months ended September 30, 2018, respectively, compared to new awards of
         $3.8 billion and $9.3 billion for the three and nine months ended September 30,
         2017. The Mining, Industrial, Infrastructure & Power and Government segments
         were the major contributors to the new award activity in the first nine months of
         2018.

It added: “Consolidated backlog as of September 30, 2018 was $34.9 billion compared to $32.9

billion as of September 30, 2017.”

         165.      Statement No. 59: On February 21, 2019, Fluor released its Q4 2018 financial

statements and its fiscal year 2018 Form 10-K, signed by Seaton, Stanski, and Chopra and SOX-

certified by Seaton and Stanski. Fluor reported total revenue of approximately $19.2 billion for

fiscal year 2018. The Company also reported that it had recorded $166 million in claim revenue as

of the end of 2018. It stated:

                Consolidated revenue was $19.2 billion, $19.5 billion and $19.0 billion
         during 2018, 2017 and 2016, respectively. During 2018, a revenue decline in the
         Energy & Chemicals segment was partially offset by revenue growth in the
         Government segment. Revenue in the Mining, Industrial, Infrastructure & Power
         and Diversified Services segments remained flat compared to 2017.

Elaborating on the Power segment, it stated:

                 Revenue in 2018 remained flat compared to 2017. Revenue growth from
         increased project execution activity for certain existing and recently awarded mining
         & metals and infrastructure projects was offset by reduced levels of project execution
         activity for several power projects, including two nuclear projects that were canceled
         during 2017.

It added:

                                                 - 76 -
Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                 Page 83 of 184 PageID 2487



                 [Power] [s]egment profit in 2018 was adversely affected by charges totaling
         $188 million resulting from forecast revisions for estimated cost growth at a fixed-
         price, gas-fired power plant project.

Discussing the Government segment, it added:

                Total assets in the Government segment were $823 million as of December
         31, 2018 compared to $732 million as of December 31, 2017. The increase in total
         assets primarily resulted from increased working capital in support of project
         execution activities for several projects including the LOGCAP IV program in
         Afghanistan and the Radford Munition Facility.

Discussing earnings, it stated:

                 Earnings before taxes for 2018 increased 25 percent to $482 million from
         $386 million in 2017. Earnings in 2018 were adversely affected by pre-tax charges
         totaling $361 million resulting from forecast revisions for estimated cost and
         schedule impacts on a fixed-price, gas-fired power plant project, a fixed-price
         downstream project and a fixed-price, offshore project.

It stated:

                 Consolidated new awards in 2018 were $27.7 billion compared to $12.6
         billion in 2017 and $21.0 billion in 2016. The Energy & Chemicals and Mining,
         Industrial, Infrastructure & Power segments were the significant drivers of new
         award activity during 2018 . . . .

It added:

                 Consolidated backlog was $40.0 billion as of December 31, 2018, $30.9
         billion as of December 31, 2017, and $45.0 billion as of December 31, 2016. The
         increase in backlog in 2018 primarily resulted from the new award activity discussed
         above.

         166.      Statement No. 60: On the earnings call that evening, Seaton emphasized that the

changes in the Company’s internal governance processes would “limit the issues that [the Company]

experienced over the last few years”:

         I feel really good about the investments that we’ve made in terms of tools and
         systems, and the discipline and governance around how we bid projects, how we start
         projects, how we go through the various phases and what those requirements are
         going to be.

                                           *      *      *



                                                - 77 -
Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                    Page 84 of 184 PageID 2488



         I’m really confident that the changes that we’ve made over the last few years in
         terms of governance and tools and systems is going to provide a more sure outcome
         for Fluor and limit, I can’t say eliminate, but limit the issues that we’ve
         experienced over the last few years.

         167.      Statement No. 61: In the 2018 Annual Report Shareholder Letter dated March 4,

2019, Seaton again touted the changes in internal controls and governance processes, and the effect

they would have on the Company’s financial reporting for fixed-price contracts:

                 We continue to refine and improve our approach to executing fixed-price
         projects. In 2018 we introduced an advanced governance process which employs
         technology that can vastly improve predictability on complex projects. We are
         using predictive data analytics supported by IBM Watson to assist in every stage,
         from bidding to real-time tracking throughout the project, by learning from over 100
         completed Fluor projects and what their success teaches us. We believe the creation
         of these tools and processes will help us identify risks sooner and provide a path
         toward preserving project profitability.

         168.      Statement No. 62: On May 2, 2019, Fluor released its Q1 2019 Form 10-Q, signed

by Stanski and Chopra and SOX-certified by Hernandez and Stanski. Fluor reported total revenue of

approximately $4.2 billion for Q1 2019, and a net loss of approximately $43 million. The Company

also reported that it had recorded $175 million in claim revenue as of the end of Q1 2019. It stated:

                 Consolidated revenue of $4.2 billion for the three months ended March 31,
         2019 decreased 13 percent compared to $4.8 billion for the three months ended
         March 31, 2018. Revenue declines in the Energy & Chemicals, Government and
         Diversified Services segments were partially offset by revenue growth in the Mining,
         Industrial, Infrastructure & Power segment.

It elaborated concerning the Power segment, stating:

                 Revenue for the three months ended March 31, 2019 increased by 52 percent
         compared to the three months ended March 31, 2018, primarily due to increased
         project execution activity for recently awarded mining & metals projects and an
         existing infrastructure project. The increase in revenue was partially offset by
         reduced levels of project execution activity for certain power and life sciences &
         advanced manufacturing projects nearing completion.

                 Segment profit during the three months ended March 31, 2019 and 2018 was
         adversely affected by charges totaling $26 million and $125 million, respectively,
         resulting from forecast revisions for estimated cost growth at certain fixed-price, gas-
         fired power plant projects.

                                                  - 78 -
Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                  Page 85 of 184 PageID 2489



                                           *       *       *

                 The company is currently in a dispute with a customer over costs totaling
         approximately $110 million that were allegedly incurred by the customer in
         connection with one of the gas-fired power plant projects discussed above. The
         customer has withheld payment of certain invoices outstanding as of March 31, 2019
         and drew down in January 2019 on a letter of credit issued on behalf of the company.
         The company believes that certain of the customer’s claims are without merit and is
         vigorously pursuing recovery of the amounts from the customer. Based upon its
         evaluation as of March 31, 2019, the company does not believe it is probable that a
         loss will be incurred in excess of amounts reserved for this matter.

Regarding Fluor’s net loss, it stated:

                 The company recognized net losses attributable to Fluor Corporation of $58
         million and $18 million during the three months ended March 31, 2019 and 2018,
         respectively. Earnings in 2019 were adversely affected by after-tax charges totaling
         $91 million resulting from forecast revisions for certain projects in the Energy &
         Chemicals and Mining, Industrial, Infrastructure & Power segments and after-tax
         restructuring charges totaling $21 million.

It continued:

                Consolidated new awards were $3.4 billion for the three months ended March
         31, 2019 compared to new awards of $2.5 billion for the three months ended March
         31, 2018. The Mining, Industrial, Infrastructure & Power and Energy & Chemicals
         segments were the major contributors to the new award activity in the first quarter of
         2019.

It added:

                 Consolidated backlog as of March 31, 2019 was $39.3 billion compared to
         $29.1 billion as of March 31, 2018. The increase in backlog primarily resulted from
         new awards booked in the latter part of 2018 in the Energy & Chemicals and Mining,
         Industrial, Infrastructure & Power segments.

It separated from backlog the Company’s remaining unsatisfied performance obligations, or RUPO,

and stated:

                The company’s remaining unsatisfied performance obligations (“RUPO”) as
         of March 31, 2019 represent a measure of the total dollar value of work to be
         performed on contracts awarded and in progress. The company had $37 billion in
         RUPO as of March 31, 2019.

         169.      That same day, Fluor disclosed that Seaton was stepping down as CEO, to be

replaced by interim CEO Hernandez.
                                                 - 79 -
Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                    Page 86 of 184 PageID 2490



          170.     Statement No. 63: On the earnings call that evening, Hernandez was asked by several

analysts whether or not the Company had “scrub[bed]” its fixed-price backlog to de-risk future

losses:

                  [Analyst:] Good to talk to you, and welcome, Carlos. I guess my first
          question, understanding this is all relatively new, but have we had the opportunity –
          obviously we had more charges in the quarter. Have we had the opportunity to scrub
          the entire backlog? Or is this something that’s on the come?

                                            *       *       *

                  [Hernandez:] Jamie, let me answer the other part of your question about
          whether we’ve done a full scrub of all of our projects. And let me just say that our
          focus, our renewed and enhanced focus, is going to be on operations. We’re going
          to have our fingers on the projects. We’re going to have our thumb on the pulse of
          every project, and that will be a company-wide area of focus.

                                            *       *       *

          [Analyst:] Carlos, can I follow up on Jamie’s question around the projects
          themselves? When do you think we can put the power projects actually behind us? I
          know we’re in punch list there, so it should be relatively soon. How far along is the
          offshore project? And are there any other projects at this point that have sort of a
          yellow flag around them?

                                            *       *       *

                 [Hernandez:] . . . I believe you had one other question. What was that? Oh,
          do we have any other projects? We don’t have any other projects. We look at
          projects, as you know, every quarter. We do a scrub every quarter where we are on
          each project, and we report those where we have an issue or not.

          171.     When further asked about whether the “issues on the problem projects” were “more

related to pricing the bid or more on the execution side,” Hernandez admitted that the Gas-Fired

Plants had suffered from overly aggressive bidding:

          If you look back at some of the power – gas-fired power projects, that was a little bit
          different. That was a very competitive market. We probably were more aggressive
          than we should have been in bidding those projects.

                  And so everything had to go absolutely right, and in some couple of those
          projects, they did not.



                                                  - 80 -
Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                    Page 87 of 184 PageID 2491



         172.      Statement Nos. 37-63 regarding Fluor’s internal controls and procedures, disclosure

controls and procedures, revenue recognition policies, and reported revenue were materially false

and misleading or omitted material information necessary to make them not misleading for the

following reasons that were unbeknownst to investors:

                   (a)       The failure of Fluor’s project governance processes and controls rendered

Defendants’ statements about internal controls and procedures, disclosure controls and procedures,

and revenue recognition policies materially misleading. The Company did not have adequate project

governance processes and controls to review project status and execution. In connection with the

massive Q2 2019 charges, the Company announced a new Risk Committee in recognition of the

need to “improve [the] visibility into” into its project review and execution oversight. ¶324, infra.

As Hernandez admitted, there were “significant and common issues in many of [the Company’s]

challenged projects.” Id. Hernandez also admitted that the Company “must take a more disciplined

approach to risk assessment on [its] projects” and announced “changes to how we approach

engineering and project management to ensure our projects are staying in sequence with work not

commencing until the appropriate reviews are complete.” Id.

                   (b)       Although Defendants stated throughout the Class Period that they conduced

detailed project reviews and oversight each month and each quarter – pursuant to the PSRs and the

Company’s internal controls – Hernandez admitted in Q2 2019 there were myriad unresolved issues

on fixed-priced projects and that “the company met with a number of our clients, subcontractors and

suppliers, in an attempt to resolve a number of matters. These include ongoing disputes, pending

change orders, schedule extensions, closeout items, unpaid receivables and our position on

outstanding claims.” Id. For example, the Company announced charges related to “liquidated

damages” and “subcontractor negotiations” on the Penguins Offshore Project and “subcontractor

negotiations on two fixed-price downstream projects.” The Company also announced charges

                                                   - 81 -
Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                     Page 88 of 184 PageID 2492



related to settlements “associated with client disputes . . . on three fixed-price, gas-fired power plant

projects.” The Company stated in the Q2 2019 press release that “[t]hese charges reflect our efforts

over the past few months to meet with clients, subcontractors, suppliers and our project teams to

evaluate and address the status of our current projects,” establishing that such efforts, meetings, and

analyses were not previously conducted, in contrast to Defendants’ statements touting their internal

controls, disclosure controls, and project governance. The fact that numerous unresolved matters

cited by Hernandez, which in total allowed more than $700 million in contract costs to go

unrecorded, had accumulated over several years across 16 separate fixed-price projects confirms that

Fluor’s project governance processes (e.g., its so-called “PSR”) were either non-existent or grossly

ineffective.

                   (c)       As detailed in §IV., supra, the Company’s project governance processes were

among the most “critical” components of Fluor’s ability to (a) recognize revenue on fixed-price

projects and (b) certify that Fluor’s internal controls and disclosure controls were effective. Thus,

that these project governance processes were either non-existent or grossly ineffective renders

statements about Fluor’s internal controls and procedures, disclosure controls and procedures, and

revenue recognition policies materially misleading. Moreover, the Company announced on February

18, 2020 that the SEC “is conducting an investigation of the Company’s past accounting and

financial reporting” and Defendants are “conducting our own internal review” of “prior period of

reporting and related control environment.” ¶330, infra.

                   (d)       Pervasive red flags rendered Defendants’ internal controls, disclosure

controls, risk management, and revenue recognition policy statements misleading. As detailed in

§IV., supra, in order to recognize any revenue on fixed-price projects in compliance with GAAP

accounting rules, the Company was required to maintain project governance processes and controls

sufficient to identify and capture all evidence of contract costs on each of Fluor’s fixed-price

                                                    - 82 -
Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                   Page 89 of 184 PageID 2493



contracts. Specifically, in order to use the percentage-of-completion accounting method to record

revenue, ASC No. 605 requires that “contract costs shall be identified, estimated, and accumulated

with a reasonable degree of accuracy.” ASC 605 also states: “An entity without the ability to update

and revise estimates continually with a degree of confidence could not meet that essential

requirement of GAAP.” ASC 605-35-25-45. Likewise, under SOX rules, the Company was

required to test the design and operation of internal controls around its critical accounting polies,

which included the Company’s project governance processes and controls. Under these GAAP and

SOX rules, the numerous red flags detailed herein were exactly the type of evidence Defendants

were required to identify as part the Company’s project governance processes and controls. See

§VIII.C., infra. First, and as confirmed by Hernandez on the Q2 2019 earnings call, there were

pervasive and obvious project execution issues, such as large subcontractor failures and major

disputes with customers that resulted in lawsuits, including a $110 million lawsuit against Duke. See

¶199(a), infra. Second, project execution issues on comparable projects that similarly affected all

fixed-price contracts were known to but not accounted for by Defendants, rendering their internal

controls and risk management statements misleading. See ¶199(b), infra. Third, Defendants were

aware that artificially low fixed-price bids meant those projects were at an increased risk of suffering

losses, rendering Defendants’ certifications regarding controls and risk management misleading. See

¶199(c), infra. Fourth, significant open and unapproved change orders on troubled fixed-price

projects, where defendants had no assurance that payment on those change orders was probable,

rendered Defendants’ revenue and internal controls statements misleading. See ¶199(d), infra.

Fifth, ongoing customer disputes and schedule extensions, and resulting costs, rendered Defendants’

internal controls, risk management, and revenue statements misleading. See ¶199(e), infra. The fact

that Defendants were aware of or recklessly disregarded this scope and magnitude of serious red

flags over a period of several years and across 16 separate fixed-price projects confirms that Fluor’s

                                                 - 83 -
Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                     Page 90 of 184 PageID 2494



project governance processes were either non-existent or grossly ineffective, thereby rendering

statements about Fluor’s internal controls and disclosure controls, and compliance with GAAP

revenue recognition rules, materially misleading.

                   (e)       The failure of Fluor’s project governance processes and controls, including

Defendants’ disregard for pervasive red flags, rendered Defendants’ statements about reported

revenue materially false and misleading. First, Fluor failed to meet the prerequisite for revenue

recognition under GAAP. As described in §IV., supra, Defendants could not recognize any revenue

on contracts for which a reliable estimate of costs could not be calculated. See ASC 605-35-25-45

(“An entity without the ability to update and revise estimates continually with a degree of confidence

could not meet that essential requirement of GAAP.”). Second, if Defendants could establish the

perquisite to recognize revenue, Fluor was required to immediately recognize losses for any

contracts in a loss position. Specifically, GAAP revenue recognition rules state: “For a contract on

which a loss is anticipated, GAAP requires recognition of the entire anticipated loss as soon as the

loss becomes evident. . . . When the current estimates of total contract revenue and contract cost

indicate a loss, a provision for the entire loss on the contract shall be made.” ASC 605-35-25-45;

ASC 605-35-25-46. Third, Fluor recognized revenue on unapproved change orders and open claims

in violation of GAAP. Under GAAP, Fluor can only recognize “claim revenue” from unapproved

change orders if it is “probable” the customer will agree to pay the change order. See §IV.A., supra.

During the Class Period, Fluor recognized millions of dollars in claim revenue despite that the

customers had not approved the claim in question and without a basis to conclude that it was

probable the customers would do so. In Q2 2019, Defendants were forced to take charges related to

“certain unapproved change orders” they had previously reported as revenue, demonstrating that the

previously recognized claim revenue was unearned and should not have been reported. As a result

of Defendants’ violation of GAAP revenue recognition rules, Fluor’s statements about reported

                                                    - 84 -
Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                   Page 91 of 184 PageID 2495



revenues were materially misleading. To that end, the SEC “is conducting an investigation of the

Company’s past accounting and financial reporting” and Defendants are “conducting our own

internal review” of “prior period reporting and related control environment.” ¶330, infra.

                   (f)       The foregoing Statement Nos. 41-44, 46-48, 50-51, 53, 55, 58-59, and 62

were also materially false and misleading because they reported Fluor’s financial results and metrics,

both on a consolidated and a segment-by-segment basis, including without limitation revenues, net

earnings or losses, new awards, and backlog, as well as positive or insufficiently negative reports of

Fluor’s underlying business segments and specific projects, without disclosing that they were

generated through improper underbidding of large, fixed-price contracts, during the execution phase

of which cost overruns were occurring, unreported charges were necessary and accruing, Fluor’s

financial reporting was being done in a non-compliant manner, and Fluor faced material undisclosed

risks. It was materially false and misleading to reference such positive results and metrics or to

discuss potentially significant concerns like the sufficiency of Fluor’s contract bidding process, the

integrity of Fluor’s internal controls, and the ability to profitably execute its fixed-price contracts

while omitting disclosure of the underlying bidding, controls, and execution problems set forth

herein, which both inflated the positive metrics and surpassed in severity the disclosed risks. It was

especially misleading to report Fluor’s backlog or to detail its progress on the projects at issue in

light of the undisclosed facts set forth herein. As such, these misstatements and omissions violated,

inter alia, Regulation S-K, Item 303, 17 C.F.R. §229.303(a)(3)(i)-(ii) and (b)(2).

         D.        Defendants Omitted Material Information Regarding Unresolved
                   Change Orders, Claims, and Client, Subcontractor, and Supplier
                   Disputes

         173.      Statement No. 64: In connection with the filing of each Form 10-K and Form 10-Q

issued during the Class Period, Seaton, Porter, Stanski, Smalley, and Chopra made affirmative

statements about the Company’s purported review, analysis, and accounting for change orders,

                                                   - 85 -
Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                Page 92 of 184 PageID 2496



claims, and disputes between Fluor and its clients, subcontractors, and suppliers. These statements

created a duty to disclose the existence of significant open claims, unapproved change orders, and

unresolved disputes between Fluor and its clients, subcontractors, and suppliers on numerous fixed-

price projects:

         The percentage-of-completion method of revenue recognition requires the company
         to prepare estimates of cost to complete for contracts in progress. In making such
         estimates, judgments are required to evaluate contingencies such as potential
         variances in schedule and the cost of materials, labor cost and productivity, the
         impact of change orders, liability claims, contract disputes and achievement of
         contractual performance standards. Changes in total estimated contract cost and
         losses, if any, are recognized in the period they are determined. 8

         174.      Statement No. 64, repeated in each Form 10-K, omitted material information

necessary to render it not misleading for the following reasons that were unbeknownst to investors:

         Defendants omitted material information concerning significant unresolved matters,

including open claims, unapproved change orders, and unresolved disputes between Fluor and its

clients, subcontractors, and suppliers that existed on numerous fixed-price projects at the time

Statement No. 64 was made. In August 2019, Hernandez admitted that significant unresolved

matters, claims, change orders, and disputes had accumulated over several years across 16 separate

fixed-price projects, allowing Defendants to conceal more than $700 million in unrecorded contract

costs from investors. In Q2 2019, Hernandez announced that Fluor was forced to record charges

stemming from the “resolution of a variety of matters, including outstanding disputes and claims,

pending change orders, schedule extensions, accounts receivable and other project close out items.”

Hernandez emphasized that these unresolved matters were “significant and common issues in many

of [the Company’s] challenged projects.” The Company cited charges tied to specific unresolved

matters, including “liquidated damages” and “subcontractor negotiations” on the Penguins Offshore


8
   This statement was repeated in every Form 10-K issued during the Class Period in identical or
substantially similar form.

                                               - 86 -
Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                   Page 93 of 184 PageID 2497



Project and “client and subcontractor negotiations on two fixed-price downstream projects.” The

Company also announced charges related to settlements “associated with client disputes . . . on three

fixed-price, gas-fired power plant projects,” additional charges tied to “certain unapproved change

orders related to a fixed-priced, U.S. government project,” and additional charges “related to

negotiations with clients and joint venture partners.” The significant unresolved matters, claims,

change orders, and disputes between Fluor and its clients, subcontractors, and suppliers that were

disclosed in August 2019 (a) existed across numerous fixed-price projects at the time Statement No.

64 was made; (b) represented material information to investors; and (c) were concealed by

Defendants. As such, Statement No. 64 was materially misleading by omission.

VIII. DEFENDANTS ACTED WITH SCIENTER

         A.        The Individual Defendants Personally Reviewed and Approved the
                   Faulty Bids at Issue, Monitored Construction Progress, and Misstated
                   These Projects Publicly

         175.      During the May 3, 2018 earnings call, Seaton admitted the personal role that he and

his management team played in reviewing and authorizing the bids for the Gas-Fired Plants at issue:

         We have 4 power projects that were bid by the same management team at the same
         time. And we accepted. We, being me and my management team, accepted those
         bids, primarily because we just come off of a project in that market where we had
         bettered the [as sold] margin expectation.

         176.      The accounts of several confidential witnesses confirm Seaton’s acknowledgement

that Seaton himself and senior management at Fluor were intimately involved in the bidding process.

CW-1 stated that all hard-number bids were reviewed and approved through the Executive Review

Board process and the BRMF that included Seaton, the President of the Power segment, and other

senior management. Similarly, CW-3 stated that CW-3 believed project estimates were approved by

senior management. CW-4 stated that bids for gas-fired plants went all the way up to Seaton for

approval, and included the Executive Team, the Power segment President, the Chief Risk

Assessment Officer, and the CFO (Porter and Stanski during the Class Period). CW-7 identified
                                           - 87 -
Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                    Page 94 of 184 PageID 2498



Seaton as a member of a review team that reviewed the “estimating packet” for large and high-

profile projects prior to bid approval. CW-6 similarly stated that Stanski conducted a comprehensive

review of all bids over $50-$75 million in the Government group.

         177.      Furthermore, Defendants spoke about Fluor’s purportedly conservative bidding

process on nearly every single earnings call throughout the Class Period, demonstrating that the topic

was high on Defendants’ radar and a key concern for analysts and that Defendants knew or were

reckless in not knowing that Fluor’s bids were not conservative when they repeatedly stated, often in

response to direct questions from analysts, that Fluor’s bids were conservative.

         178.      Defendants were also aware that they had a history of underbidding gas-fired power

plants. Defendants later admitted that of the 12 gas-fired projects the Company undertook since

2003, “10 of the 12 have underperformed our as-sold expectations, with 3 suffering losses.” ¶316,

infra. That means that prior to the four Gas-Fired Plants at issue, six of eight fixed-price gas-fired

power projects awarded to Fluor since 2003 – or 75% – had underperformed Fluor’s bid

assumptions. Defendants knew before and during the Class Period that their bids were not

conservative.

         179.      By the time that Fluor started work on the Brunswick County Plant, it was apparent to

Defendants that their bid for the project was overly aggressive. Indeed, the Brunswick County Plant

bid was accepted more than a year before the start of the Class Period. In that intervening period,

Fluor had completed detailed “engineering and procurement services on the plant from its Charlotte,

North Carolina office” (¶114, supra), which would have revealed that its “baseline assumptions”

underlying its bid were not achievable. As CW-5 described, there was not a desire to devote

substantial time and resources to estimating and bidding before winning the contract, since those

resources would be wasted if Fluor did not win the contract. In fact, Fluor compressed the critical

design phase to six months, whereas that phase typically takes one to one-and-a-half years. Thus,

                                                  - 88 -
Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                   Page 95 of 184 PageID 2499



much of the work necessary to calculate a reasonable bid was performed only after Fluor was

awarded an EPC contract, at which time Fluor determined that its original bid was insufficient.

         180.      By the time that Fluor started work on the remaining Gas-Fired Plants, it was

apparent to Defendants that the same problems that caused the Company to take charges on the

Brunswick County Plant would affect the other Gas-Fired Plants. Fluor used the same or

substantially similar Mitsubishi turbines on the other Gas-Fired Plants, §V., supra, all of which were

“next generation” turbines with which Fluor had never worked, and therefore the problems arising at

the Brunswick County Plant equally affected and illustrated identical risks at the other Gas-Fired

Plants. For example, CW-5 described a pressure valve problem affecting the Citrus County Plant

turbines that had also affected the Brunswick County Plant turbines. As Seaton admitted in August

2017:

         All 3 projects, 4 if you include the Brunswick project that incurred a charge in 2015,
         had a fundamental problem. The projects did not meet the original baseline
         assumptions due to improper estimating, craft productivity and equipment issues.
         All of these projects were bid in 2014 by the same pursuit team. In addition, all 4
         projects were based on next-gen turbines or steam generators that were first of a kind
         for Fluor. The quality control and completeness of these turbines delivered to the
         site were not in line with our bid assumptions and we are pursuing our options.

         181.      Defendants were also made aware of project execution issues as each Gas-Fired Plant

progressed. CW-8 noted that issues arose during the construction phase and projects were already

seriously in the red by midway through construction. Seaton similarly admitted in August 2017,

issues would generally “raise their heads” and become apparent when a project reached “about 40%

– 30% to 40% construction progress.”

         182.      Seaton also personally visited the Gas-Fired Plants. For example, Fluor tweeted a

picture of Seaton on site at the Citrus County Plant in January 2018. By May 2018, Seaton had

conducted a close “personal review” of the Citrus County Plant and stated he would visit the site on



                                                  - 89 -
Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                    Page 96 of 184 PageID 2500



a routine basis: “[W]hen things go bad, the boss has got to be there, and I get that. And I have been

and will be as we finish this project.”

         183.      CW-8 noted that the CEO, Seaton, and the CFOs during his employment (Porter and

Stanski) closely monitored employees’ weekly timesheets and charges and other project performance

data on at least a monthly basis showing ongoing budgeting issues at the fixed-price projects.

         184.      Defendants therefore had direct knowledge of, and access to, the low-quality bids and

execution issues at the time they issued the misleading statements alleged herein.

         B.        Fluor’s Judicial Admissions Concerning Problems in the Brunswick
                   and Citrus County Plants Establish the Knowing Falsity of Their
                   Prior Misstatements

                   1.        The Mitsubishi Lawsuit

         185.      According to a lawsuit filed by Fluor against Mitsubishi, Fluor Enterprises, Inc. v.

Mitsubishi Hitachi Power Systems Americas, Inc., No. 3:17-cv-00622-MHL (E.D. Va.) (the

“Mitsubishi Lawsuit”), Defendants were aware of major project delays and cost-overruns in the

Brunswick County Plant by early 2014.

         186.      Upon execution of the EPC contract between Fluor and Dominion for the Brunswick

County Plant, Dominion partially assigned its Turbine Supply Agreement (“TSA”) with Mitsubishi

to Fluor. Under the terms of the TSA, “Mitsubishi supplied the three combustion turbine generators,

one steam turbine generator (the ‘Turbines’) and all equipment and materials related to and

necessary for the installation of the Turbines (the “Minor Components”) that Fluor was to install on

the Project.” Mitsubishi Lawsuit, ECF No. 56 at 2. According to Fluor, “Mitsubishi was chronically

late in delivering these Minor Components” throughout the course of the project. Id.

         187.      By January 2014, Mitsubishi had already missed the delivery schedule for two Minor

Components of the Brunswick County Plant. Mitsubishi Lawsuit, ECF No. 1, ¶25.



                                                  - 90 -
Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                   Page 97 of 184 PageID 2501



         188.      By April 2014, “Mitsubishi had already begun failing to meet the Minor Component

delivery schedule it had accepted in the TSA,” and Fluor warned Mitsubishi by letter that a claim for

liquidated damages would begin accruing from January 11, 2014. Id., ¶¶23, 25. In addition to the

late deliveries, Fluor claimed that “the deliveries evidenced a complete lack of quality control . . .

thereby requiring Fluor to expend substantial time and effort locating the components required for

the current construction activities then underway.” Id., ¶24.

         189.      Fluor claimed that the “late and mis-labeled deliveries continued and worsened,

which delayed Fluor’s progress under the EPC contract and exposed it to the liquidated delay

damages provided therein.” Id., ¶26. In order to avoid the imposition of liquidated damages from

Dominion, “Fluor was forced to accelerate the construction process at great additional cost” and to

“create a special team to . . . identify[] late deliveries and implement[], at great additional cost,

corrective action or ‘work arounds’ to eliminate or mitigate their adverse impact” on the Brunswick

County Plant project. Id., ¶¶27-28. Fluor claimed that it was forced to continue these “extraordinary

measures” for the duration of the project, but that “its efforts did not succeed entirely.” Id., ¶29.

Fluor stated that the deficient turbine component deliveries “had a material impact on the progress of

Fluor’s engineering, erection, or installation under the Project Schedule.” Id., ¶30.

         190.      On March 18, 2016, Fluor sent a letter to Mitsubishi demanding $207,750,000 in

liquidated damages. See Mitsubishi Lawsuit, ECF No. 17 at 6-7.

         191.      The Mitsubishi lawsuit was dismissed by voluntary stipulation on June 24, 2019, on

the eve of trial. Mitsubishi Lawsuit, ECF Nos. 85-86.

                   2.        The Duke Lawsuit

         192.      According to a lawsuit filed by Fluor against Duke, Fluor Enterprises, Inc. v. Duke

Energy Florida, LLC, No. 8:19-cv-00224-WFJ-AAS (M.D. Fla.) (the “Duke Lawsuit”), ECF No. 17



                                                  - 91 -
Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                      Page 98 of 184 PageID 2502



at 9, Defendants were aware of major project delays and cost-overruns in the Citrus County Plant

project prior to November 2017.

         193.      The October 15, 2014 EPC contract between Fluor and Duke for the Citrus County

Plant contained multiple performance guarantees, such as dates for Guaranteed Mechanical

Completion and Guaranteed Substantial Completion, backed by liquidated damages provisions.

Pursuant to the terms of the EPC contract, Fluor provided Duke with a $67 million letter of credit

that Duke would be entitled to draw down in the event that Fluor “failed to fulfill certain of its

obligations under the Agreement.” Duke Lawsuit, ECF No. 1, ¶27.

         194.      There were numerous delays and cost overruns in the course of the Citrus County

Plant construction execution. For example:

                   (a)       The original Baseline Schedule for the project called for a Guaranteed

Mechanical Completion Date of December 1, 2017 for Power Block 1. However, prior to November

2017, it was apparent that the “[t]he Project was delayed” and, as a result, Fluor was forced to sign a

change order that pushed back the Guaranteed Mechanical Completion deadline by three months.

Duke Lawsuit, ECF No. 17 at 9. On November 14, 2017, Fluor and Duke entered into Change Order

No. 51 to extend the Guaranteed Substantial Completion and Guaranteed Mechanical Completion

dates for Power Blocks 1 and 2. Id.

                   (b)       “Change Order 051 did not have the desired effect” and “the Project continued

to lag.” Id. As a result, Fluor and Duke entered into Change Order No. 59 on April 6, 2018, which

again extended the Guaranteed Substantial Completion and Guaranteed Mechanical Completion

dates for Power Blocks 1 and 2. Id.

                   (c)       As explained by Duke, construction of the Citrus County Plant “ha[d] not

gone well” and, by late spring 2018, “Fluor was facing well over $100 million in liquidated

damages, with that number growing daily.” Id. at 1, 9.

                                                     - 92 -
Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                      Page 99 of 184 PageID 2503



                   (d)       The delays continued, and Fluor “failed . . . to achieve the Guaranteed

Mechanical Completion Dates set forth in Change Order No. 59 and was late by approximately 6

months for each power Block.” Duke Lawsuit, ECF No. 1, ¶37.

                   (e)       Fluor has admitted that the Citrus County Plant resulted in “twice the amount

of labor to complete the items as compared to our forecast.” ¶319, infra. According to Duke,

“Fluor’s productivity reports confirm these assessments.” Duke Lawsuit, ECF No. 17-5 at 3.

                   (f)       According to Duke, there were numerous “well-documented delays on the

project.” Id.

                   (g)       The delays necessitated costly workarounds. “Significant work was, by

necessity, being performed on both power blocks simultaneously, which was not planned and would

never have occurred had schedules been met” and “the agreed milestone dates . . . been achieved.”

Id. “Such stacking in many instances required . . . more manpower, more materials and equipment

(because they were being utilized simultaneously rather than sequentially).” Id.

         195.      On July 9, 2018, Fluor and Duke entered into Change Order No. 73 in which “Fluor

requested relief” from the outstanding liquidated damages that had accrued. Duke Lawsuit, ECF No.

17 at 9. Change Order No. 73 provided that so long as both Power Blocks went into service prior to

December 31, 2018, Duke would agree to waive all otherwise claimable liquidated damages incurred

under the EPC contract. Id. at 9-10. Fluor would still be liable for certain “additional costs incurred

by Duke Energy due to the failure to meet the agreed milestone dates previously set forth” in the

EPC contract and Change Order No. 59. Id. at 10.

         196.      On December 21, 2018, Duke sent Fluor an invoice for approximately $109 million

of “additional costs” incurred by Duke due to Fluor’s delays on the Citrus County Plant. Duke

Lawsuit, ECF No. 1, ¶38. Fluor and Duke could not resolve their disputes concerning the amount

and supporting documentation of Duke’s demand and, on January 8, 2019, Duke drew down the full

                                                     - 93 -
Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                    Page 100 of 184 PageID 2504



 amount of the $67 million letter of credit provided by Fluor. Id., ¶49. In doing so, Duke certified to

 Fluor’s bank that Fluor had “failed to fulfill certain of its obligations” under the EPC contract. Id.,

 ¶50.

           197.     The Duke lawsuit was voluntarily dismissed on August 27, 2019, following a

 settlement between the parties. Duke Lawsuit, ECF Nos. 34-36.

           C.       Defendants Knew of or Recklessly Disregarded Red Flags Rendering
                    Their Accounting Statements Misleading

           198.     During the Class Period, Defendants recklessly disregarded critical GAAP, SOX, and

 SEC rules, described above in §IV., pertaining to Fluor’s fixed-price contracts. The applicable

 GAAP contract accounting rules, described above in §IV.A., required Defendants to appropriately

 identify, estimate, and accumulate all contract costs with a high degree of precision before Fluor

 could recognize revenue on each of its fixed-price contracts. Likewise, the SOX rules governing

 internal controls over financial reporting, described above in §VI.B., required Defendants to

 maintain internal controls over financial reporting sufficient to ensure that for each fixed-price

 project, all costs were captured and accounted for in the Company’s quarterly project cost estimates.

 The critical lapses in Fluor’s accounting and internal controls allowed Defendants to conceal more

 than a billion dollars of undisclosed losses on 16 troubled fixed-price projects during the Class

 Period.

           199.     Defendants represented each quarter that Fluor had: (a) performed quarter-end project

 cost estimates in compliance GAAP accounting rules; and (b) maintained effective internal controls

 over financial reporting in compliances with SOX and SEC rules. However, as described below,

 Defendants were aware of, or recklessly disregarded, pervasive red flags indicating Fluor’s Project

 Status Reviews and quarterly project cost estimates did not properly incorporate all available

 evidence of cost overages with respect to the troubled fixed-price contracts, and that Fluor’s reported


                                                   - 94 -
 Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                     Page 101 of 184 PageID 2505



 revenue was not supported. The significant red flags that were known by, and available to,

 Defendants included:

                    (a)       Specific Project Execution Issues: Defendants were aware of, or recklessly

 disregarded, known problems and red flags regarding specific project execution issues on numerous

 fixed-price gas-powered projects. For example, as detailed in §VIII.B.1., supra, Defendants were

 aware as early as 2014 that one of its major subcontractors, Mitsubishi, failed to deliver critical

 turbine equipment, resulting in delays and costs and exposing the Company to liquidated damages.

 Moreover, as detailed in §VIII.B.2., supra, Defendants were aware in late 2017 that they were

 suffering major delays and cost overruns at the Citrus County Plant, causing the Company to request

 change orders to excuse them from previously agreed deadlines. And, as described above in ¶125,

 Defendants were aware as early as 2015 that shortages in craft labor, such as welding, caused

 unrecoverable delays and cost overruns. In light of the extensive project execution issues,

 Defendants’ certifications that they complied with critical accounting policies regarding closely

 reviewing costs and schedule each quarter, revenue recognition rules, loss recognition rules, and

 SOX rules concerning internal control over financial reporting were knowingly, or at a minimum

 recklessly, misleading.

                    (b)       Project Execution Issues on Similar Projects: Defendants were aware of, or

 recklessly disregarded, that pervasive project execution issues on the Gas-Fired Plants signaled

 similar issues on the Company’s other fixed-price projects, which were similar in contract type and

 scope and were reviewed and approved by the same set of Individual Defendants. As CEO

 Hernandez admitted in connection with the massive charges the Company recognized on the Gas-

 Fired Plants and other fixed-price projects in August 2019, “there a few significant and common

 issues in many of our challenged projects.”



                                                     - 95 -
 Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                     Page 102 of 184 PageID 2506



                    (c)       Artificially Low Fixed-Price Bids: Defendants were aware of, or recklessly

 disregarded, that the Company’s fixed-price projects were susceptible to losses because they were

 improperly bid. Defendants understood that a project that was bid artificially low was at high risk

 for losses because if the Company was unable to complete the project pursuant to the bid price, the

 Company would have to make up the difference. As early as August 2017, Seaton admitted that the

 Gas-Fired Plants suffered from a “fundamental problem” and were suffering losses due to “improper

 estimating, craft productivity and equipment issues.” By May 2018, Seaton admitted that there were

 “fatal flaws in the bidding process of all of those projects,” referring to the Gas-Fired Plants as well

 as other fixed-price projects. Defendants’ recognition of artificially low fixed-price gas-fired

 projects served as a red flag that the Company’s other fixed-price projects suffered from similar

 bidding problems.

                    (d)       Open and Unapproved Change Orders: Defendants were aware of, or

 recklessly disregarded, significant open and unapproved change orders on the troubled fixed-price

 contracts. Fluor utilized change orders to cover-up losses by including the amounts contained in

 open and unapproved change orders as revenue. Open and unapproved change orders indicated the

 likelihood of cost overages and losses on the problem projects. During the Class Period, Fluor

 recognized material amounts of revenue on unapproved and open change orders. As CW-9

 described, Fluor instituted a “bid it low, let it grow” motto whereby Fluor would bid low to win the

 project, knowing it would be unable to profitably perform the contract. To recoup the frequent cost

 overruns, CW-9 stated that Fluor submitted additional task order requests at significantly higher

 rates by claiming the work was outside the scope of the initial contract despite that employees

 understood the work was part of the contract. In August 2019, CEO Hernandez conceded that there

 were prior systemic issues with Defendants’ “risk assessment on our projects.” The risk assessment

 process includes the Project Status Reviews and quarterly estimation of cost-to-complete Fluor’s

                                                     - 96 -
 Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                  Page 103 of 184 PageID 2507



 fixed-price projects, as well as the internal controls that were in place to ensure the cost estimates

 were accurate and complete. Hernandez specifically referenced meetings he conducted “with a

 number of our clients, subcontractors and suppliers” that revealed extensive charges, including

 charges and settlements related to previously undisclosed “open and unapproved change orders.”

 Importantly, the “open and unapproved change orders” on these fixed-price projects were known, or

 at a minimum were red flags that were recklessly disregarded, by Defendants during the Class

 Period. Moreover, GAAP prohibits recognizing revenue from unapproved change orders unless it is

 “probable” that the client will approve and pay the change order amount. Defendants could not

 reasonably make this determination given that the change orders were, according to CW-6 and CW-

 9, used by Fluor to recover money for services that Fluor knew would be necessary at the outset of a

 project but that were omitted from the bid in order to win the contract.

                    (e)       Ongoing Customer and Subcontractor Disputes and Schedule Extensions:

 Defendants were aware of, or recklessly disregarded, ongoing customer and subcontractor disputes

 relating to fixed-price projects. These disputes were direct evidence or, at a minimum, red flags

 indicating potential cost overages and losses on the problem projects. For example, as discussed

 above in §VIII.B., in April 2014, Fluor warned Mitsubishi that it may seek damages arising out of

 their dispute over Mitsubishi’s delivery of necessary turbine equipment and, in May 2016, Fluor sent

 a letter to Mitsubishi demanding more than $207 million in liquidated damages related thereto.

 Similarly, by November 2017, Fluor was forced to enter a change order with Duke that pushed back

 the mechanical operation deadline for the Citrus County Plant, which subjected the Company to

 potential liquidated damages. The deadline was moved back again in April 2018, which Fluor also

 missed. Eventually, Duke drew down a $67 million line of credit with Fluor, prompting Fluor to sue

 for declaratory relief. In light of the significant customer and subcontractor disputes and schedule

 delays, Defendants’ certifications that they complied with critical accounting policies regarding

                                                   - 97 -
 Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                   Page 104 of 184 PageID 2508



 closely reviewing schedule and costs each quarter, revenue recognition rules, loss recognition rules,

 and SOX rules concerning internal control over financial reporting were knowingly, or at a minimum

 recklessly, misleading.

          D.        The Magnitude and Frequency of the Charges Evidence Scienter

          200.      Over the course of the Class Period, the Company recognized $643 million in charges

 and/or losses due to forecast revisions, cost overruns, and settlements concerning the Gas-Fired

 Plants. When accounting for other fixed-price projects, these charges exceed $1.4 billion.

          201.      As reported in the Company’s 2018 Form 10-K, in 2015 the Company recognized “a

 pre-tax loss of $60 million (or $0.26 per diluted share) resulting from forecast revisions” for the

 Brunswick County Plant. In 2017, the Company recognized “pre-tax charges totaling $260 million

 (or $1.18 per diluted share) resulting from forecast revisions for estimated cost growth” at the

 Greensville County, Anderson County, and Citrus County Plants. In 2018, the Company recognized

 “pre-tax charges totaling $188 million (or $1.02 per diluted share) resulting from forecast revisions

 for estimated cost growth” at the Citrus County Plant. The Company’s Forms 10-Q for Q1 2019 and

 Q2 2019 reported additional pre-tax charges of $26 million and $109 million, respectively, for the

 Gas-Fired Plants.

          202.      These pre-tax charges were a near-constant occurrence for the Company towards the

 end of the Class Period, as Defendants’ fraud was incrementally revealed through a series of partial

 corrective disclosures. Indeed, the Company recognized the pre-tax charges and/or losses on the

 Gas-Fired Plants in eight out of nine consecutive quarters in the Class Period – from Q1 2017 to Q2

 2019. 9 The same bidding and execution problems infected Fluor’s other fixed-price projects. For

 example, in 2018, Fluor recognized $173 million in charges related to a downstream fixed-price


 9
     Q3 2017 was the only fiscal quarter in this 30-month period that did not suffer from a charge/loss
 on the Gas-Fired Plants.

                                                   - 98 -
 Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                   Page 105 of 184 PageID 2509



 project and an offshore fixed-price project. In Q1 2019, the Company took a $53 million charge for

 a fixed-price offshore project. Finally, in Q2 2019, the Company recognized more than $600 million

 in charges on various fixed-price contracts (in addition to the $109 million charge taken in Q2 2019

 related to three of the Gas-Fired Plants). In total, Fluor has recognized more than $1.4 billion in

 charges related to fixed-price contracts.

          E.        High-Level Departures and Reorganization of Fluor’s Leadership and
                    Business Model Evidence Scienter

          203.      During Q1 and Q2 2017, as the Company was taking charges due to cost overruns at

 the Greensville, Anderson, and Citrus County Plants, Fluor announced the departure of several high-

 level officers.

          204.      On March 8, 2017, Fluor unexpectedly announced that both Porter and Fluor’s Chief

 Operating Officer, Peter Oosterveer, were departing the Company. While Defendants claimed that

 Porter expected to retire by year-end as “part of normal succession planning,” the Company had

 named no successor at the time and claimed there was “an ongoing search for a replacement

 candidate.” Porter departed after netting over $5.1 million in ill-gotten gains from insider sales of

 Fluor stock at fraud-inflated prices and before the fraud was fully revealed.

          205.      On August 3, 2017, Fluor announced the $194 million pre-tax charge for the Gas-

 Fired Plants on its Q2 2017 earnings call. During the call, Seaton also announced that Stanski would

 be taking Porter’s position as CFO starting the following day, that Fluor would be shuttering its

 Charlotte office responsible for bidding the gas-fired plants, and that changes to the leadership of the

 Power segment would be instituted specifically because of the issues alleged herein:

                 I’ve discussed the problems, and now I’d like to talk about we’ve changed.
          After we had the initial charge last quarter, we changed the Power leadership team
          and brought in Simon Nottingham as the President of that group – of the Power
          group. Simon comes from our oil and gas group, and he brings to this role his
          extensive background in project and program management. He and his team, in
          coming to this role, led a review of the 3 projects in the second quarter and
          developed a path forward that is reflected in our current estimates. Some members
                                                  - 99 -
 Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                   Page 106 of 184 PageID 2510



          of the Power management team have exited Fluor. We also informed our
          employees that we are closing our Charlotte office and consolidating Power
          operations in Greenville, where it will be closer to our other businesses and
          leadership.

          206.      Among the members of the Power segment management team replaced in Q2 2017

 was Chris Tye – who had succeeded McSorley as President of the Power segment in November

 2015. Although Tye became President of the Power segment after Fluor was awarded the EPC

 contracts for the Gas-Fired Plants, Seaton explained that Tye and other Power segment employees

 were replaced because of the bidding issues associated with those Gas-Fired Plants alleged herein.

          207.      On May 3, 2018, after consecutive quarters recognizing additional charges on the

 Citrus County Plant, Seaton made the dramatic announcement that “Fluor will discontinue the

 pursuit of lump-sum gas-fired power market[s].”

          208.      On the morning of May 2, 2019, Fluor issued a press release announcing that Seaton

 had stepped down as CEO of the Company, and that he would no longer serve as a member of the

 Company’s Board of Directors. Hernandez was named interim CEO until a permanent replacement

 could be identified.

          209.      Numerous media outlets directly tied Seaton’s departure to the ongoing charges the

 Company had recorded on its fixed-price contracts over the years. For instance, a May 2, 2019

 Bloomberg article, titled “Fluor Sinks Most on Record as CEO Steps Down After Surprise Loss,”

 noted that:

                 Fluor Corp. sank the most in almost two decades as Chief Executive Officer
          David Seaton resigned following a surprising first-quarter loss.

                  Profit and investor confidence in the engineering and construction company
          has been battered in recent years as Fluor absorbed a series of write-downs on
          projects ranging from refineries to power plants and offshore oil platforms.

          210.      A May 7, 2019 piece in The Dallas Morning News, titled “Why Fluor’s CEO had to

 go: He oversaw $1 billion in write-offs in three years,” similarly noted that:

                                                  - 100 -
 Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                    Page 107 of 184 PageID 2511



                  Cost overruns and bad estimates have been building since 2016, and in the
          past three years, Fluor has taken 18 quarterly write-offs totaling more than $1 billion.
          Those problems helped wipe out two-thirds of Fluor’s market value since May 2014.

          211.      On May 28, 2019, Fluor announced further changes to the leadership structure that

 oversaw these massive losses, as Steuert would be taking over Stanski’s role as CFO.

          F.        The SEC and New Management Are Now Investigating Fluor’s Prior
                    Financial Reporting and Control Environment

          212.      On February 18, 2020, Fluor issued a press release disclosing that the SEC was

 investigating the Company’s prior financial reporting and the charges on fixed-price projects the

 Company recorded in Q2 2019. The Company also announced that it is conducting an internal

 investigation into its prior financial reports and related control environment. As a result, the

 Company stated that Fluor would not be filing its fiscal year 2019 Form 10-K on time:

                  Fluor announced that the Securities and Exchange Commission (“SEC”) is
          conducting an investigation of the Company’s past accounting and financial
          reporting, and has requested documents and information related to projects for which
          the Company recorded charges in the second quarter of 2019.

                  In the course of responding to the SEC’s data requests and conducting our
          own internal review, the Company is reviewing its prior period reporting and related
          control environment. The Company has not made a determination at this time as to
          whether there are prior period material errors in its financial statements, although
          such remains possible. Given the ongoing internal review and recent developments
          on two projects, the Company does not expect to complete and file its annual report
          on Form 10-K prior to the end of February.

          213.      According to Probes Reporter, an investment research firm that specializes in issuing

 Freedom of Information Act (“FOIA”) requests to the SEC, the SEC apparently opened its probe

 into Fluor at some point between March 2017 and February 2018. In other words, it appears the

 SEC had been investigating Fluor for potentially three years before the end of the Class Period. The

 following chart contains the SEC’s responses to Probes Reporter’s FOIA requests related to Fluor

 during the Class Period:

               5-Nov-2014           FOIA Response     No SEC investigative records found.
               7-May-2015           FOIA Response     No SEC investigative records found.
                                                    - 101 -
 Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                     Page 108 of 184 PageID 2512



               19-Feb-2016          FOIA Response       No SEC investigative records found.
               3-Mar-2017           FOIA Response       No SEC investigative records found.
               28-Feb-2018          FOIA Response       SEC denies access to records over concern
                                                        their release, “could reasonably be
                                                        expected to interfere with enforcement
                                                        activities.”
               20-Apr-2018          Appeal Response     Existence of on-going SEC enforcement
                                                        proceedings confirmed on appeal; Access
                                                        to records remains blocked.
               13-Nov-2018          FOIA Response       SEC denies access to records over concern
                                                        their release, “could reasonably be
                                                        expected to interfere with enforcement
                                                        activities.”
               15-Feb-2019          Appeal Response     Existence of on-going SEC enforcement
                                                        proceedings confirmed on appeal; Access
                                                        to records remains blocked.

          G.        Defendants’ Motive and Opportunity to Conceal the Truth

          214.      Throughout the Class Period, Defendants were financially motivated to underbid

 fixed-price contracts in order to win repeat business and personally benefit from the Company’s

 incentive-based executive compensation program. Once those contracts were won, Defendants

 sought to conceal the truth about the underlying bid and execution problems in order to maintain

 Fluor’s artificially inflated stock price – allowing the Individual Defendants to profit from insider

 stock sales and the Company to raise additional capital on favorable terms.

                    1.        The Individual Defendants’ Insider Stock Sales

          215.      Defendants’ scienter is further evidenced by the Class Period transactions in Fluor

 stock, options, and stock-related units by the Individual Defendants, which were suspicious in both

 timing and amount, permitting them to accumulate more than $34 million total in ill-gotten gains

 during the fraud alleged herein.




                                                      - 102 -
 Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                   Page 109 of 184 PageID 2513



                              a.    Seaton’s Class Period Sales

          216.      During the six and half-year period preceding the Class Period (February 1, 2007

 through August 13, 2013), Seaton exercised 57,621 Performance Rights (“PRs”), 10 exercised 32,879

 Restricted Stock Units (“RSUs”), 11 exercised 105,869 stock options, and sold 212,494 Fluor shares

 (and 106,625 net shares) for gross proceeds of $14,469,595 and net proceeds of $10,057,407. Seaton

 entered the Class Period with balances of 191,772 Fluor shares, 376,094 stock options, 57,621 PRs,

 and 173,863 RSUs. Seaton’s transactions during the Class Period were as follows:

                                       Stock Options Transactions
                      Options
 Transaction                                                            Strike       Funds Spent /
                      Grants /          Shares        Vesting Date
    Date                                                                Price          Gained
                      Exercises
                     Exercise of
                     Options                           1/3 each on
                                                        3/6/2009;
  11/7/2013          [expiration              9,195                    $68.3600           ($628,570)
                                                        3/6/2010;
                     date                               3/6/2011
                     3/4/2018]
                     Exercise of
                     Options                           1/3 each on
                                                        3/6/2009;
  11/8/2013          [expiration              2,871                       $68.36          ($196,262)
                                                        3/6/2010;
                     date                               3/6/2011
                     3/4/2018]



 10
     Fluor’s corporate Performance Incentive Plans from the Class Period listed different executive
 compensation award types, including Incentive Awards, which they described as a “bonus
 opportunity” “pursuant to which a Participant may become entitled to receive an amount payable
 either in cash, Shares or other property based on satisfaction of such performance criteria as are
 specified in the document(s) evidencing the Award.” The Individual Defendants’ Form 4 filings
 during the Class Period define a Performance Right (PR) as follows: “Each performance right
 represents a contingent right to receive one share (or the cash equivalent of one share) of Fluor
 common stock.”
 11
     Among the other executive compensation award types listed in Fluor’s corporate Performance
 Incentive Plans from the Class Period were Stock Unit Awards, which they described as a “right to
 receive the fair market value of a specified number of Shares,” subject to certain enumerated terms
 and conditions. The Individual Defendants’ Form 4 filings during the Class Period described the
 Restricted Stock Units (RSUs) at issue as subject to various vesting schedules and having a “1-for-1”
 “[c]onversion or [e]xercise [p]rice.”

                                                  - 103 -
 Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20          Page 110 of 184 PageID 2514



                     Exercise of
                     Options                  1/3 each on
                                               3/6/2011;
  11/8/2013          [expiration     31,042                     $42.75     ($1,327,046)
                                               3/6/2012;
                     date                      3/6/2013
                     3/4/2018]
                     Exercise of
                     Options                  1/3 each on
                                               3/6/2012;
  11/8/2013          [expiration     58,726                     $70.76     ($4,155,452)
                                               3/6/2013;
                     date                      3/6/2014
                     3/2/2020]
                     Exercise of
                     Options                  1/3 each on
                                               3/6/2013;
  11/8/2013          [expiration     39,492                     $62.50     ($2,468,250)
                                               3/6/2014;
                     date                      3/6/2015
                     2/27/2022]
                                              1/3 each on
                     Grant of                  3/6/2015;
  2/21/2014                         120,333                     $79.19              $0
                     Options                   3/6/2016;
                                               3/6/2017
                     Exercise of
                     Options                  1/3 each on
                                               3/6/2013;
  8/21/2014          [expiration     39,492                     $62.50     ($2,468,250)
                                               3/6/2014;
                     date                      3/6/2015
                     2/27/2022]
                     Exercise of
                     Options                  1/3 each on
                                               3/6/2014;
  8/21/2014          [expiration     52,892                     $61.45     ($3,250,213)
                                               3/6/2015;
                     date
                                               3/6/2016
                     2/25/2023]
                                              1/3 each on
                     Grant of                  3/6/2016;
  2/23/2015                         173,655                     $59.05              $0
                     Options                   3/6/2017;
                                               3/6/2018
                                              1/3 each on
                     Grant of                  3/6/2018;
  2/23/2017                         154,599                     $55.35              $0
                     Options                   3/6/2019;
                                               3/6/2020
                                              1/3 each on
                     Grant of                  3/6/2019;
  2/23/2018                          33,615                     $58.15              $0
                     Options                   3/6/2020;
                                               3/6/2021
 Sub-Total Options from
                                    482,202                       Cost             ($0)
 Grants/Compensation


                                         - 104 -
 Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                  Page 111 of 184 PageID 2515



 Sub-Total Options
                                          233,710                         Cost       ($14,494,042)
 Exercised
                                    Performance Rights Transactions
                        Unit
 Transaction                                                                        Funds Spent /
                      Grants /         Units         Vesting Date      Price
    Date                                                                              Gained
                      Exercises
                     Award of
   2/5/2014                                58,282      3/5/2016                $0               $0
                     PRs
                                                     1/2 each on
                     Exercise of
  2/28/2014                               (29,732)   2/28/2012;                $0               $0
                     PRs
                                                      2/28/2014
                     Award of
   2/4/2015                                72,132      2/6/2017                $0               $0
                     PRs
                                                     1/2 each on
                     Exercise of
  2/28/2015                               (27,889)   2/28/2013;                $0               $0
                     PRs
                                                      2/28/2015
                     Exercise of
   2/5/2016                               (58,282)     2/5/2016                $0               $0
                     PRs
                     Exercise of
   2/6/2017                               (72,132)     2/6/2017                $0               $0
                     PRs
                     Award of
  2/19/2019                               (23,625)     3/6/2019                $0               $0
                     PRs

 Sub-Total Grants of PRs                  154,039                         Cost                ($0)
 Sub-Total Exercises of
                                         (188,035)                    Proceeds                 n/a
 PRs
                                           RSU Transactions
                        Unit
 Transaction                                                                        Funds Spent /
                      Grants /         Units         Vesting Date      Price
    Date                                                                              Gained
                      Exercises
                                                     1/3 each on
                     Award of                         3/6/2015;
  2/21/2014                                35,007                              $0               $0
                     RSUs                             3/6/2016;
                                                      3/6/2017
                                                     1/3 each on
                     Award of                         3/6/2016;
  2/23/2015                                49,179                              $0               $0
                     RSUs                             3/6/2017;
                                                      3/6/2018
                                                     1/3 each on
                     Award of                         3/6/2017;
  2/23/2016                               107,385                              $0               $0
                     RSUs                             3/6/2018;
                                                      3/6/2019
                                                     1/3 each on
                     Award of                         3/6/2018;
  2/23/2017                                44,391                              $0               $0
                     RSUs                             3/6/2019;
                                                      3/6/2020
                                                - 105 -
 Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20              Page 112 of 184 PageID 2516



                                                1/3 each on
                     Award of                    3/6/2019;
  2/23/2018                          75,669                                $0                $0
                     RSUs                        3/6/2020;
                                                 3/6/2021
                                                1/3 each on
                     Award of                    3/6/2020;
  3/28/2019                         121,410                                $0                $0
                     RSUs                        3/6/2021;
                                                 3/6/2022

 Sub-Total Grants of
                                    433,041                           Cost                 ($0)
 RSUs
 Sub-Total Exercises of
                                        (0)                       Proceeds                   $0
 RSUs
                                    Stock Transactions
 Transaction          Purchases                                                  Funds Spent /
                                       Shares                      Price
    Date               / Sales                                                     Gained
                     Acquired                                     See above
  11/7/2013          by options                        9,195                          See above
                     exercise
  11/7/2013          Sale                             (9,195)     $77.0250             $708,245
                     Acquired
  11/8/2013          by options                      132,131      See above           See above
                     exercise
  11/8/2013          Sale                           (132,131)     $76.0000          $10,041,956
   2/5/2014          Sale                               (267)     $74.8600              $19,988
                     Acquired
  2/28/2014          by PR                            29,732               n/a               $0
                     exercise
  2/28/2014          Sale                            (29,732)     $77.6900           $2,309,879
                     Acquired
  8/21/2014          by options                       92,384      See above           See above
                     exercise
  8/21/2014          Sale                             92,384      $74.1440           $6,849,719
                     Acquired
  2/28/2015          by PR                            27,889               n/a               $0
                     exercise
  2/28/2015          Sale                            (27,889)     $58.0000           $1,617,562
                     Acquired
   2/5/2016          by PR                            58,282               n/a               $0
                     exercise
   2/5/2016          Sale                            (58,282)     $44.8400           $2,613,365
   3/6/2016          Sale                            (17,993)     $49.1700             $884,716
                     Acquired
   2/6/2017          by PR                            72,132               n/a               $0
                     exercise
                                          - 106 -
 Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                      Page 113 of 184 PageID 2517



    2/6/2017         Sale                                    (72,132)     $55.3400          $3,991,785
  11/21/2017         Sale                                    (40,000)     $47.5660          $1,902,640
    3/1/2018         Sale                                    (50,000)     $56.7210          $2,836,050
    3/6/2018         Sale                                     (6,070)     $57.5000            $349,025
   11/6/2018         Purchase                                   5,158     $48.5196          ($250,264)
   2/19/2019         Purchase                                   1,388           n/a                 $0
    3/6/2019         Sale                                     (9,676)     $26.8000            $259,317

 Sub-Total Stock Sales                                      (545,751)    Proceeds          $34,384,246

  3/14/2014          Gift                                    (10,001)           n/a                 n/a
   3/5/2015          Gift                                     (8,602)           n/a                 n/a
   3/3/2016          Gift                                     (5,139)           n/a                 n/a
   3/8/2017          Gift                                     (7,480)           n/a                 n/a
  3/28/2019          Gift                                     (3,320)           n/a                 n/a
  3/28/2019          Gift                                     (9,676)           n/a                 n/a
 Sub-Total Stock Gifts                                       (35,872)    Proceeds                   n/a
                     Shares
                                              6,546             Transaction Costs           ($250,264)
                     Purchased
                     Shares
                     Acquired
                                            233,710             Transaction Costs       ($14, 494,042)
                     by Options
                     Exercise
                     Shares
                     Acquired
                                                   0            Transaction Costs                  ($0)
     Totals          by RSU
                     Exercise
                     Shares
                     Acquired
                                            188,035             Transaction Costs                  ($0)
                     By PR
                     Exercise
                     Shares
                                          (305,495)         Transaction Proceeds           $34,384,246
                     Sold
                                                   Net Gain to Defendant Seaton            $19,639,940

          217.      The timing of Seaton’s sales further supports a finding of scienter. For instance:




                                                  - 107 -
 Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                      Page 114 of 184 PageID 2518



                    (a)       Seaton sold $10,750,201 in Fluor stock on November 7, 2013 and November

 8, 2013, when the stock traded near the Class Period high. 12 These sales were made after multiple

 misleading statements and omissions by Defendants, including Seaton himself, in 2013, as set forth

 herein. See ¶114.

                    (b)       Seaton sold $2,309,879 in Fluor stock on February 28, 2014, when the stock

 traded near the Class Period high. Seaton made this trade when Fluor had initiated construction of

 the Brunswick County Plant, but before investors were alerted to problems with the bid and

 construction process. This sale also occurred after multiple misleading statements and omissions by

 Defendants, including Seaton himself, and after statements and omissions Seaton made just ten days

 prior to this sale on the February 18, 2014 earnings call. See ¶¶116-117; see also ¶114.

                    (c)       Seaton sold $6,849,719 in Fluor stock on August 21, 2014, shortly after Fluor

 announced its Q2 2014 financial results and after Fluor’s undisclosed but ongoing problems with

 construction execution, including major, costly issues with the Mitsubishi turbines, had already

 occurred. This sale also occurred after multiple misleading statements and omissions by Defendants,

 including a statement made just six days prior, on August 14, 2014. See ¶94; see also ¶¶87-93.

                    (d)       Seaton sold $1,617,562 in Fluor stock on February 28, 2015, ten days after

 Fluor announced its 2014 financial results. On the earnings call on February 18, 2015, Defendants

 made misleading statements and omissions and continued to conceal the issues with the Brunswick

 County Plant that were well developed by this time. See ¶¶99-100. In Q2 2015, the very next

 quarter after Seaton sold these shares, Fluor would take a $10 million charge related to the

 Brunswick County Plant, which later ballooned to $60 million for 2015, wiping out the Power

 segment’s 2015 profitability.



 12
      Fluor’s common stock reached its Class Period high of $83.93 on January 22, 2014.

                                                     - 108 -
 Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                    Page 115 of 184 PageID 2519



                    (e)       Seaton sold $3,185,075 in Fluor stock on March 1, 2018 and March 6, 2018.

 Seaton’s March 1, 2018 sales occurred within weeks of Fluor’s February 20, 2018 announcement of

 2017 results in which Defendants announced their initial 2018 earnings after having delayed the

 guidance announcement from Q3 2017, as was Fluor’s usual practice. While Defendants claimed

 that the delay was to incorporate a new revenue recognition standard, the guidance significantly beat

 market expectations and caused many analysts to raise their targets and ratings. For example,

 Deutsche Bank in its February 20, 2018 report said that the Company “issued initial 2018 EPS

 guidance well ahead of street expectations (even after factoring in tax reform and rev rec changes),”

 and UBS in its February 21, 2018 report raised its target 26% from $46 to $58. After Defendants set

 2018 initial earnings guidance, Seaton immediately sold his stock. However, at the same time that

 2018 initial earnings guidance was being announced, Fluor was accumulating an undisclosed $125

 million charge for the Citrus County Plant, which was later announced along with downward-revised

 2018 guidance. In connection with additional Gas-Fired Plant charges in Q2 2018 and Q3 2018,

 Fluor continued to revise guidance downward. Through 2018, Fluor would take $188 million in

 charges, wiping out the Power segment’s profits. Fluor would settle at $1.59 per share for 2018,

 well below the initial 2018 earnings guidance of $3.10 to $3.50 per share that was in place when

 Seaton sold his stock. Although Seaton was able to cash out before these negative announcements,

 investors were not able to do so.

                    (f)       Seaton sold approximately $260,000 in Fluor stock on March 6, 2019, less

 than two months before stunning the market with additional fixed-price charges in Fluor’s May 2,

 2019 release of Q1 2019 financials. This surprise announcement resulted in Seaton’s “resignation”

 from the Company, but not before he cashed in more than a quarter of a million dollars in stock on

 his way out.



                                                    - 109 -
 Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                 Page 116 of 184 PageID 2520



                              b.    Porter’s Class Period Sales

          218.      During the six and half-year period preceding the Class Period (February 1, 2007

 through August 13, 2013), Porter exercised 8,685 PRs, exercised 0 RSUs, exercised 0 options, and

 sold 17,650 Fluor shares for gross and net proceeds of $1,077,581. Porter entered the Class Period

 with balances of 75,935 Fluor shares, 42,573 stock options, 60,116 PRs, and 62,857 RSUs. Porter’s

 transactions during the Class Period were as follows:

                               Stock Options Transactions
 Transaction     Options Grants /                   Vesting              Strike     Funds Spent /
                                         Shares
     Date            Exercises                       Date                Price        Gained
                                                  1/3 each on
                                                   3/6/2015;
  2/21/2014 Grant of Options              28,653                          $79.19               $0
                                                   3/6/2016;
                                                   3/6/2017
                                                  1/3 each on
                                                   3/6/2016;
  2/23/2015 Grant of Options              39,468                          $59.05               $0
                                                   3/6/2017;
                                                   3/6/2018
                                                  1/3 each on
                                                   3/6/2018;
  2/23/2017 Grant of Options              52,443                          $55.35               $0
                                                   3/6/2019;
                                                   3/6/2020
 Sub-Total Options from
                                         120,564                            Cost             ($0)
 Grants/Compensation
 Sub-Total Options Exercised                    0                           Cost             ($0)
                           Performance Rights Transactions
 Transaction                                                Vesting                 Funds Spent /
                     Unit Grants / Exercises     Units                    Price
    Date                                                     Date                     Gained



   2/5/2014          Award of PRs                 15,638   3/5/2016            $0              $0
   2/4/2015          Award of PRs                 17,174   2/6/2017            $0              $0
                                                          1/2 each on
   5/3/2015          Exercise of PRs              (8,685) 5/3/2013;            $0              $0
                                                           5/3/2015
   2/5/2016          Exercise of PRs             (15,638) 2/5/2016             $0              $0
   2/6/2017          Exercise of PRs             (17,174) 2/6/2017             $0              $0

 Sub-Total Awards of PRs                          32,812                    Cost             ($0)

                                                  - 110 -
 Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                   Page 117 of 184 PageID 2521



 Sub-Total Exercises of PRs           (41,497)              Proceeds          n/a
                                  RSU Transactions
 Transaction                                      Vesting            Funds Spent /
             Unit Grants / Exercises   Units                 Price
     Date                                          Date                Gained
                                                1/3 each on
                                                 3/6/2015;
  2/21/2014 Award of RSUs                8,337                    $0           $0
                                                 3/6/2016;
                                                 3/6/2017
                                                1/3 each on
                                                 3/6/2016;
  2/23/2015 Award of RSUs               11,178                    $0           $0
                                                 3/6/2017;
                                                 3/6/2018
                                                1/3 each on
                                                 3/6/2017;
  2/23/2016 Award of RSUs               31,545                    $0           $0
                                                 3/6/2018;
                                                 3/6/2019
                                                1/3 each on
                                                 3/6/2018;
  2/23/2017 Award of RSUs               15,060                    $0           $0
                                                 3/6/2019;
                                                 3/6/2020

 Sub-Total Awards of RSUs                            66,120                   Cost             ($0)
 Sub-Total Exercises of RSUs                             (0)              Proceeds               $0
                                              Stock Transactions
 Transaction                                                                          Funds Spent /
                          Purchases / Sales              Shares            Price
     Date                                                                               Gained
  11/6/2013          Sale                                      (13,078)   $76.8260      $1,004,730
   3/6/2014          Sale                                       (1,189)   $80.1200         $95,263
   4/9/2014          Sale                                       (8,556)   $77.3600        $661,892
   5/7/2014          Sale                                       (1,648)   $75.4900        $124,408
   3/6/2015          Sale                                       (2,307)   $57.2900        $132,168
   4/9/2015          Sale                                       (8,556)   $59.1400        $506,002
   5/3/2015          Acquired by PR exercise                      8,685         n/a             $0
   5/3/2015          Sale                                       (8,685)   $58.7000        $509,810
   5/7/2015          Sale                                       (1,648)   $58.6300         $96,622
   2/5/2016          Acquired by PR exercise                     15,638         n/a             $0
   2/5/2016          Sale                                      (15,638)         n/a       $701,208
   3/6/2016          Sale                                       (4,399)   $49.1700        $216,299
   2/6/2017          Acquired by PR exercise                     17,174         n/a             $0
   2/6/2017          Sale                                      (17,174)   $55.3400        $950,409
   3/6/2017          Sale                                       (2,730)   $55.0400        $150,259
 Sub-Total Stock Sales                                         (85,608) Proceeds         $5,149,070
                                                    - 111 -
 Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                     Page 118 of 184 PageID 2522



                     Shares Purchased                     0       Transaction Costs               ($0)
                     Shares Acquired by
                                                          0       Transaction Costs               ($0)
                     Options Exercise
                     Shares Acquired by
                                                          0       Transaction Costs               ($0)
     Totals          RSU Exercise
                     Shares Acquired By PR
                                                    41,497        Transaction Costs               ($0)
                     Exercise
                     Shares Sold                   (85,608) Transaction Proceeds           $5,149,070
                                                     Net Gain to Defendant Porter          $5,149,070

          219.      The timing of Porter’s sales further supports a finding of scienter. For instance:

                    (a)       Porter sold $1,004,730 in Fluor stock on November 6, 2013, when the stock

 traded near the Class Period high. These sales occurred after multiple misleading statements and

 omissions by Defendants, including false statements made in August 2013. See ¶114.

                    (b)       Porter sold $95,263 in Fluor stock on March 6, 2014, when the stock traded

 near the Class Period high. Porter made this trade when Fluor had initiated construction of the

 Brunswick County Plant, but before investors were alerted to problems with the bid and construction

 process. This sale also occurred after multiple misleading statements and omissions by Defendants,

 including after statements and omissions Defendants made just weeks prior to this sale on the

 February 18, 2014 earnings call. See ¶¶116-117; see also ¶114.

                    (c)       Porter sold $132,168 in Fluor stock on March 6, 2015, one day after Fluor

 issued a Shareholder Letter, attached to Fluor’s 2014 Annual Report, containing false statements.

 ¶¶101, 121. This trade also occurred just weeks after Defendants discussed Fluor’s 2014 financial

 results on the earnings call on February 18, 2015, on which Defendants made misleading statements

 and omissions and continued to conceal issues with the Brunswick County Plant that were well

 developed by that time. See ¶¶99-100. In Q2 2015, the very next quarter after Porter sold these

 shares, Fluor would take a $10 million charge related to the Brunswick County Plant, which later

 ballooned to $60 million for 2015, wiping out the Power segment’s 2015 profitability.


                                                    - 112 -
 Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                      Page 119 of 184 PageID 2523



                              c.    Stanski’s Class Period Sales

          220.      During the six and half-year period preceding the Class Period (February 1, 2007

 through August 13, 2013), Stanski exercised 3,928 PRs, exercised 0 RSUs, exercised 18,916 stock

 options, and sold 27,528 Fluor shares for gross proceeds of $1,923,150 and net proceeds of

 $1,124,015. Stanski entered the Class Period with balances of 23,680 Fluor shares, 48,779 stock

 options, 21,179 PRs, and 11,688 RSUs. Stanski’s transactions during the Class Period were as

 follows:

                                        Stock Options Transactions
                                                                                        Funds
 Transaction          Options Grants /                      Vesting
                                              Shares                     Strike Price   Spent /
    Date                 Exercises                           Date
                                                                                        Gained
                                                            1/3 each
                     Exercise of Options                        on
  11/5/2013          [expiration date            4,859      5/7/2010;          $41.77   ($202,960)
                     5/6/2019]                              5/7/2011;
                                                            5/7/2012
                                                            1/3 each
                     Exercise of Options                        on
  11/5/2013          [expiration date           18,396      3/6/2011;          $42.75   ($788,429)
                     3/2/2020]                              3/6/2012;
                                                            3/6/2013
                                                            1/3 each
                                                                on
  2/21/2014          Grant of Options           18,624      3/6/2015;          $79.19             $0
                                                            3/6/2016;
                                                            3/6/2017
                                                            1/3 each
                                                                on
  2/23/2015          Grant of Options           28,614      3/6/2016;          $59.05             $0
                                                            3/6/2017;
                                                            3/6/2018
                                                            1/3 each
                                                                on
  2/23/2017          Grant of Options           28,197      3/6/2018;          $55.35             $0
                                                            3/6/2019;
                                                            3/6/2020
 Sub-Total Options from
                                      98,690                                     Cost         ($0)
 Grants/Compensation
 Sub-Total Options Exercised               0                                     Cost         ($0)
                           Performance Rights Transactions
                                                  - 113 -
 Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                    Page 120 of 184 PageID 2524



                                                                                       Funds
 Transaction             Unit Grants /                    Vesting
                                           Units                          Price        Spent /
    Date                  Exercises                        Date
                                                                                       Gained
   2/5/2014          Award of PRs             8,708       3/5/2016                $0             $0
                                                          1/2 each
                                                             on
  2/28/2014          Exercise of PRs        (4,441)                               $0             $0
                                                         2/28/2012;
                                                         2/28/2014
   2/4/2015          Award of PRs            11,164       2/6/2017                $0             $0
                                                          1/2 each
                                                             on
  2/28/2015          Exercise of PRs        (3,928)                               $0             $0
                                                         2/28/2013;
                                                         2/28/2015
   2/5/2016          Exercise of PRs        (8,708)       2/5/2016                $0             $0
   2/6/2017          Exercise of PRs       (11,164)       2/6/2017                $0             $0
  2/19/2019          Award of PRs             4,068       3/6/2019                $0             $0

 Sub-Total Grants of PRs                     23,940                           Cost          ($0)
 Sub-Total Exercises of PRs                (28,241)                       Proceeds           n/a
                                         RSU Transactions
                                                                                       Funds
 Transaction             Unit Grants /                    Vesting
                                           Units                          Price        Spent /
    Date                  Exercises                        Date
                                                                                       Gained
                                                         1/3 each
                                                             on
  2/21/2014          Award of RSUs            5,418      3/6/2015;                $0             $0
                                                         3/6/2016;
                                                         3/6/2017
                                                         1/3 each
                                                             on
  2/23/2015          Award of RSUs            8,106      3/6/2016;                $0             $0
                                                         3/6/2017;
                                                         3/6/2018
                                                         1/3 each
                                                             on
  2/23/2016          Award of RSUs           18,489      3/6/2017;                $0             $0
                                                         3/6/2018;
                                                         3/6/2019
                                                         1/3 each
                                                             on
  2/23/2017          Award of RSUs            8,907      3/6/2018;                $0             $0
                                                         3/6/2019;
                                                         3/6/2020
                                                         1/3 each
  2/23/2018          Award of RSUs           22,356                               $0             $0
                                                             on
                                               - 114 -
 Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                    Page 121 of 184 PageID 2525



                                                          3/6/2019;
                                                          3/6/2020;
                                                          3/6/2021
                                                          1/3 each
                                                              on
  2/19/2019          Award of RSUs            37,209      3/6/2020;                $0             $0
                                                          3/6/2021;
                                                          3/6/2022

 Sub-Total Grants of RSUs                      99,675                         Cost            ($0)
 Sub-Total Exercises of RSUs                       (0)                    Proceeds              $0
                                          Stock Transactions
                                                                                        Funds
 Transaction
                      Purchases / Sales           Shares                  Price         Spent /
    Date
                                                                                        Gained
                     Acquired by
  11/5/2013                                                   4,859       See above      See above
                     options exercise
                     Acquired by
  11/5/2013                                                  18,396       See above      See above
                     options exercise
  11/5/2013          Sale                                  (35,247)        $75.6910     $2,667,881
                     Acquired by PR
  2/28/2014                                                   4,441               n/a             $0
                     exercise
  2/28/2014          Sale                                   (4,441)        $77.6900      $345,021
   6/6/2014          Sale                                   (1,816)        $80.1200      $145,498
                     Acquired by PR
  2/28/2015                                                   3,928               n/a             $0
                     exercise
  2/28/2015          Sale                                   (3,928)        $58.0000      $227,824
   3/6/2015          Sale                                   (2,052)        $57.2900      $117,559
                     Acquired by PR
   2/5/2016                                                   8,708               n/a             $0
                     exercise
   2/5/2016          Sale                                   (8,708)        $44.8400      $390,467
   3/6/2016          Sale                                   (2,883)        $49.1700      $141,757
                     Acquired by PR
   2/6/2017                                                  11,164               n/a             $0
                     exercise
    2/6/2017         Sale                                  (11,164)        $55.3400      $617,816
    3/6/2017         Sale                                   (2,151)        $55.0400      $118,391
  11/30/2017         Sale                                   (2,792)        $48.4780      $135,351
    3/6/2018         Sale                                     (658)        $57.5700       $37,881
    3/6/2018         Sale                                   (3,718)        $57.4360      $213,547
   2/26/2019         Purchase                                   239              n/a           $0
    3/6/2019         Sale                                   (1,815)        $36.8000       $66,792
 Sub-Total Stock Sales                                     (81,373)     Proceeds        $5,225,784

                                                - 115 -
 Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                     Page 122 of 184 PageID 2526



                     Shares Purchased                239           Transaction Costs              ($0)
                     Shares Acquired
                     by Options                   23,255           Transaction Costs       ($989,389)
                     Exercise
                     Shares Acquired
     Totals                                            0           Transaction Costs              ($0)
                     by RSU Exercise
                     Shares Acquired
                                                  28,241           Transaction Costs              ($0)
                     By PR Exercise
                     Shares Sold                (81,373)      Transaction Proceeds        $5,225,784
                                                      Net Gain to Defendant Stanski       $4,296,395

          221.      The timing of Stanski’s sales further supports a finding of scienter. For instance:

                    (a)       Stanski sold $2,667,881 in Fluor stock on November 5, 2013, when the stock

 traded near the Class Period high. These sales occurred after multiple misleading statements and

 omissions by Defendants, including false statements made In August 2013. See ¶114.

                    (b)       Stanski sold $345,021 in Fluor stock on February 28, 2014, when the stock

 traded near the Class Period high. Stanski made this trade when Fluor had initiated construction of

 the Brunswick County Plant, but before investors were alerted to problems with the bid and

 construction process. This sale also occurred after multiple misleading statements and omissions by

 Defendants, including after statements and omissions Defendants made just ten days prior to this sale

 on the February 18, 2014 earnings call. See ¶¶116-117; see also ¶114.

                    (c)       Stanski sold $145,498 in Fluor stock on June 6, 2014, shortly after Fluor

 announced its 2013 financial results and after Fluor’s ongoing problems with construction execution,

 including major, costly issues with the Mitsubishi turbines, had already occurred. See ¶90; see also

 ¶¶185-191.

                    (d)       Stanski sold $227,824 in Fluor stock on February 28, 2015 and $117,559 in

 Fluor stock on March 6, 2015, shortly after Fluor announced its 2014 financial results. On the

 earnings call on February 18, 2015, Defendants made misleading statements and omissions and

 continued to conceal issues related to the Brunswick County Plant that were well developed by that

                                                    - 116 -
 Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                     Page 123 of 184 PageID 2527



 time. See ¶¶99-100. In Q2 2015, the very next quarter after Stanski sold these shares, Fluor would

 take a $10 million charge related to the Brunswick County Plant, which later ballooned to $60

 million for 2015, wiping out the Power segment’s 2015 profitability.

                    (e)       Stanski sold $251,428 in Fluor stock on March 6, 2018, shortly after Fluor

 announced its 2017 financial results. Stanski’s March 2018 sale, like Seaton’s, occurred within

 weeks of Fluor’s February 20, 2018 announcement of 2017 results in which Defendants announced

 their initial 2018 earnings, which beat market expectations and caused many analysts to raise their

 targets and ratings. After Defendants set 2018 initial earnings guidance, Stanski immediately sold

 his stock. Fluor would take multiple charges related to the Gas-Fired Plants shortly thereafter,

 wiping out the Power segment profits, resulting in guidance reductions. Stanski’s final Class Period

 sale occurred before these negative announcements.

                    (f)       Stanski sold more than $66,000 in Fluor stock on March 6, 2019, less than

 two months before stunning the market with additional fixed-price charges in Fluor’s May 2, 2019

 release of Q1 2019 financials. This surprise announcement resulted in Stanski’s replacement as CFO

 just a few weeks later.

                              d.     Smalley’s Class Period Sales

          222.      During the six and half-year period preceding the Class Period (February 1, 2007

 through August 13, 2013), Smalley exercised 8,061 PRs, exercised 0 RSUs, exercised 13,670

 options, and sold 25,685 Fluor shares (and 8,324 net shares) for gross proceeds of $1,743,281 and

 net proceeds of $1,047,173. During this time period, Smalley purchased 2,958 shares at a cost of

 $145,695. Smalley entered the Class Period with balances of 15,597 Fluor shares, 10,377 stock

 options, 1,764 PRs, and 19,267 RSUs. Smalley’s transactions during the Class Period were as

 follows:

                                        Stock Options Transactions

                                                    - 117 -
 Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20               Page 124 of 184 PageID 2528



 Transaction            Options Grants /                 Vesting      Strike        Funds Spent
                                               Shares
    Date                    Exercises                     Date        Price          / Gained
                     Exercise of Options               1/3 each on
                                                        3/6/2011;
  11/5/2013          [expiration date            1,725                $68.3600         ($73,744)
                                                        3/6/2012;
                     3/2/2020]                          3/6/2013
                                                       1/3 each on
                                                        3/6/2015;
  2/21/2014          Grant of Options            4,233                  $79.19               $0
                                                        3/6/2016;
                                                        3/6/2017
                                                       1/3 each on
                                                        3/6/2016;
  2/23/2015          Grant of Options            5,832                  $59.05               $0
                                                        3/6/2017;
                                                        3/6/2018
 Sub-Total Options from
                                        10,065                           Cost               ($0)
 Grants/Compensation
 Sub-Total Options Exercised             1,725                           Cost          ($73,744)
                           Performance Rights Transactions
 Transaction                                              Vesting                   Funds Spent
                     Unit Grants / Exercises   Units                   Price
    Date                                                   Date                      / Gained
   2/5/2014          Award of PRs                4,158    3/5/2016             $0            $0
                                                        1/2 each on
  2/28/2014          Exercise of PRs            (2,099) 2/28/2012;             $0            $0
                                                         2/28/2014
   2/4/2015          Award of PRs                 4,926 3/5/2016               $0            $0
                                                        1/2 each on
  2/28/2015          Exercise of PRs            (1,764) 2/28/2013;             $0            $0
                                                         2/28/2015

 Sub-Total Awards of PRs                 9,084                            Cost              ($0)
 Sub-Total Exercises of PRs            (3,863)                        Proceeds               n/a
                                  RSU Transactions
 Transaction                                      Vesting                           Funds Spent
             Unit Grants / Exercises   Units                           Price
     Date                                          Date                              / Gained
                                                1/3 each on
                                                 3/6/2015;
  2/21/2014 Award of RSUs                1,233                                 $0            $0
                                                 3/6/2016;
                                                 3/6/2017
                                                1/3 each on
                                                 3/6/2016;
  2/23/2015 Award of RSUs                1,653                                 $0            $0
                                                 3/6/2017;
                                                 3/6/2018

 Sub-Total Awards of RSUs                        2,886                   Cost               ($0)

                                                - 118 -
 Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                     Page 125 of 184 PageID 2529



 Sub-Total Exercises of RSUs                            (0)                  Proceeds             $0
                                              Stock Transactions
 Transaction                                                                             Funds Spent
                          Purchases / Sales              Shares               Price
    Date                                                                                  / Gained
                     Acquired by options                                     See above
  11/5/2013                                                         1,725                  See above
                     exercise
  11/5/2013          Sale                                          (6,393)   $75.6250       $483,471
   2/5/2014          Sale                                            (160)   $74.8600        $11,978
  2/28/2014          Acquired by PR exercise                         2,099         n/a            $0
  2/28/2014          Sale                                          (2,099)   $77.6900       $163,071
   3/6/2014          Sale                                            (352)   $80.1200        $28,202
   5/6/2014          Sale                                          (1,261)   $74.2855        $93,674
   2/5/2015          Sale                                            (123)   $55.7200         $6,854
  2/25/2015          Sale                                          (1,002)   $59.1800        $59,298
  2/28/2015          Acquired by PR exercise                         1,764         n/a            $0
  2/28/2015          Sale                                          (1,764)   $58.0000       $102,312
   3/6/2015          Sale                                            (368)   $57.2900        $21,083
  3/10/2015          Sale                                          (3,883)   $57.2740       $222,395
 Sub-Total Stock Sales                                          (85,608)     Proceeds     $5,149,070
                     Shares Purchased                     0        Transaction Costs             ($0)
                     Shares Acquired by
                                                      1,725        Transaction Costs        ($73,744)
                     Options Exercise
                     Shares Acquired by
                                                          0        Transaction Costs             ($0)
     Totals          RSU Exercise
                     Shares Acquired By PR
                                                      3,863        Transaction Costs             ($0)
                     Exercise
                     Shares Sold                   (17,405) Transaction Proceeds          $1,192,337
                                                     Net Gain to Defendant Smalley        $1,118,594

          223.      The timing of Smalley’s sales further supports a finding of scienter. For instance:

                    (a)       Smalley sold $483,471 in Fluor stock on November 5, 2013, when the stock

 traded near the Class Period high. These sales were made after multiple misleading statements and

 omissions by Defendants, as set forth herein, including after statements and omissions made in

 August 2013. See ¶114.

                    (b)       Smalley sold $163,071 in Fluor stock on February 24, 2014 and $28,202 in

 Fluor stock on March 6, 2014, when the stock traded near the Class Period high. Smalley made this

                                                    - 119 -
 Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                     Page 126 of 184 PageID 2530



 trade when Fluor had initiated construction of the Brunswick County Plant, but before investors were

 alerted to problems with the bid and construction process. These sales also occurred after multiple

 misleading statements and omissions by Defendants, including statements made just six days prior

 on the February 18, 2014 earnings call. See ¶¶116-117; see also ¶114.

                    (c)       Smalley sold $93,674 in Fluor stock on May 6, 2014, shortly after Fluor

 announced its 2013 financial results and after Fluor’s ongoing problems with construction execution,

 including major, costly issues with the Mitsubishi turbines, had already occurred. See ¶90; see also

 ¶¶185-191.

                    (d)       Smalley sold $59,298 in Fluor stock on February 25, 2015 and $102,312 in

 Fluor stock on February 28, 2015, shortly after Fluor announced its 2014 financial results. On the

 earnings call on February 18, 2015, Defendants made misleading statements and omissions and

 continued to conceal issues related to the Brunswick Plant that were well developed by that time.

 See ¶¶99-100. In Q2 2015, the very next quarter after Smalley sold these shares, Fluor would take a

 $10 million charge related to the Brunswick County Plant, which later ballooned to $60 million for

 2015, wiping out the Power segment’s 2015 profitability.

                    (e)       Smalley sold $21,083 in Fluor stock on March 6, 2018 and $222,395 in Fluor

 stock on March 10, 2018. Smalley’s March 2018 sales occurred within weeks of Fluor’s February

 20, 2018 announcement of 2017 results in which Defendants announced their initial 2018 earnings,

 which beat market expectations and caused many analysts to raise their targets and ratings. After

 Defendants set 2018 initial earnings guidance, Smalley immediately sold his stock. Fluor would

 take multiple charges related to the Gas-Fired Plants shortly thereafter, wiping out the Power

 segments profits, resulting in guidance reductions. Smalley’s final Class Period sale occurred before

 these negative announcements.



                                                    - 120 -
 Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                  Page 127 of 184 PageID 2531



                              e.    McSorley’s Class Period Sales

          224.      During the six and half-year period preceding the Class Period (February 1, 2007

 through August 13, 2013), McSorley did not report any PR exercises, RSU exercises, options

 exercises, or sales of Fluor stock. McSorley entered the Class Period with balances of 24,634 Fluor

 shares, 26,772 stock options, 4,445 PRs, and 0 RSUs. McSorley’s transactions during the Class

 Period were as follows:

                               Stock Options Transactions
 Transaction    Options Grants /                    Vesting               Strike   Funds Spent
                                       Shares
    Date             Exercises                        Date                Price     / Gained
    None      None                           n/a           n/a                 n/a         n/a
 Sub-Total Options from
                                               0                             Cost            ($0)
 Grants/Compensation
 Sub-Total Options Exercised                   0                             Cost            ($0)
                            Performance Rights Transactions
 Transaction               Unit Grants /                      Vesting                Funds Spent
                                                 Units                     Price
    Date                    Exercises                          Date                   / Gained
   3/6/2018          Exercise of PRs              (4,694)    3/6/2018           $0             $0

 Sub-Total Awards of PRs                               0                     Cost            ($0)
 Sub-Total Exercises of PRs                      (4,694)                 Proceeds             n/a
                                            RSU Transactions
 Transaction               Unit Grants /                    Vesting                  Funds Spent
                                                Units                      Price
    Date                    Exercises                        Date                     / Gained
                                                          1/3 each on
                                                           3/6/2019;
  2/23/2018          Award of RSUs                 8,601                        $0             $0
                                                           3/6/2020;
                                                           3/6/2021
                                                          1/3 each on
                                                           3/6/2020;
  2/26/2019          Award of RSUs                13,710                        $0             $0
                                                           3/6/2021;
                                                           3/6/2020



 Sub-Total Awards of RSUs                           8,601                    Cost            ($0)
 Sub-Total Exercises of RSUs                           (0)               Proceeds              $0
                                            Stock Transactions
 Transaction                                                                         Funds Spent
                        Purchases / Sales                Shares            Price
    Date                                                                              / Gained
                                                  - 121 -
 Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                    Page 128 of 184 PageID 2532



                     Acquired by PR
   3/6/2018                                                         4,694         n/a             $0
                     exercise
   3/6/2018          Sale                                         (1,538)   $57.5700         $88,543
   3/6/2019          Sale                                           (952)   $36.8000         $35,034
 Sub-Total Stock Sales                                            (1,538) Proceeds           $88,543
                     Shares Purchased                    0        Transaction Costs             ($0)
                     Shares Acquired by
                                                         0        Transaction Costs             ($0)
                     Options Exercise
                     Shares Acquired by
                                                         0        Transaction Costs             ($0)
     Totals          RSU Exercise
                     Shares Acquired By
                                                     4,694        Transaction Costs             ($0)
                     PR Exercise
                     Shares Sold                   (2,490)    Transaction Proceeds         $123,576
                                                   Net Gain to Defendant McSorley          $123,576

          225.      The timing of McSorley’s sale further supports a finding of scienter. For instance:

                    (a)       McSorley sold $88,543 in Fluor stock on March 6, 2018. This sale occurred

 within weeks of Fluor’s February 20, 2018 announcement of 2017 results in which Defendants

 announced their initial 2018 earnings, which beat market expectations and caused many analysts to

 raise their targets and ratings. After Defendants set 2018 initial earnings guidance, McSorley

 immediately sold his stock. Fluor would take multiple charges related to the Gas-Fired Plants

 shortly thereafter, wiping out the Power segment profits, resulting in guidance reductions.

 McSorley’s sale occurred before these negative announcements.

                              f.     Hernandez’s Class Period Sales

          226.      During the six and half-year period preceding the Class Period (February 1, 2007

 through August 13, 2013), Hernandez exercised 11,109 PRs, exercised 15,501 RSUs, exercised

 42,624 options, and sold 66,286 Fluor shares (and 23,662 net shares) for gross proceeds of

 $4,242,174 and net proceeds of $2,604,716. Hernandez entered the Class Period with balances of

 44,486 Fluor shares, 50,019 stock options, 11,109 PRs, and 11,902 RSUs. Hernandez’s transactions

 during the Class Period were as follows:


                                                    - 122 -
 Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                 Page 129 of 184 PageID 2533



                                      Stock Options Transactions
                        Options
 Transaction                                         Vesting                      Funds Spent /
                        Grants /       Shares                     Strike Price
    Date                                              Date                          Gained
                       Exercises
                     Exercise of
                                                   1/3 each on
                     Options
                                                    3/6/2011;
  1/17/2014          [expiration         13,797                      $42.7500          ($589,822)
                                                    3/6/2012;
                     date
                                                    3/6/2013
                     3/2/2020]
                                                   1/3 each on
                     Grant of                        3/6/2015;
  2/21/2014                              28,653                      $79.1900                 $0
                     options                         3/6/2016;
                                                     3/6/2017
                                                   1/3 each on;
                     Grant of                        3/6/2016;
  2/23/2015                              43,416                      $59.0500                 $0
                     options                         3/6/2017;
                                                     3/6/2018
                                                   1/3 each on;
                     Grant of                        3/6/2018;
  2/23/2017                              45,240                      $55.3500                 $0
                     options                         3/6/2019;
                                                     3/6/2020
                                                   1/3 each on
                     Grant of                       5/16/2020;
  5/16/2019                             123,222                      $29.5000                 $0
                     options                        5/16/2021;
                                                    5/16/2022
 Sub-Total Options from
                                        240,531                           Cost               ($0)
 Grants/Compensation
 Sub-Total Options
                                         13,797                           Cost         ($589,822)
 Exercised
                                    Performance Rights Transactions
 Transaction Unit Grants /                           Vesting                      Funds Spent /
                                       Units                         Price
    Date      Exercises                               Date                          Gained
   2/5/2014          Award of PRs        10,663      3/5/2016                $0               $0
                                                   1/2 each on
                     Exercise of
  2/28/2014                             (5,609)    2/28/2012;                $0               $0
                     PRs
                                                    2/28/2014
   2/4/2015          Award of PRs        17,174      2/6/2017                $0               $0
                                                   1/2 each on
                     Exercise of
  2/28/2015                             (5,500)    2/28/2013;                $0               $0
                     PRs
                                                    2/28/2015
                     Exercise of
   2/5/2016                            (10,663)      2/5/2016                $0               $0
                     PRs
                     Exercise of
   2/6/2017                            (17,174)      2/6/2017                $0               $0
                     PRs
                     Exercise of
  2/19/2019                             (6,175)      3/6/2019                $0               $0
                     PRs
                                                  - 123 -
 Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                Page 130 of 184 PageID 2534




 Sub-Total Grants of PRs              27,837                           Cost                ($0)
 Sub-Total Exercises of PRs         (45,121)                       Proceeds                 n/a
                                        RSU Transactions
 Transaction Unit Grants /                      Vesting                         Funds Spent /
                                    Units                          Price
    Date      Exercises                           Date                            Gained
                                              1/3 each on
                     Award of                  3/6/2015;
  2/21/2014                            8,337                               $0               $0
                     RSUs                      3/6/2016;
                                                3/6/2017
                                              1/3 each on
                     Award of                  3/6/2016;
  2/23/2015                           12,297                               $0               $0
                     RSUs                      3/6/2017;
                                                3/6/2018
                                              1/3 each on
                     Award of                  3/6/2017;
  2/23/2016                           28,068                               $0               $0
                     RSUs                      3/6/2018;
                                                3/6/2019
                                              1/3 each on
                     Award of                  3/6/2018;
  2/23/2017                           12,990                               $0               $0
                     RSUs                      3/6/2019;
                                                3/6/2020
                                              1/3 each on
                     Award of                  3/6/2019;
  2/23/2018                           24,507                               $0               $0
                     RSUs                      3/6/2020;
                                                3/6/2021
                                              1/3 each on
                     Award of                  3/6/2020;
  2/26/2019                           42,429                               $0               $0
                     RSUs                      3/6/2021;
                                                3/6/2020
                                              1/3 each on
                     Award of                 5/16/2020;
  5/16/2019                           33,900                               $0               $0
                     RSUs                     5/16/2021;
                                               5/16/2022

 Sub-Total Grants of RSUs           162,528                            Cost                ($0)
 Sub-Total Exercises of
                                         (0)                       Proceeds                 $0
 RSUs
                                       Stock Transactions
 Transaction          Purchases /                                               Funds Spent /
                                          Shares                   Price
    Date                  Sales                                                   Gained
                     Acquired by
  1/17/2014          options                             13,797    See above          See above
                     exercise
  1/17/2014          Sale                           (13,797)       $82.0000          $1,131,354

                                               - 124 -
 Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                  Page 131 of 184 PageID 2535



  2/28/2014          Sale                                (2,320)     $77.6900              $180,241
   3/6/2014          Sale                                (2,972)     $80.1200              $238,117
  2/28/2015          Sale                                (1,648)     $58.0000               $95,584
   3/6/2015          Sale                                (3,348)     $57.2900              $191,807
   2/5/2016          Sale                                (2,980)     $44.8400              $133,623
   3/3/2016          Sale                                (4,024)     $49.1700              $197,860
   2/6/2017          Sale                                (4,732)     $55.3400              $261,869
   3/6/2017          Sale                                (2,886)     $55.0400              $158,845
  2/26/2018          Sale                               (30,257)     $58.2530            $1,762,561
   3/6/2018          Sale                                  (999)     $57.5700               $57,512
  2/19/2019          Purchase                                363           n/a                   $0
   3/6/2019          Sale                                (1,990)     $36.8000               $73,232
  5/13/2019          Purchase                             17,001     $29.5150            ($501,785)

 Sub-Total Stock Sales                                  (71,953)   Proceeds              $4,482,605


                     Shares
                                          17,001             Transaction Costs           ($501,785)
                     Purchased
                     Shares
                     Acquired by
                                          13,797             Transaction Costs           ($589,822)
                     Options
                     Exercise
                     Shares
     Totals          Acquired by
                                               0             Transaction Costs                 ($0)
                     RSU
                     Exercise
                     Shares
                     Acquired By          45,121             Transaction Costs                 ($0)
                     PR Exercise
                     Shares Sold        (71,953)        Transaction Proceeds             $4,482,605
                                            Net Gain to Defendant Hernandez              $3,390,999

                              g.    Chopra’s Class Period Sales

          227.      During the six and half-year period preceding the Class Period (February 1, 2007

 through August 13, 2013), Chopra did not report any PR exercises, RSU exercises, options

 exercises, or sales of Fluor stock. Chopra entered the Class Period with balances of 6,240 Fluor

 shares, 30,325 stock options, 6,103 PRs, and 0 RSUs. Chopra’s transactions during the Class Period

 were as follows:
                                                   - 125 -
 Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                 Page 132 of 184 PageID 2536



                                      Stock Options Transactions
                       Options
 Transaction                                         Vesting                     Funds Spent /
                       Grants /        Shares                    Strike Price
    Date                                              Date                         Gained
                       Exercises
                      Grant of                     1/3 each
                      Options                         on
                                                  3/6/2018;
   2/23/2017          [expiration           7,818                   $55.3500                 $0
                                                  3/8/2019;
                      date                        3/20/2020
                      2/23/2027]
                      Exercise of
                      Options
   2/23/2018          [expiration           2,589     2,589            $46.07         ($119,275)
                      date
                      2/23/2026]

 Sub-Total Options from
                                            7,818                        Cost               ($0)
 Grants/Compensation
 Sub-Total Options
                                            2,589                        Cost         ($119,275)
 Exercised
                                    Performance Rights Transactions
                         Unit
 Transaction                                         Vesting                     Funds Spent /
                       Grants /         Units                       Price
    Date                                              Date                         Gained
                       Exercises
                      Exercise of
    2/5/2014                               (3,284)   2/6/2017               $0               $0
                      PRs
                      Exercise of
    3/6/2018                               (2,977)   3/6/2018               $0               $0
                      PRs

 Sub-Total Grants of PRs                        0                        Cost               ($0)
 Sub-Total Exercises of
                                           (6,261)                  Proceeds                 n/a
 PRs
                                           RSU Transactions
                          Unit
 Transaction                                         Vesting                     Funds Spent /
                        Grants /        Units                       Price
    Date                                              Date                         Gained
                        Exercises
                                                     1/3 each
                                                         on
                      Award of
   2/23/2017                                3,819    3/6/2018;              $0               $0
                      RSUs
                                                     3/6/2019;
                                                     3/6/2020




                                                - 126 -
 Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                     Page 133 of 184 PageID 2537



                                                        1/3 each
                                                            on
                      Award of
   2/23/2018                                  4,731     3/6/2019;               $0                   $0
                      RSUs
                                                        3/6/2020;
                                                        3/6/2021

 Sub-Total Grants of RSUs                     8,550                         Cost                   ($0)
 Sub-Total Exercises of
                                                 (0)                    Proceeds                     $0
 RSUs
                                           Stock Transactions
 Transaction          Purchases /                                                     Funds Spent /
                                               Shares                   Price
     Date                Sales                                                          Gained
   2/6/2017           Sale                                    (961)     $55.3400             $53,182
   3/6/2017           Sale                                    (716)     $55.0400             $39,409
  3/14/2017           Sale                                  (1,800)     $53.8530             $96,935
  2/23/2018           Sale                                  (5,553)     $57.4863            $319,221
   3/6/2018           Sale                                    (726)     $57.5700             $41,796
   3/6/2018           Sale                                    (426)     $57.5700             $24,525
   3/6/2018           Sale                                  (3,889)     $57.5700            $224,350

 Sub-Total Stock Sales                                   (14,071)     Proceeds                $799,417
                      Shares
                                                  0             Transaction Costs                  ($0)
                      Purchased
                      Shares
                      Acquired
                                              5,178             Transaction Costs           ($238,550)
                      by Options
                      Exercise
                      Shares
                      Acquired
     Totals                                       0             Transaction Costs                  ($0)
                      by RSU
                      Exercise
                      Shares
                      Acquired
                                              6,261             Transaction Costs                  ($0)
                      By PR
                      Exercise
                      Shares Sold          (14,071)     Transaction Proceeds                  $799,417
                                                Net Gain to Defendant Chopra                  $560,867

          228.      The Individual Defendants’ transactions during the Class Period, while the fraud was

 ongoing and the true facts of Fluor’s business and operations as alleged herein remained hidden from



                                                  - 127 -
 Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                    Page 134 of 184 PageID 2538



 investors, yielded them more than $34 million in net ill-gotten gains from prices inflated by the fraud

 alleged herein. These sales constitute strong evidence of scienter. 13

                    2.        The Individual Defendants Were Motivated to Lower Cost
                              Estimates, Underbid Projects, and Win Projects Regardless of
                              Enhanced Risk so as to Increase Their Compensation

          229.      During the Class Period, Defendants were motivated to underbid and win risky

 contract awards by Fluor’s unusual executive compensation plan. Fluor’s executive compensation

 plan had three main components: base salary, an annual incentive award, and long-term incentives.

 The incentive components far outweighed the salary component, by up to as much as nine times.

 Under the plan, Fluor’s executive compensation was directly and significantly tied to new contract

 awards, regardless of how those projects performed in the future. This incentive was also passed

 down to the Individual Defendants’ direct reports and other executives.

          230.      In particular, a “key factor[]” in the long-term incentive, as described in the 2013

 Proxy Statement, filed on Form DEF 14A on March 13, 2013 (“2013 Proxy Statement”), was “the

 achievement of targets related to new awards gross margin.” New awards gross margin, which

 “contributes to backlog,” was measured in both dollars and percentage, and was an estimate of future

 profits (i.e., margins) generated by new contracts. Although these measures were “not reported in

 our financial statements,” the Company explained the measure:

                  New awards gross margin dollars measures the total amount of project gross
          margin that the company expects to receive as a result of projects awarded within the
          performance period. New awards gross margin percentage is the total amount of
          gross margin the company expects to receive as a result of projects awarded within
          the performance period as a percentage of expected revenue from these projects.

          231.      Paradoxically, the Company measured the “long-term” incentive payouts based on a

 short-term measure – i.e., what the Company currently “expects to receive” from projects. The

 13
     Defendant Steuert was not a reporting person throughout most of the time period at issue, such
 that his transactions in Fluor securities are not publicly known and cannot fully be assessed for
 purposes of the scienter analysis.

                                                  - 128 -
 Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                  Page 135 of 184 PageID 2539



 Company attempted to justify this in their 2013 Proxy Statement, stating that “although measured

 over a relatively short period, [the new awards gross margin measures] relate to contracts that

 typically will extend a number of years into the future and thus will generate, and position the

 company for, increased future earnings.” During the Class Period, long-term incentives vested by

 various percentages over three years, much quicker than the five- and ten-year vesting schedules in

 years prior to the Class Period. What was not disclosed, however, was that this structure provided

 the Individual Defendants the incentive to sign risky contracts, front load deals, and take charges in

 future periods when they would not impact their compensation. As described herein, this is exactly

 what happened. The Brunswick County Plant, Greensville County Plant, Anderson County Plant,

 Citrus County Plant, Radford Plant, CPChem Project, Warren Project, and Penguins Offshore

 Project – all troubled fixed-price projects on which the Company took massive charges during the

 Class Period – were awarded or contracted under this perverse incentive structure.

          232.      For fixed-price contracts, such as the gas-fired and offshore contracts discussed

 herein, the “new awards gross margin” was calculated as the difference between the fixed-price

 contract amount and the Company’s internal estimate of costs to complete the contract. As

 explained herein, the Individual Defendants had the opportunity to manipulate bids because they

 personally reviewed, adjusted, and approved the bids. By artificially lowering the estimate of costs

 to complete a particular contract, Defendants achieved two objectives important to their self-interest,

 and correspondingly greater executive compensation: (a) winning the contract by producing a low

 bid; and (b) creating greater “new awards gross margin” by inflating the appearance of profitability.

 As a result, the Individual Defendants directly increased their compensation in the years the fixed-

 price contracts detailed herein were awarded, regardless of how unrealistic the bid assumptions were

 or how poorly the contracts would actually perform in the future.



                                                 - 129 -
 Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                   Page 136 of 184 PageID 2540



          233.      Fluor’s 2012 executive compensation is described in its 2013 Proxy Statement. 14

 Fluor’s annual incentive award was tied to earnings, Return on Operating Assets Employed

 (“ROAE”), 15 and safety, but this constituted only 14% of target total direct compensation. Target

 long-term incentives, in contrast, constituted 75% of total direct compensation. The form of payout

 for the long-term incentive was roughly equal components of Value Driver Incentive (“VDI,” paid in

 stock or cash), Stock Options, and Restricted Stock Units (“RSU”).

          234.      For 2012, the year Fluor was awarded the Brunswick County Plant, the Company

 reported that the actual payout related to new awards gross margin was 147% of the target payout

 level. As reported in the 2013 Proxy Statement, Seaton was granted more than $8 million in

 incentive compensation, or 726% more than his base salary. Porter was granted more than $6

 million in incentive compensation, or 1,135% more than his base salary. Stanski was granted more

 than $1.3 million in incentive compensation, or 258% more than his base salary.

          235.      Fluor’s 2013 executive compensation is described in its 2014 Proxy Statement, filed

 on Form DEF 14A on March 11, 2014 (“2014 Proxy Statement”). The structure, payout form,

 granting, vesting, and trading under the plan remained similar to 2012.

          236.      For 2013, the year Fluor bid on the Radford Plant and won the CPChem Project, the

 Company reported that the actual payout related to new awards gross margin was 131% of the target

 payout level. As reported in the 2014 Proxy Statement, Seaton was granted more than $9.9 million

 in incentive compensation, or 839% more than his base salary. Porter was granted more than $2.9



 14
    Fluor determines the prior year’s payout and sets targets for the upcoming year typically in
 February, sometime closely after the prior year’s results are available.
 15
     According to the 2013 Proxy Statement, ROAE is calculated by dividing full-year corporate net
 earnings (excluding interest expense) by net assets employed (total assets (excluding excess cash and
 current and non-current marketable securities) minus current liabilities (excluding non-recourse
 debt)).

                                                  - 130 -
 Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                    Page 137 of 184 PageID 2541



 million in incentive compensation, or 371% more than his base salary. Stanski’s incentive

 compensation was not reported.

          237.      Fluor’s 2014 executive compensation is described in its 2015 Proxy Statement, filed

 on Form DEF 14A on March 9, 2015 (“2015 Proxy Statement”). This year, the target annual

 incentive award was changed slightly to constitute 16% of total direct compensation, and target long-

 term incentives constituted 73% of total direct compensation. Payout form, granting, vesting, and

 trading under the plan remained similar to 2012.

          238.      For 2014, the year Fluor bid on the Greensville County Plant and was awarded the

 Anderson and Citrus County Plants, the Company reported that the actual payout related to new

 awards gross margin was the maximum of the target payout level – 200%. As reported in the 2015

 Proxy Statement, Seaton was granted more than $10.5 million in incentive compensation, or 855%

 more than his base salary. Porter was granted more than $2.7 million in incentive compensation, or

 343% more than his base salary. Stanski’s incentive compensation was not reported.

          239.      For 2015 and 2016, Fluor changed its long-term incentive plan “in order to better

 align named executive pay with long-term performance.” The changes included removing the new

 awards gross margin measurement from the long-term incentive plan and replacing it with a three-

 year cumulative EPS and a three-year average ROAE – actual earnings measurements. On February

 18, 2015, during Fluor’s Q4 2014 earnings call, Seaton explained the changes but stated that Fluor

 employees were still incentivized by new award margin, and that the changes were made purely in

 response to changing disclosure laws:

                  [Analyst:] David, I wanted to get your perspective a little bit on the change in
          the executive compensation plan that was announced a couple of weeks ago.
          Previously the long-term plan was based on gross margin of new awards and new
          awards in total. It looks like for 2015 the emphasis has been placed on EPS growth
          over a longer period of time as well as return on assets employed.

                  Given that what is the thought process around that? Is that just a recognition
          that there is going to have to be a little bit more operational focus from the Board
                                                   - 131 -
 Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                    Page 138 of 184 PageID 2542



          given that the award slate is maybe slowing down? Is this just a pivot point? I think
          some perspective as to why those changes are made would be helpful.

                  [Seaton:] Disclosure laws, it is pretty simple. I still believe, and many of our
          people are still compensated on the basis of new award margin and percent margin –
          dollars and percent margin because I think that is the best indicator of future health
          and future earnings of the Company.

                 We are not going to disclose the metrics around there. So, what we have
          done is we have changed – we have changed to EPS and returns specifically to
          avoid disclosing something that we think is a competitive metric.

                  [Analyst:] Got you. So in the past you have been able to not disclose and still
          be incentivized on that, but in the future there was some change that you didn’t feel
          like you could still do that and (multiple speakers)?

                    [Seaton:] Correct.

                    [Analyst:] Okay.

                    [Seaton:] Correct.

          240.      For 2015, the Company did not meet its minimum long-term incentive target

 minimums, and for 2016, it only achieved 22% of its target. See 2018 and 2019 Proxy Statements.

 Because the long-term incentive was measured by targets reflecting actual earnings, Seaton and

 Porter’s compensation attributable to long-term incentive was significantly reduced. During 2015

 and 2016, however, Fluor did not bid on any of the fixed-price contracts that it has identified by

 name as those requiring financial charges.

          241.      However, in 2017, just in time to capture its bid on the Penguins Offshore Project –

 another troubled fixed-price project – Fluor reverted to prior years’ long-term incentive

 measurement that paid executives based largely on new awards volume. Fluor’s 2017 executive

 compensation is described in its 2018 Proxy Statement, filed on Form DEF 14A on March 8, 2018

 (“2018 Proxy Statement”). The Company removed its EPS measurement from the long-term

 incentive and added back the annual new awards gross margin percentage. Fluor stated that the

 changes were “to motivate and reward the achievement of superior operating results and stock price


                                                  - 132 -
 Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                     Page 139 of 184 PageID 2543



 appreciation” but misleadingly stated that “[w]e design compensation programs that do not

 encourage behavior that could create material adverse risks to our business.” Due to these changes,

 the Company had to justify why its long-term incentive was still “measured over a relatively short

 period.” Target long-term incentives were 73% of total direct compensation for the CEO, and 64%

 for other officers. The target annual incentive award for the CEO was 16% of total direct

 compensation and was increased to 17% for other executives. Fluor also added back stock options

 as a form of payout, making VDI 50% and options and RSUs equal at 25%, tilting the incentive to

 take risks to increase the stock price. This structure provided the Individual Defendants with the

 incentive to sign risky contracts and take charges in future periods that would not impact their

 compensation.

          242.      For 2017, the year Fluor bid on the Penguins Offshore Project, as reported in the 2018

 Proxy Statement, Seaton was granted more than $8.6 million in incentive compensation, or 669%

 more than his base salary. Porter was granted more than $2.5 million in incentive compensation, or

 306% more than his base salary. Stanski was granted more than $1.7 million in incentive

 compensation, or 263% more than his base salary.

          243.      Fluor’s 2018 executive compensation is described in its 2019 Proxy Statement, filed

 on Form DEF 14A on March 11, 2019 (“2019 Proxy Statement”). Fluor made changes to its annual

 incentive plan, this time inserting a “strategic component weighted at 25%” that called for individual

 goals for the executives. For the long-term plan, Fluor only modified the long-term incentive award

 mix back to 50% performance-based VDI awards and 50% RSUs, except with respect the CEO, who

 also received a 4% stock option. Fluor stated that its changes were “to reward executives for

 strategic outcomes that position the Company for future success and to balance corporate and

 business line or functional goals” and now stated that they “[p]rovide a balanced program” that does

 not “encourage behavior that could create material adverse risks to our business.” Target long-term

                                                   - 133 -
 Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                    Page 140 of 184 PageID 2544



 incentives were 74% of total direct compensation for the CEO, and 64% for other officers. The

 target annual incentive award for the CEO was 16% of total direct compensation and was increased

 to 18% for other executives. This structure provided the Individual Defendants the incentive to sign

 risky contracts and take charges in future periods that would not impact their compensation.

          244.      For 2018, the year Fluor was awarded the Warren Project, as reported in the 2019

 Proxy Statement, Seaton was granted more than $11 million in incentive compensation, or 830%

 more than his base salary. Stanski was granted more than $2.7 million in incentive compensation, or

 391% more than his base salary.

          245.      When the millions of dollars’ worth of charges from Defendants’ unrealistic and risky

 bids were coming to light, on September 24, 2019 during Fluor’s Corporate Strategic Review

 Webcast, new CEO Hernandez was asked by an analyst from Goldman Sachs Group Inc., Jerry

 David Revich, about how Fluor would change the compensation structure of executives and

 management. Hernandez admitted that Fluor’s prior incentive compensation programs were

 improper – rewarding executives based on contracts awarded not on actual performance of those

 contracts – including for those throughout the Company:

                  [Analyst:] . . . And also can you talk about the performance metrics that you
          will be implementing going forward for your direct reports and key executives and
          touch on how that’s different from the prior approach, please?

                                              *       *      *
                  [Hernandez:] . . . In the past, we have had incentives – long-term incentives
          that were based more on as sold numbers, which, historically, we have always met,
          but in recent times, we have not. So now we’re going to actually be measuring
          people and incentivizing people based on actual earnings and return on assets
          employed, and that’s going to be in place with the next LTI Award.

          246.      Fluor has not filed its 2020 Proxy Statement and its 2019 Form 10-K, usually filed

 before a proxy statement, has been delayed. Thus, aspects of Fluor’s 2019 executive compensation

 plan and actual payouts remain undisclosed.


                                                   - 134 -
 Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                     Page 141 of 184 PageID 2545



          247.      Fluor’s unusual incentive compensation plan, which directly tied a significant portion

 of Defendants’ compensation to new contract awards regardless of how those plants performed in

 the future, provides further indicia of scienter.

                    3.        Fluor Was Motivated to Win Repeat Business from Dominion
                              and Duke Even if Doing so Required Underbidding on Projects

          248.      Leading up to and during the Class Period, Defendants were motivated to win Duke’s

 and Dominion’s EPC business.

          249.      According to CW-3 – who worked on the Brunswick County and Greensville County

 Plants commissioned by Dominion – Dominion was a key customer with which Fluor wanted to do

 repeat business. Fluor had previously lost work for Dominion, and wanted to get back in

 Dominion’s good graces at the time it was bidding on the EPC contracts for the Brunswick County

 and Greensville County Plants.

          250.      According to CW-5 – who worked on the Citrus County Plant commissioned by

 Duke – prior to awarding Fluor the Anderson and Citrus County Plants, Duke did not want to work

 with Fluor because of some problematic projects Duke had with Fluor in the 1990s and 2000s. CW-

 5 stated that Fluor was desperate to obtain Duke projects and that winning Duke projects was a

 focus.

          251.      At the June 4, 2015 Credit Suisse Engineering & Construction Conference, Seaton

 crowed: “You’ve seen where we’ve picked up some work in gas with Duke and also with Dominion.

 So, I feel good about where we stand there.” At Fluor’s November 13, 2014 Investor Day, McSorley

 highlighted the historical business relationship between Duke and the Company’s corporate

 predecessor, Fluor Daniel, and noted that the Company “focus[es] in on some select clients, ones . . .

 that show the growth plans and have the wherewithal to move forward with those.” After

 announcing the EPC contract awards for the Anderson and Citrus County Plants, McSorley


                                                   - 135 -
 Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                     Page 142 of 184 PageID 2546



 announced that the Company was “very pleased to be working with Duke” and that it aimed “to

 perform extremely well here and continue a long-term relationship with them.”

          252.      Similarly, Seaton stated on April 30, 2015:

          I think it’s still a competitive marketplace, but I’m comfortable with the ones that
          we’ve won. Getting back with Duke, which was really, really important for us from
          a customer’s perspective, has been very positive.

                 And then our relationship with Dominion, I think Greensville shows that we
          execute for them on the projects that they need. That’s a very large project that
          we’re going to backlog next year when we get to final notice to proceed

          253.      With respect to the Greensville County Plant commissioned by Dominion, Seaton

 went on to state: “Greensville is a very, very important win and a very large project.”

          254.      Defendants, therefore, were motivated to provide low-ball bids in order to win Duke

 and Dominion contracts and attract repeat business and to conceal that conduct from investors so as

 to maintain Fluor’s stock price despite its risky bidding practices.

                    4.        Fluor Issued Debt During the Class Period

          255.      During the Class Period, Fluor announced its intention to raise more than $1.6 billion

 while its securities traded at prices elevated by the fraud alleged herein.

          256.      In a November 18, 2014 press release and Form 8-K, signed by Porter, Fluor

 announced a public offering of $500 million in 3.5% senior unsecured notes maturing in 2024,

 pursuant to an effective shelf registration statements on file with the SEC, for the express purpose of

 raising funds to increase Fluor’s share repurchase program by 10 million shares, with such offering

 to close on November 25, 2014. In a November 25, 2014 press release, which quoted Seaton, Fluor

 announced that this offering had closed.

          257.      Fluor disclosed an Underwriting Agreement, dated March 14, 2016, which it filed

 with the SEC as an exhibit to a Form 8-K filed March 15, 2016, signed by Porter, pursuant to which

 it would issue and sell €500 million (roughly $556 million) of 1.750% Senior Notes due 2023, with

                                                   - 136 -
 Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                     Page 143 of 184 PageID 2547



 such issuance to occur on March 21, 2016. On March 14, 2016, Bloomberg reported that Fluor

 marketed the bonds in Euros to take advantage of falling borrowing costs following stimulus

 measures by the European Central Bank. In a March 21, 2016 press release, which quoted Seaton,

 Fluor announced that this offering had closed.

          258.      In an August 20, 2018 press release, Fluor announced that it had priced an offering of

 $600 million in 4.250% senior unsecured notes, maturing 2028, made pursuant to an effective shelf

 registration statement on file with the SEC, with net proceeds expressly to be used to redeem or

 repay outstanding indebtedness, which offering was expected to close on August 29, 2018.

          259.      These offerings, during the fraud alleged herein, are evidence of Fluor’s corporate

 scienter.

 IX.      FLUOR’S RESTATEMENT FURTHER ESTABLISHES FALSITY AND
          SCIENTER

          260.      On September 25, 2020, Fluor issued its 2019 annual report on Form 10-K, which

 restated its financial statements for the three years ended December 31, 2016, 2017, and 2018, and

 each quarterly financial statement for 2018 and 2019 (the “Restatement”) and made numerous

 damning admissions that establish both falsity and scienter regarding the fraud Plaintiffs allege

 herein. First, the Restatement provides that, contrary to its Class Period assurances, Fluor “pursued

 and [was] awarded a larger percentage of high-risk lump-sum contracts which resulted in the

 company assuming a higher risk profile.” Second, in contrast to its Class Period statements

 regarding the purported effectiveness of Fluor’s disclosure controls, the Restatement confirms that

 Fluor’s “disclosure controls and procedures were not effective . . . due to the existence of the

 material weaknesses in our ICFR.” 16 Third, the Restatement confirms that Fluor’s Class Period

 statements regarding its revenue recognition practices were false in light of material weaknesses that


 16
       “ICFR” refers to “internal controls over financial reporting.”

                                                   - 137 -
 Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                    Page 144 of 184 PageID 2548



 “resulted in incorrect recognition of revenue and projected losses.” Finally, the Restatement

 establishes that Fluor’s financial statements were “materially incorrect” when issued and “should no

 longer be relied upon” due to accounting errors that led to “overstate[d] revenue” and “understate[d]

 cost[s]” on fixed-price projects between 2016 and September 30, 2019. These findings resulted from

 an internal investigation led by a “Special Committee” of more than 100 “legal and accounting

 advisors.” They also buttress the allegation herein (¶172(f)) that those financial statements

 contained misstatements and omissions that, inter alia, violated Regulation S-K, Item 303.

          261.      From an accounting and SEC reporting perspective, a restatement of previously

 issued financial statements is an admission that a public registrant’s prior financial statements were

 materially false and misleading when issued based on the facts that existed at the time the financial

 statements were originally issued. Specifically, GAAP and FASB’s ASC define an “error in

 previously issued financial statements” as follows:

                  An error in recognition, measurement, presentation, or disclosure in financial
          statements resulting from mathematical mistakes, mistakes in the application of
          generally accepted accounting principles (GAAP), or oversight or misuse of facts
          that existed at the time the financial statements were prepared. 17

 ASC 250-10-45-23 requires that such accounting errors are to be corrected through a “restatement”:

          Any error in the financial statements of a prior period discovered after the financial
          statements are available to be issued . . . shall be reported as an error correction, by
          restating the prior-period financial statements . . . . Financial statements for each
          individual prior period presented shall be adjusted to reflect correction of the period-
          specific effects of the error.

          262.      The requirement to restate errors in previously issued financial statements applies

 only to material errors. Specifically, ASC 250-10-S99-2 provides that “[c]orrecting prior year

 financial statements for immaterial errors would not require previously filed reports to be amended.”




 17
      See ASC 250-10-20.

                                                  - 138 -
 Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                   Page 145 of 184 PageID 2549



          263.      Therefore, in accordance with GAAP, the Restatement reflects Fluor’s conclusion and

 acknowledgement that: (1) GAAP accounting errors existed in Fluor’s previously issued financial

 statements; (2) the accounting errors were material; and (3) the accounting errors resulted from the

 oversight or misuse of facts that existed at the time the previously issued financial statements were

 originally presented. 18

          A.        The Restatement Further Establishes the Falsity of Certain Class
                    Period Misrepresentations and Omissions

                    1.        Fluor’s Purportedly Conservative Bidding Process and Risk
                              Management

          264.      Statement Nos. 1-19. Throughout the Class Period, in an effort to assuage the

 market’s concern over Fluor’s growing portfolio of fixed-price contracts, Defendants falsely assured

 investors that they had “not seen [Fluor’s] risk profile increase” and that they were “very

 comfortable with [the] risk profile” associated with the Company’s fixed-price contract awards.

 ¶¶90, 95, supra. According to Defendants, their “highly selective” and “very conservative”

 approach to bidding fixed-price contracts allowed the Company, unlike its competitors, to simply

 “say no” to those fixed-price projects that were high-risk or would not earn the profitability the

 Company desired. See ¶¶87-90, 92-97, 99-105, 108-109, 111, supra.

          265.      As disclosed in the Restatement, however, the Special Committee concluded “that in

 executing a growth strategy,” the former senior management team (i.e., Defendants) “pursued and

 . . . were awarded a larger percentage of high-risk lump-sum contracts which resulted in the

 company assuming a higher risk profile.” The Special Committee also concluded that Fluor “did


 18
     Although “mathematical mistakes” and “mistakes in the application of” GAAP are also grounds
 for a restatement, Fluor did not indicate that its Restatement was the result of such mistakes. Rather,
 the Restatement was the result of a wide-ranging Special Committee review that uncovered that
 Fluor’s “former senior management team pursued” high-risk contracts and provided estimates that
 were “too optimistic.” The Restatement also confirms that “prior business line management applied
 inappropriate pressure to project personnel.”

                                                  - 139 -
 Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                    Page 146 of 184 PageID 2550



 not adequately enhance its operational risk framework to effectively manage the type, increased

 volume and higher proportion of these lump-sum contracts,” and that in certain instances the

 Company had submitted bids that were “designed to enhance the probability of winning the contracts

 in a competitive market” and “were at times too optimistic.”

                    2.        Fluor’s Disclosure Controls and Procedures

          266.      As a public registrant, Fluor was subject to the provisions of SOX. SOX §§302 and

 404 required Defendants to assess Fluor’s internal controls over financial reporting and disclose

 whether or not such controls were effective to prevent or detect a material GAAP misstatement in

 Fluor’s financial statements. The SEC has stated that its rule implementing SOX and requiring these

 internal controls over financial reporting certifications was “intended to bring information about

 material weaknesses in [internal controls over financial reporting] into public view.” 19 “A material

 weakness is a deficiency, or a combination of deficiencies, in internal controls over financial

 reporting, such that there is a reasonable possibility that a material misstatement of the company’s

 annual or interim financial statements will not be prevented or detected on a timely basis.” 20 As

 described herein, the Restatement establishes that Fluor’s annual and interim financial statements

 included numerous material misstatements, including recurrent overstating of segment and total

 revenues and profit and understating of costs and net loss.



 19
      See SEC Release No. 33-8810, §II.B.3, at 38 (June 27, 2007).
 20
     See PCAOB Auditing Standard (“AS”) No. 5, ¶A7. An ICFR deficiency exists when the design
 or operation of a control does not allow management or employees, in the normal course of
 performing their assigned functions, to prevent or detect misstatements on a timely basis. As set
 forth under PCAOB AS No. 5, ¶A3, a design deficiency “exists when (a) a control necessary to meet
 the control objective is missing or (b) an existing control is not properly designed so that, even if the
 control operates as designed, the control objective would not be met.” An operating deficiency
 “exists when a properly designed control does not operate as designed, or when the person
 performing the control does not possess the necessary authority or competence to perform the
 control effectively.” Id.

                                                  - 140 -
 Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                  Page 147 of 184 PageID 2551



          267.      Statement Nos. 37-39. In each of Fluor’s previously issued annual reports for the

 three years ended December 31, 2016, 2017, and 2018 and quarterly reports for 2018 and 2019,

 Defendants represented that management had evaluated the Company’s internal controls over

 financial reporting and “concluded that the company’s internal control over financial reporting was

 effective.” ¶¶141-142, supra. Each annual and quarterly report also contained certifications from

 Defendants that: (a) the report “fairly present[ed] in all material respects the financial condition

 [and] results of operations” of the Company; (b) the report “d[id] not contain any untrue statement of

 a material fact”; and (c) the Company had disclosed “[a]ll significant deficiencies and material

 weaknesses in the design or operation of internal control over financial reporting.” ¶143, supra.

          268.      The Restatement confirms that these statements were false because, despite prior

 assurances to the contrary, Fluor’s internal controls over financial reporting were ineffective due to

 the existence of multiple, admitted material weaknesses during the period 2016 through Q4 2019.

          269.      As confirmed by the Restatement, “[a] material weakness is a deficiency, or

 combination of deficiencies, in internal controls over financial reporting, such that there is a

 reasonable possibility that a material misstatement of the company’s annual or interim financial

 statements will not be prevented or detected on a timely basis.” It disclosed that, during the Class

 Period, Fluor suffered from “material weaknesses in controls related to the Company’s failure to

 timely identify the out-of-period effects of adjustments related to project cost forecasts and the

 estimation of the amount of variable consideration, as well as controls over the project cost

 forecasting process and non-compliance with the Company’s established policies and procedures.”

 Specifically, the Restatement identified the following material weaknesses, which rendered the

 Company’s internal controls ineffective and its Class Period statements regarding the purported

 effectiveness of its internal controls misleading:



                                                 - 141 -
 Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                     Page 148 of 184 PageID 2552



          •         As of December 31, 2019, we determined there was a material weakness in
                    FFS due to a failure to timely identify the out-of-period effects of
                    adjustments related to the forecast, as well as adjustments related to the
                    estimation of the amount of variable consideration, for the Radford project.
                    These failures resulted in incorrect recognition of revenue and projected
                    losses on the project in 2019 and prior. In periods prior to 2019, FFS also did
                    not maintain effective controls over project cost forecasting, primarily driven
                    by a failure to maintain a sufficient complement of project level personnel
                    with appropriate levels of accounting and controls knowledge for the Radford
                    project.

          •         Former leaders of our Energy & Chemicals segment caused pressure to be
                    applied on the individuals charged with accounting and finance
                    responsibilities in a manner intended to present overly optimistic forecasts
                    across certain Energy & Chemicals projects. This resulted in a material
                    weakness in the Energy & Chemicals segment associated with its non-
                    compliance with Fluor’s policies and procedures designed to promote a
                    commitment to ethical practices. Although the pressure did not result in
                    inaccurate forecasts in all instances in which it was applied, in certain
                    instances the pressure gave rise to an override of our project controls on a
                    project and resulted in errors in our financial statements due to unsupported
                    forecasted estimates.

          270.      Statement Nos. 45, 49, 52, 54, 56-57, 60-61, and 63. From November 2016 to May

 2019, as Defendants continued to take charges and make forecast revisions on the fixed-price

 projects, they repeatedly and falsely assured the market that they had actually enhanced the

 Company’s internal controls and “significantly increased the independent review of critical

 projects” so as to prevent additional charges in the future. ¶153, supra; see also ¶¶149, 156, 162,

 163, 166-167, 170, supra. When disclosing charges related to fixed-price gas-fired plants in the

 Power segment, Defendants falsely assured the market that such problems stemmed from “a

 confined problem within a group” – i.e., the Power segment. ¶159, supra

          271.      As discussed above, however, the Restatement reveals that Fluor did not maintain

 effective controls or enhance its project review process “in 2019” and “[i]n periods prior to 2019”

 which “resulted in incorrect recognition of revenue and projected losses” during 2016 to 2019.

 Moreover, the Restatement confirms “that the company did not adequately enhance its operational

 risk framework to effectively manage the type, increased volume and higher proportion of these
                                             - 142 -
 Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                   Page 149 of 184 PageID 2553



 lump-sum contracts.” Furthermore, as described herein, the Restatement makes clear that Fluor’s

 project problems were not confined to the gas-fired plants in the Power segment. Rather, the same

 bidding, execution, and accounting problems plagued fixed-price projects in all of the Company’s

 segments.

                    3.        Fluor’s Practices Related to Revenue Recognition and
                              Projected Losses

          272.      As described in ¶¶36-43, supra, GAAP required Defendants to identify, estimate, and

 accumulate all contract costs with a high degree of precision before Fluor could recognize any

 revenue on each of its fixed-price contracts. Under the “percentage-of-completion” method of

 revenue recognition applied by Fluor to its fixed-price contracts during the Class Period, Fluor was

 required to prepare accurate quarterly estimates of costs to complete each contract in progress. ¶38,

 supra. These quarter-end estimates of “costs-to-complete” dictated how much revenue Fluor was

 permitted to recognize on each of its fixed-price contracts. ¶39, supra. GAAP required Fluor to

 maintain a sophisticated cost accounting system to accurately track the costs of each of Fluor’s

 fixed-price projects. ¶40, supra (citing ASC 605). Additionally, GAAP required Fluor to accurately

 account for change orders and open claims before recognizing revenue on such orders and claims.

 ¶43, supra. Only change orders/claims that are approved or whose approval is “probable” under

 GAAP may be recognized as revenue. Id. During the Class Period, Defendants falsely stated that

 their revenue recognition practices complied with these GAAP provisions such that change

 order/claim revenue was not overstated and costs were not understated. The Restatement proves

 otherwise.

          273.      Statement No. 40. In connection with the filing of each Form 10-K and Form 10-Q

 issued during the Class Period, in recognizing revenue for that period, Defendants assured investors

 that all currently estimated fixed-price contract costs had been recognized and that only approved or

 probable change/order claims were included in revenue:
                                             - 143 -
 Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                    Page 150 of 184 PageID 2554



          The percentage-of-completion method of revenue recognition requires the company
          to prepare estimates of cost to complete for contracts in progress. In making such
          estimates, judgments are required to evaluate contingencies such as potential
          variances in schedule and the cost of materials, labor cost and productivity, the
          impact of change orders, liability claims, contract disputes and achievement of
          contractual performance standards. Changes in total estimated contract cost and
          losses, if any, are recognized in the period they are determined. 21

          274.      In truth, the Restatement identifies material weaknesses “due to a failure to timely

 identify the out-of-period effects of adjustments related to the forecast, as well as adjustments related

 to the estimation of the amount of variable consideration.” 22 These failures, the Restatement

 provides, “resulted in incorrect recognition of revenue and projected losses on the [Radford]

 project in 2019 and prior.” Moreover, the Restatement explains that the Special Committee

 identified “material errors” that “arose from a failure to timely recognize changes in forecasted

 project costs and from errors in estimating variable consideration in accounting for the Radford

 project. As a result, the errors associated with variable consideration caused [Fluor] to overstate

 revenue and the errors associated with forecasted costs caused us to understate cost of revenue

 between 2016 and September 30, 2019.”

                    4.        Fluor’s 2016-2019 Annual and Quarterly Financial Results

          275.      Statement No. 46: On February 17, 2017, Fluor released its fiscal year 2016 Form

 10-K, which reported total revenue of approximately $19 billion for fiscal year 2016. ¶150, supra.

 The Company also reported that it had recorded $61 million in claim revenue as of the end of 2016.

 Id. It credited growth in the Government and Power segments as driving revenues and profits. Id.


 21
     This statement was repeated in every Form 10-K issued by Fluor during the Class Period in
 identical or substantially similar form. See ¶144, supra.
 22
     As described in the Restatement, anticipated revenues from change orders, claims, award fees,
 incentive fees, and liquidated damages are included in “variable consideration.” Fluor considers
 “variable consideration in the development of [its] project forecasts so that [its] forecasted revenue
 reflects the amount of consideration [it] expect[s] to be probable of recovering without a future
 significant reversal.”

                                                  - 144 -
 Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                        Page 151 of 184 PageID 2555



          276.      In truth, as disclosed in the Restatement, total 2016 revenue was just $14.6 billion.23

 The Restatement also revealed that Fluor’s 2016 Form 10-K overstated Government segment

 revenue by $13 million. It also establishes that total segment profit was overstated by 12% – $663.3

 million as restated versus $744.3 million as reported in the 2016 Form 10-K. It establishes that the

 profit misstatement concerned the Government segment for which profit was overstated by 1,975%

 as a result of the Radford project – in the 2016 Form 10-K, Fluor disclosed Government segment

 profit of $85.1 million, but as evidenced by the Restatement, Government segment profit for fiscal

 year 2016 was only $4.1 million. Finally, the Restatement confirms that the “claim revenue” and

 total revenue recorded during this period was incorrect due to (i) “errors associated with variable

 consideration” that caused Fluor “to overstate revenue” and (ii) “errors associated with forecasted

 costs” that caused Fluor “to understate cost of revenue between 2016 and September 30, 2019.”

          277.      The following table graphically depicts the falsity of Statement No. 46 in light of

 Fluor’s admissions in the Restatement:

          Metric                    As Reported                As Restated           Percentage
                                                                                  Over/Understated
 Government Revenue                 $2,720 million             $2,707 million       0.5% overstated
 Total Segment Profit               $744.3 million             $663.3 million       12% overstated
   Government Profit                $85.1 million               $4.1 million       1,975% overstated

          278.      Statement No. 51: On February 20, 2018, Fluor released its Q4 2017 financial

 statements and its fiscal year 2017 Form 10-K, which reported total revenue of approximately $19.5

 billion for fiscal year 2017. ¶155, supra. The Company also reported that it had recorded $124

 million in claim revenue as of the end of 2017. Id. It credited growth in the Government and Power

 23
     Backing out unspecified “discontinued operations,” the Restatement references “as previously
 reported” revenue figures that do not match the revenue figures as disclosed in the Class Period
 financial statements and referenced herein. As alleged herein, Fluor’s revenue as disclosed during
 the Class Period was materially overstated in each quarterly and annual report during the Class
 Period as compared to the restated revenues provided in the Restatement.

                                                     - 145 -
 Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                         Page 152 of 184 PageID 2556



 segments as driving revenues and profits. Id. The Company also reported pre-tax earnings of $387

 million.

          279.      In truth, as disclosed in the Restatement, total 2017 revenue was just $14.8 billion.

 The Restatement also revealed that Fluor’s 2017 Form 10-K overstated Government segment

 revenue by $19.3 million It also establishes that total segment profit was overstated by 7% – $508

 million as restated versus $545 million as reported in the 2017 Form 10-K. It establishes that the

 profit misstatement concerned the Government segment for which profit was overstated by more

 than 40% as a result of the Radford project – in the 2017 Form 10-K, Fluor disclosed Government

 segment profit of $127.9 million, but as evidenced by the Restatement, Government segment profit

 for fiscal year 2017 was only $90.6 million. The Restatement reflects a $118 million cumulative

 error (amount of total profit overstated through December 31, 2017) on the Radford project. The

 Restatement confirms that the “claim revenue” and total revenue recorded during this period was

 incorrect due to (i) “errors associated with variable consideration” that caused Fluor “to overstate

 revenue” and (ii) “errors associated with forecasted costs” that caused Fluor “to understate cost of

 revenue between 2016 and September 30, 2019.” Finally, the Restatement illustrates that pre-tax

 earnings were overstated by 11% ($387 million reported as compared to $349 million restated).

          280.      The following table graphically depicts the falsity of Statement No. 51 in light of

 Fluor’s admissions in the Restatement:

          Metric                     As Reported                 As Restated         Percentage
                                                                                  Over/Understated
 Government Revenue                 $3,232.7 million         $3,213.4 million       0.6% overstated
 Total Segment Profit                $545 million                $508 million       7% overstated
   Government Profit                $127.9 million               $90.6 million     1,975% overstated
   Pre-Tax Earnings                  $387 million                $349 million       11% overstated




                                                       - 146 -
 Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                        Page 153 of 184 PageID 2557



          281.      Statement No. 53: On May 3, 2018, Fluor released its Q1 2018 financial statements,

 which reported total revenue of approximately $4.8 billion for Q1 2018. ¶157. The Company also

 reported that it had recorded $134 million in claim revenue as of the end of Q1 2018. Id. It credited

 growth in the Government and Diversified Services segments as driving revenues and profits. Id.

 The Company also reported a net loss of $12 million. Id.

          282.      In truth, as disclosed in the Restatement, total Q1 2018 revenue was just $3.5 billion.

 The Restatement also revealed that Fluor’s Q1 2018 Form 10-Q overstated Government segment

 revenue by $10.1 million. It also establishes that total segment profit was overstated by 28% – $41

 million as restated versus $52.3 million as reported in the Q1 2018 Form 10-Q. It establishes that

 profit for the Government segment was overstated by 19% as a result of the Radford project – in the

 Q1 2018 Form 10-Q, Fluor disclosed Government segment profit of $71.9 million, but as evidenced

 by the Restatement, Government segment profit for Q1 2018 was only $60.6 million. The

 Restatement reflects a $130 million cumulative error (amount of total profit overstated through

 March 31, 2018) on the Radford project. The Restatement confirms that the “claim revenue” and

 total revenue recorded during this period was incorrect due to (i) “errors associated with variable

 consideration” that caused Fluor “to overstate revenue” and (ii) “errors associated with forecasted

 costs” that caused Fluor “to understate cost of revenue between 2016 and September 30, 2019.”

 Finally, the Restatement illustrates that the net loss was understated by 42% ($12.1 million loss

 reported as compared to $20.8 million loss restated).

          283.      The following table graphically depicts the falsity of Statement No. 53 in light of

 Fluor’s admissions in the Restatement:

          Metric                     As Reported                 As Restated         Percentage
                                                                                  Over/Understated
 Government Revenue                 $1,327.2 million         $1,317.1 million       0.8% overstated
 Total Segment Profit                $52.3 million               $41 million        28% overstated

                                                       - 147 -
 Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                      Page 154 of 184 PageID 2558



   Government Profit                $71.9 million             $60.6 million         19% overstated
         Net Loss                   $12.1 million             $20.8 million         42% understated

          284.      Statement No. 55: On August 2, 2018, Fluor released its Q2 2018 financial

 statements, which reported total revenue of approximately $4.9 billion for Q2 2018. ¶161, supra.

 The Company also reported that it had recorded $131 million in claim revenue as of the end of Q2

 2018. Id. It credited growth in the Government, Power, and Diversified Services segments as

 driving revenues and profits. Id. The Company also reported net earnings of $115 million. Id.

          285.      In truth, as disclosed in the Restatement, total Q2 2018 revenue was just $3.9 billion.

 The Restatement also revealed that Fluor’s Q2 2018 Form 10-Q overstated Government segment

 revenue by $9.5 million, Infrastructure & Power segment revenue by $11.3 million, and Energy &

 Chemicals segment revenue by $2.1 million. It also establishes that total segment profit was

 overstated by 27% – $152.2 million as restated versus $193.8 million as reported in the Q2 2018

 Form 10-Q. It establishes that profit for the Government segment was overstated by 23% as a result

 of the Radford project – in the Q2 2018 Form 10-Q, Fluor disclosed Government segment profit of

 $51.4 million, but as evidenced by the Restatement, Government segment profit for Q2 2018 was

 only $41.7 million. The Restatement reflects a $139 million cumulative error (amount of total profit

 overstated through June 30, 2018) on the Radford project. It also establishes that profit for the

 Infrastructure & Power segment was overstated by 222% – in the Q2 2018 Form 10-Q, Fluor

 disclosed Infrastructure & Power segment profit of $16.4 million, but as evidenced by the

 Restatement, Infrastructure & Power profit for Q2 2018 was only $5.1 million. It further establishes

 that profit for the Energy & Chemicals segment was overstated by 27% – in the Q2 2018 Form 10-Q,

 Fluor disclosed Energy & Chemicals segment profit of $97.2 million, but as evidenced by the

 Restatement, Energy & Chemicals profit for Q2 2018 was only $76.6 million. The Restatement

 confirms that the “claim revenue” and total revenue recorded during this period was incorrect due to

                                                    - 148 -
 Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                          Page 155 of 184 PageID 2559



 (i) “errors associated with variable consideration” that caused Fluor “to overstate revenue” and (ii)

 “errors associated with forecasted costs” that caused Fluor “to understate cost of revenue between

 2016 and September 30, 2019.” Finally, the Restatement illustrates that net earnings were overstated

 by 48% ($114.8 million reported as compared to $77.4 million restated).

          286.      The following table graphically depicts the falsity of Statement No. 55 in light of

 Fluor’s admissions in the Restatement:

          Metric                     As Reported                 As Restated          Percentage
                                                                                   Over/Understated
 Government Revenue                 $863.4 million               $853.9 million      1.1% overstated
    Infrastructure &                $1,339.5 million         $1,328.2 million        0.9% overstated
    Power Revenue
 Energy & Chemicals                 $2,014.5 million         $2,012.4 million        0.1% overstated
      Revenue
 Total Segment Profit               $193.8 million               $152.2 million      27% overstated
   Government Profit                 $51.4 million               $41.7 million       23% overstated
    Infrastructure &                 $16.4 million                $5.1 million      222% overstated
      Power Profit
 Energy & Chemicals                  $97.2 million               $76.6 million       27% overstated
        Profit
      Net Earnings                  $114.8 million               $77.4 million       48% overstated

          287.      Statement No. 58: On November 1, 2018, Fluor released its Q3 2018 financial

 statements, which reported total revenue of approximately $4.7 billion for Q3 2018. ¶164, supra.

 The Company also reported that it had recorded $156 million in claim revenue as of the end of Q3

 2018. Id. It credited growth in the Government and Power segments as driving revenues and

 profits. Id. The Company also reported net earnings of $77 million. Id.

          288.      In truth, as disclosed in the Restatement, total Q3 2018 revenue was $3.8 billion. The

 Restatement also revealed that Fluor’s Q3 2018 Form 10-Q overstated Government segment revenue

 by $11.8 million. It also establishes that profit for the Government segment was overstated by 56%


                                                       - 149 -
 Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                        Page 156 of 184 PageID 2560



 as a result of the Radford project – in the Q3 2018 Form 10-Q, Fluor disclosed Government segment

 profit of $32 million, but as evidenced by the Restatement, Government segment profit for Q3 2018

 was only $20.5 million. It reflects a $151 million cumulative error (amount of total profit overstated

 through September 30, 2018) on the Radford project. It confirms that the “claim revenue” and total

 revenue recorded during this period was incorrect due to (i) “errors associated with variable

 consideration” that caused Fluor “to overstate revenue” and (ii) “errors associated with forecasted

 costs” that caused Fluor “to understate cost of revenue between 2016 and September 30, 2019.”

 Finally, the Restatement illustrates that net earnings were overstated by 4.4% ($77.3 million reported

 as compared to $74.1 million restated).

          289.      The following table graphically depicts the falsity of Statement No. 57 in light of

 Fluor’s admissions in the Restatement:

          Metric                    As Reported                As Restated          Percentage
                                                                                 Over/Understated
 Government Revenue                 $780.9 million             $769.1 million      1.5% overstated
   Government Profit                 $32 million               $20.5 million       56% overstated
      Net Earnings                  $77.3 million              $74.1 million      4.4% understated

          290.      Statement No. 59: On February 21, 2019, Fluor released its fiscal year 2018 Form

 10-K, which reported total revenue of approximately $19.2 billion for fiscal year 2018. ¶165, supra.

 The Company also reported that it had recorded $166 million in claim revenue as of the end of 2018.

 Id. It credited growth in the Government segment as driving revenues and profits, and stated that

 revenue in the Power and Diversified Services segments was flat. Id. The Company also reported

 pre-tax earnings of $482 million. Id. Finally, the Company reported total assets in the Government

 segment of $823 million. Id.

          291.      In truth, as disclosed in the Restatement, total 2018 revenue was just $15.2 billion.

 The Restatement also revealed that Fluor’s 2018 Form 10-K overstated Government segment

                                                     - 150 -
 Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                          Page 157 of 184 PageID 2561



 revenue by $47.4 million and Infrastructure & Power segment revenue by $14.1 million. It also

 establishes that total segment profit was overstated by 13% – $532.1 million as restated versus

 $601.8 million as reported in the 2018 Form 10-K. It establishes that profit for the Government

 segment was overstated by 45% as a result of the Radford project – in the 2018 Form 10-K, Fluor

 disclosed Government segment profit of $178.6 million, but as evidenced by the Restatement,

 Government segment profit for 2018 was only $123 million. It reflects a $174 million cumulative

 error (amount of total profit overstated thorough December 31, 2018) on the Radford project. It also

 establishes that profit for the Infrastructure & Power segment was overstated by 100% – in the 2018

 Form 10-K, Fluor disclosed Mining, Industrial, Infrastructure & Power segment loss of $13.6

 million, but as evidenced by the Restatement, Mining, Industrial, Infrastructure & Power loss for

 2018 was actually $27.7 million. It confirms that the “claim revenue” and total revenue recorded

 during this period was incorrect due to (i) “errors associated with variable consideration” that caused

 Fluor “to overstate revenue” and (ii) “errors associated with forecasted costs” that caused Fluor “to

 understate cost of revenue between 2016 and September 30, 2019.” The Restatement also reveals

 that total assets in the Government segment were overstated by 3% ($822.7 million reported as

 compared to $796.3 million restated). Finally, the Restatement illustrates that net earnings were

 overstated by 17% ($482 million reported as compared to $412 million restated).

          292.      The following table graphically depicts the falsity of Statement No. 59 in light of

 Fluor’s admissions in the Restatement:

          Metric                     As Reported                 As Restated          Percentage
                                                                                   Over/Understated
 Government Revenue                 $3,772.0 million         $3,724.6 million        1.3% overstated
    Infrastructure &                $5,186.1 million         $5,172.0 million        0.3% overstated
    Power Revenue
 Total Segment Profit               $601.8 million               $532.1 million      13% overstated
   Government Profit                $178.6 million               $123 million        45% overstated

                                                       - 151 -
 Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                        Page 158 of 184 PageID 2562



          Metric                    As Reported                As Restated           Percentage
                                                                                  Over/Understated
    Infrastructure &                $27.7 million              $13.6 million        100% overstated
      Power Profit
  Government Assets                 $822.7 million             $796.3 million        3% overstated
      Net Earnings                  $482 million               $412 million         17% overstated

          293.      Statement No. 62: On May 2, 2019, Fluor released its Q1 2019 financial statements,

 which reported total revenue of approximately $4.2 billion for Q1 2019. ¶168, supra. The Company

 also reported that it had recorded $175 million in claim revenue as of the end of Q1 2019. Id. It

 credited growth in the Power segment as driving revenues and profits and offsetting losses in other

 segments. Id. The Company also reported a net loss of $58 million. Id.

          294.      In truth, as disclosed in the Restatement, total Q1 2019 revenue was just $3.4 billion.

 The Restatement also revealed that Fluor’s Q1 2019 Form 10-Q overstated Government segment

 revenue by $9.5 million and Energy & Chemicals segment revenue by $2 million. It establishes that

 profit for the Government segment was overstated by 35% as a result of the Radford project – in the

 Q1 2019 Form 10-Q, Fluor disclosed Government segment profit of $16.6 million, but as evidenced

 by the Restatement, Government segment profit for Q1 2019 was only $12.3 million. It also reflects

 a $178 million cumulative error (amount of total profit overstated through March 31, 2019) on the

 Radford project. The Restatement also establishes that profit for the Energy & Chemicals segment

 was overstated by 59% – in the Q1 2019 Form 10-Q, Fluor disclosed Energy & Chemicals segment

 profit of $19.4 million, but as evidenced by the Restatement, Energy & Chemicals segment profit for

 Q1 2019 was only $12.2 million. It confirms that the “claim revenue” and total revenue recorded

 during this period was incorrect due to (i) “errors associated with variable consideration” that caused

 Fluor “to overstate revenue” and (ii) “errors associated with forecasted costs” that caused Fluor “to

 understate cost of revenue between 2016 and September 30, 2019.” Finally, the Restatement


                                                     - 152 -
 Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                          Page 159 of 184 PageID 2563



 illustrates that net loss was understated by 15% ($58.4 million loss reported as compared to $68.9

 million loss restated).

          295.      The following table graphically depicts the falsity of Statement No. 62 in light of

 Fluor’s admissions in the Restatement:

          Metric                     As Reported                 As Restated          Percentage
                                                                                   Over/Understated
 Government Revenue                 $784.7 million               $775.2 million      1.2% overstated
 Energy & Chemicals                 $1,476.6 million         $1,474.6 million        0.1% overstated
      Revenue
   Government Profit                 $16.6 million               $12.3 million       35% overstated
 Energy & Chemicals                  $19.4 million               $12.2 million       59% overstated
        Profit
         Net Loss                    $58.4 million               $68.9 million      15% understated

          B.        The Restatement Further Supports a Strong Inference of Defendants’
                    Scienter

          296.      As disclosed in the Restatement, the Company’s Special Committee reported that

 “prior business line management applied inappropriate pressure to project personnel” to override

 project level controls, and that defendant Seaton’s “management style may have fostered an

 environment that could have contributed to this conduct.” Moreover, the Restatement “identified

 instances where individuals made inappropriate adjustments to project estimates and reserves” in

 what Fluor now describes as “immaterial amounts.” Further, the Restatement revealed that former

 “leaders of our Energy & Chemicals segment caused pressure to be applied on the individuals

 charged with accounting and finance responsibilities in a manner intended to present overly

 optimistic forecasts across certain Energy & Chemicals projects. This resulted in a material

 weakness in the Energy & Chemicals segment associated with its non-compliance with Fluor’s

 policies and procedures designed to promote a commitment to ethical practices.”



                                                       - 153 -
 Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                      Page 160 of 184 PageID 2564



          297.      Further, the Restatement is an admission that the financial results reported during the

 Class Period were incorrect based on information available to Defendants at the time the results were

 originally reported. That is why the SEC often uses restatements to demonstrate that persons

 responsible for the improper accounting acted with scienter:

          [T]he Commission often seeks to enter into evidence restated financial statements,
          and the documentation behind those restatements, in its securities fraud
          enforcement actions in order, inter alia, to prove the falsity and materiality of the
          original financial statements [and] to demonstrate that persons responsible for the
          original misstatements acted with scienter . . . . 24

          298.      Additionally, from a GAAP and SEC accounting perspective, the Restatement

 contains the following indicators of Defendants’ scienter:

                    (a)       The type of restatement (misuse of available facts). The accounting errors

 identified in the Restatement are not the result of simple mathematical errors or honest

 misapplication of GAAP accounting standards. For example, Fluor’s numerous revenue restatement

 adjustments were the result of overstating revenue on unpriced changes orders, incentive fees, and

 contractual disputes and claims despite the fact that it was not probable such amounts would ever be

 collected by the Company. Likewise, Fluor’s numerous project cost restatement adjustments were

 the result of failing to timely recognize changes in forecasted project costs. In both instances, the

 information to determine the correct amount of revenue and costs was contemporaneously available

 to Defendants but, due to “material errors” that “arose from a failure to timely recognize changes in

 forecasted project costs and from errors in estimating variable consideration in accounting for the

 Radford project,” the revenue and costs were not properly recognized. The accounting rules, as

 described herein, state that a restatement is not required, or even allowed, if the facts and

 circumstances giving rise to a restatement were not available at the time the original accounting



 24
      See https://www.sec.gov/litigation/briefs/sunbeam.htm.

                                                    - 154 -
 Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                   Page 161 of 184 PageID 2565



 entries were made. Thus, that the Restatement was even made establishes that Defendants possessed

 the facts to have properly reported in the first place.

                    (b)       The duration over which the improper accounting was perpetrated. As

 detailed herein, the Restatement does not hinge on a good faith accounting mistake or oversight

 during a single quarter or even a single year. Fluor restated its previously issued financial statements

 over an effective four-year period, spanning for three fiscal years – 2016, 2017, and 2018 – and

 every quarterly period in fiscal years 2018 and 2019. The nature of the accounting errors at issue,

 overstating revenue and understating costs on fixed-price projects for years, caused the cumulative

 magnitude of the accounting errors to increase each quarter, thus becoming more apparent to

 Defendants over time. For example, by Q1 2019, Defendants were confronted with numerous red

 flags indicating that that total project revenue on the Radford project had been overstated by $90

 million to date and total project profit had been overstated by more than $178 million to date.

                    (c)       The magnitude or size of the restatement.      As described herein, the

 Restatement was clearly material. The Company was forced to record more than $230 million in

 restatement adjustments related to overstated revenue and understated costs on the Radford project

 and other fixed-price projects. In 2016 alone, Fluor was forced to restate more than $80 million in

 Government segment profit related to overstated revenue and understated costs. To put this amount

 in context, Fluor’s originally reported Government segment profit in 2016 was overstated by 1,975%

 after taking into account the Restatement adjustments. In numerous other periods, as detailed above,

 the restatement adjustments revealed that Fluor’s originally issued financial results overstated

 segment profits by between 19% and 222%.

 X.       THE DOJ INVESTIGATION FURTHER SUPPORTS A STRONG
          INFERENCE OF SCIENTER

          299.      On May 8, 2020, Fluor filed a Form 8-K to disclose that, in addition to the SEC

 investigation (see ¶¶212-213, supra), the U.S. Department of Justice (“DOJ”) had opened a criminal
                                               - 155 -
 Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                     Page 162 of 184 PageID 2566



 investigation into the Company’s prior financial reporting, governance matters, and the charges on

 fixed-price projects that the Company recorded in Q2 2019:

                  On February 18, 2020, Fluor Corporation (the “Corporation”) announced that
          the Securities and Exchange Commission (“SEC”) is conducting an investigation and
          has requested documents and information related to projects for which the
          Corporation recorded charges in the second quarter of 2019. On April 30, 2020, the
          Corporation received a subpoena from the U.S. Department of Justice (“DOJ”)
          seeking documents and information related to the second quarter 2019 charges;
          certain of the projects associated with those charges; and certain project accounting,
          financial reporting and governance matters. The Corporation is coordinating its
          response to the SEC and DOJ and cooperating in providing the requested documents
          and information. As previously disclosed, a special committee of the Board of
          Directors is independently conducting a review of the Corporation’s prior period
          reporting and related control environment, which is ongoing.

          300.      As of the date of this Complaint, the SEC and DOJ investigations into these issues are

 still ongoing. Both support a strong inference of Defendants’ scienter – one that will only grow as

 the investigations unfold and additional evidence and factual findings become available.

 XI.      LOSS CAUSATION

          301.      Defendants’ wrongful conduct, as alleged herein, directly and proximately caused

 Plaintiffs’ and Class members’ economic loss. Plaintiffs’ claims for securities fraud are asserted

 under the fraud on the market theory of reliance. The markets for Fluor common stock were open,

 well-developed, and efficient at all relevant times. During the Class Period, as detailed herein,

 Defendants’ false and misleading statements artificially inflated the price of Fluor common stock

 and operated as a fraud or deceit on the Class (defined below).

          302.      The Class Period inflation in Fluor’s stock price was removed when information

 concealed by Defendants’ false or misleading statements was revealed to the market. The

 information was disseminated through a series of partial disclosures that slowly revealed the nature

 and extent of Fluor’s underbids, execution, and internal controls problems. These disclosures, as

 more particularly described below, removed artificial inflation from Fluor common stock, causing

 economic injury to Plaintiffs and other members of the Class.
                                             - 156 -
 Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                      Page 163 of 184 PageID 2567



          303.      The corrective impact of the partial disclosures during the Class Period alleged

 herein, however, was tempered by Defendants’ continued false and misleading statements and

 omissions, including that issues with individual plants were one-off, contained events and were not

 caused by systemic issues with Fluor’s bidding, execution, and internal controls. Defendants’

 continued misrepresentations maintained the price of Fluor common stock at a level that was inflated

 by fraud, inducing members of the Class to continue purchasing shares in Fluor at artificially inflated

 levels even after Defendants’ partial disclosures.

          304.      None of the partial disclosures was sufficient on its own to fully remove the inflation

 from Fluor’s stock price because each only partially revealed the nature and extent of the existence,

 extent, and ramifications of the bidding, execution, and/or internal controls issues. During the Class

 Period, the price of Fluor common stock declined as a result of these partial disclosures of truth.

          305.      The disclosures that corrected the market price to eliminate the inflation maintained

 by Defendants’ fraud are detailed below. The following stock price declines are not necessarily

 comprehensive since fact and expert discovery are not complete. These stock price declines were

 due to firm-specific, fraud-related disclosures and not the result of market, industry, or firm-specific

 non-fraud factors.

          306.      Partial disclosures relating to improper bidding, construction execution, and internal

 controls issues began to enter the market on July 30, 2015, when Fluor released its Q2 2015 financial

 results. On that date, Fluor announced that it missed its Q2 2015 earnings estimates and lowered its

 2015 full year earnings guidance range from $4.40 to $5.00 per share to $4.05 to $4.35 per share.

 The decline in earnings was partially attributed to a $10 million loss in Fluor’s Power segment. The

 Form 8-K, signed by Porter, attached a press release issued on July 30, 2015, stating: “Segment

 profit results for the quarter reflect reduced contributions from renewable and gas-fired facilities.”

 Fluor’s Form 10-Q for Q2 2015, filed the same day and signed by Porter and Smalley, noted:

                                                    - 157 -
 Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                     Page 164 of 184 PageID 2568



 “Segment profit margins declined in the current year periods due to the increase in NuScale expenses

 and reduced contributions from the large gas-fired power plant in [Brunswick County,] Virginia.”

          307.      As a result, when the market opened the next day, July 31, 2015, the price of Fluor

 common stock dropped 8.15% on high trading volume, closing at $46.75. Defendants, however, did

 not disclose the full extent of the fraud and the price of Fluor securities remained artificially inflated.

          308.      On February 18, 2016, Fluor issued its Q4 2015 financial results on Form 10-K,

 which reported that Power “Segment profit in 2015 included a loss of $60 million (including the

 reversal of previously recognized profit) resulting from forecast revisions for the gas-fired power

 plant in Brunswick County, Virginia.” On the earnings call, Seaton stated that the Brunswick

 County Plant was “basically done, it’s in final throes. The biggest issue is start-up condition where

 you introduce lube oil and you recycle lube oil and you make that change. The suppliers’ program

 and what we were told by the customers said it took 45 days and it took us 90.”

          309.      As a result of the February 18, 2016 disclosures, Fluor’s stock price dropped to a low

 of $42.41 and closed 2.32% down on heavy trading volume. However, Defendants did not disclose

 the true scope of the fraud, and the price of Fluor stock remained artificially inflated.

          310.      On May 4, 2017, Fluor issued a Form 10-Q for Q1 2017 disclosing a $30 million loss

 driven “primarily for a gas-fired power plant in South Carolina [i.e., the Anderson County Plant].”

 On Fluor’s earnings call held after market hours later that day, Seaton claimed that these costs were

 “[un]expected.”

          311.      On the next trading day, May 5, 2017, Fluor’s common stock fell to a low of $46.53 –

 down 8.04% down from the prior close – and closed the day 4.78% down on high trading volume.

 Defendants did not, however, disclose the full extent and ramifications of the fraud, and the price of

 Fluor stock remained artificially inflated.



                                                   - 158 -
 Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                     Page 165 of 184 PageID 2569



          312.      On August 3, 2017, Fluor filed its Q2 2017 Form 10-Q, which reported a $194

 million charge due to forecast adjustments related to three of the Gas-Fired Plants:

                  Segment profit in the Industrial, Infrastructure & Power segment for the three
          and six months ended June 30, 2017 was adversely affected by pre-tax charges
          totaling $194 million (or $0.89 per diluted share) and $219 million (or $0.99 per
          diluted share), respectively, resulting from forecast revisions for estimated cost
          growth at three fixed-price, gas-fired power plant projects in the southeastern United
          States.

          313.      Fluor’s press release, attached to a Form 8-K signed by Porter and filed August 3,

 2017, stated:

                  As a result of the charge in Industrial, Infrastructure & Power, and, to a lesser
          extent the wind down of the V.C. Summer Nuclear Station project, the Company is
          revising its 2017 guidance for EPS to a range of $1.40 to $1.70 per diluted share,
          from the previous range of $2.25 to $2.75 per diluted share.

          314.      On August 3, 2017, Defendants also disclosed that the charges Fluor was taking on

 the Gas-Fired Plants stemmed from the common issues across the plants and not one-off issues

 specific to each plant. On the Q2 2017 earnings call, held after market hours later that day, Seaton

 announced that the CFO, Porter, was being replaced by Stanski and provided insight into the cause

 of the charges:

          I want to start our call today discussing the issues we are experiencing in our
          Industrial, Infrastructure & Power segment, specifically the concerns on 3 gas-fired
          projects currently under construction. All 3 projects, 4 if you include the Brunswick
          project that incurred a charge in 2015, had a fundamental problem. The projects
          did not meet the original baseline assumptions due to improper estimating, craft
          productivity and equipment issues. All of these projects were bid in 2014 by the
          same pursuit team. In addition, all 4 projects were based on next-gen turbines or
          steam generators that were first of a kind for Fluor. The quality control and
          completeness of these turbines delivered to the site were not in line with our bid
          assumptions and we are pursuing our options.

                                             *       *       *

          Some members of the Power management team have exited Fluor. We also informed
          our employees that we are closing our Charlotte office and consolidating Power
          operations in Greenville, where it will be closer to our other businesses and
          leadership.

                                                  - 159 -
 Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                   Page 166 of 184 PageID 2570



                  As we do periodically with all of our markets, we’re in the middle of
          reassessing the gas-fired power market to determine where there are opportunities or
          returns consistent with our expectations and long-term experience. The power
          market is extremely competitive. And unfortunately, we are not immune to the
          challenges others have seen in this segment of the power industry. We will only
          participate in this market if we believe we can achieve appropriate risk-adjusted
          returns. Now every aspect in this market is being reviewed by the team through a
          different set of lenses.

                  In addition to the changes in management of Power group, our strategic
          evaluation of the gas-fired power market, we’re also implementing other changes to
          give us greater confidence that these types of earnings adjustments are diminished
          and less frequent.

                                            *       *       *

                  Well, historically, [Power] has provided good profitability for us. I mean,
          Oak Grove, LCRA, I mean, I can list dozens of projects that have been very positive.
          But your point’s well taken. In the aggregate, it drops pretty dramatically when you
          write off 3 projects like this. So I understand your point. I think the other comment
          I’d make is that the power market is basically 100% – or not 100%, 90% fixed
          priced. And we do have a good position in that and we do have great resources that
          are executing with excellence. It’s just a situation where I think we had a team that
          made some serious mistakes on 4 projects that all hit at one time, particularly when
          we bring in a new management team and they look at what they’ve been given. So I
          think we’ve got some work to do in terms of what that is. But I would also – I think,
          to your point, very few of our competitors have made their expected profitability on
          gas-fired power plants. And I would argue that our customers believe in a certain
          cost per kilowatt that does not exist. So I think that everybody in the industry needs
          to kind of sharpen their pencil and look at this market through a different set of
          lenses.

                                            *       *       *

                  Well, as I said, I’ve changed some organization, not just the Power stuff. I’ve
          changed up some of the other organization and flattened it. And I can tell you that
          we’re looking at all of our projects in making sure that we don’t have issues. I would
          argue that the lion’s share of our lump-sum backlog is performing extremely well.
          And that’s about as far as I really want to go with that. But we’re improving our
          tools and systems. We – as I said, we’ve changed the review process to where
          there’s more cold eyes review. And I feel reasonably good about where we are. I
          think I’d point you back to some of my comments on these Power projects. It’s
          really contained in 1 segment of the power market. And as I said, all 4 of those
          projects were bid at a time when we didn’t have good information on the new first-
          of-a-kind equipment, nor did we really have a good handle on the level of skill and
          number of craft employees that we would have available to us in some of these
          locations.

                                                 - 160 -
 Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                  Page 167 of 184 PageID 2571



                                            *       *      *

                  Well, just – let’s be specific. I said we were looking at the gas-fired power
          market, and we were looking at it from a Fluor perspective. No messages to anyone
          intended. And if they took them that way, I apologize. Because that – we’re looking
          at ourselves in terms of what we need to do. We just – I don’t think it’s going to
          take long. I think that my expectation, and I’ve kind of coined this phrase, is
          flawless personal performance. And what that – it doesn’t mean I’m looking for
          perfection, but what it does mean I’m looking for is accountability and execution
          excellence. And we started that process when we found the problem in the CPChem,
          and we’re continuing to do those reviews and make the changes necessary so that we
          don’t have a repeat of what we’ve had here. And I’m – I can tell you that – I guess
          that we’ve dinged our credibility with you guys and we got to rebuild that. And I
          can commit to you that we’re going to do everything we can to regain that trust. But
          I don’t think it’s going to take long for us to kind of right the ship based on these
          losses and continue to perform. As I said, we perform over 1,000 projects at any
          given time. And the vast majority of them are performing at or above our
          expectations. And in this case, we had 3 bad apples and I’ll go ahead and give Jamie
          her due, one, was a double-dip in the apple bucket. And then we had one in
          infrastructure and in CPChem. I get where we are in your eyes, and we’ve got some
          work to do to change that.

          315.      As a result of Fluor’s aftermarket disclosures on August 3, 2017, the Company’s

 common stock opened 7.27% down on August 4, 2017 and continued declining on very high trading

 volume, closing at $40.06 – down 8.66% – from the previous closing price. On August 15, 2017,

 Moody’s downgraded Fluor’s senior unsecured bond rating to Baa1 from A3 because “operating

 results have deteriorated materially,” noting that the Power segment’s “income declined to a loss of

 $102 million for the LTM period due to charges on three gas-fired power plant projects related to

 improper estimating, craft labor productivity and equipment issues.” Defendants, however, did not

 disclose the full extent and ramifications of the fraud, and the price of Fluor securities remained

 artificially inflated.

          316.      On May 3, 2018, Fluor filed its Q1 2018 Form 10-Q, which reported that the Power

 segment’s profit “during 2018 was adversely affected by forecast revisions of approximately $125

 million (or $0.69 per diluted share) for estimated cost growth for a fixed-price, gas-fired power

 plant project,” i.e., the Citrus County Plant. Fluor also disclosed that it was “in the process of

                                                 - 161 -
 Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                    Page 168 of 184 PageID 2572



 exiting the gas-fired power plant market and does not intend to offer engineering, construction and

 procurement services for new build projects once its existing contracts are completed.” As a result

 of this charge, Fluor announced a first quarter net loss of $18 million, or $0.13 per share. In

 addition, in a press release filed on Form 8-K on May 3, 2018 and signed by Stanski, Fluor lowered

 its 2018 full-year guidance to a range of $2.10 to $2.50. On the Q1 2018 earnings call, held after

 market hours on May 3, 2018, Seaton stated:

                  Let’s start off by discussing the challenges that we are experiencing on the
          same gas-fired power project we discussed last quarter and the steps we’re taking to
          complete this project and in Fluor’s participation in the specific end market. Craft
          productivity and estimating were materially different than the original baseline
          expectations we made in the initial charge on this project last year. While those
          factors were included in our initial charge, the majority of the $125 million charge
          taken this quarter is driven by extremely low ongoing productivity and the financial
          impact that this has relative to initial expected timing of when the 2 units would be
          available for power production based on the current outlook. As of last week, this
          project is 86% complete with an expected completion date in Q4 of this year.

                  Last August, we made a number of changes to our power business. This
          included in – bringing in new leadership, removing certain executives and closing
          our power operation office in Charlotte. I also stated that we were in the process of
          assessing the gas-fired market to determine if there are opportunities for risk-adjusted
          returns that are consistent with our expectations and long-term experience. I’d like to
          share with you the outcome of our review and the further actions that we are taking.
          I’m going to ask everyone to pay close attention.

                  The U.S. power consumption growth rate is less than 1%. The power
          produces – producers do not really need additional capacity, other than satisfying
          regional needs. We, the industry and the entire E&C community have led our
          clients to believe that a gas-fired power project costs approximately 650 kilowatts –
          $650 per kilowatt, although virtually no one has delivered one for that value. The
          customers start at that figure and negotiate downward, and there’s always some
          contractor that is willing to say okay to lower number, using some excuse to justify
          the win, Fluor included.

                  We have had 12 gas-fired power projects since 2003. 10 of the 12 have
          underperformed our as-sold expectation, with 3 suffering losses. Competition, both
          public and private had, had similar experiences, with no current projects performing
          as expected. Some industry leaders think these are cookie-cutter projects, but they
          are not. These projects have different machines, different site locations, different
          labor pools, all of which produce different outcomes. Craft labor in this case has
          been the major issue.

                                                  - 162 -
 Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                     Page 169 of 184 PageID 2573



                 Therefore, Fluor will discontinue the pursuit of lump-sum gas-fired power
          market from the end of Q1.

          317.      When asked by an analyst about the charges taken by Fluor over the prior years and

 Fluor’s decision to exit the gas-fired power business, Seaton admitted that there were “fatal flaws in

 the bidding process of all of those projects, and there were execution issues that weren’t properly

 covered.”

          318.      As a result of these disclosures, on May 4, 2018, Fluor stock fell 22.43% on very high

 trading volume, closing at $45.76. The following trading day, May 7, 2018, Fluor stock fell another

 2.78% to close at $44.49. The full extent and ramifications of the fraud were not disclosed,

 however, and the price of Fluor securities remained artificially inflated.

          319.      On October 10, 2018, Fluor announced its preliminary financial results for Q3 2018

 in a press release filed on Form 8-K. The results included an additional charge of “$35 million for

 forecast revisions on a gas-fired power project in Citrus County, Florida.” On the earnings call, held

 after market hours on October 10, 2018, Seaton stated that the Citrus County Plant continued to

 consume “twice the amount of labor to complete the items as compared to our forecasts” and

 indicated that Fluor would issue revised guidance on the forthcoming Q3 2018 earnings call.

          320.      As a result of these revelations, on October 11, 2018, the price of Fluor common

 stock dropped 17.24% to close at $46.53 on extremely high trading volume. Defendants did not

 disclose the full extent and ramifications of the fraud, and the price of Fluor stock remained

 artificially inflated.

          321.      On May 2, 2019, filed its Q1 2019 Form 10-Q filed with the SEC and announced

 additional charges on fixed-price projects. The Company reported that it took another $26 million

 charge “resulting from forecast revisions for estimated cost growth at certain fixed-price, gas-fired

 power plant projects,” and noted a $110 million dispute with Duke over costs incurred on the Citrus

 County Plant. It also reported a charge in its Energy & Chemicals segment of $53 million “resulting
                                                 - 163 -
 Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                    Page 170 of 184 PageID 2574



 from forecast revisions for estimated cost growth on [a fixed-price] offshore project” and another

 $31 million charge related to a single customer. The same day, before market hours, Fluor also

 announced that Hernandez was taking over as CEO.

          322.      As a result of these disclosures, on May 2, 2019, Fluor stock fell 24% on very high

 trading volume, closing at $29.72. Because the full extent and ramifications of the fraud were not

 disclosed, the price of Fluor’s stock remained artificially inflated.

          323.      On August 1, 2019, after the market closed, Fluor reported additional charges in its

 Q2 2019 Form 10-Q filed with the SEC. As explained in a press release attached to Form 8-K filed

 with the SEC on the same day, Fluor reported $714 million in charges related to fixed-price contracts

 across the Company’s business divisions. The charges included $109 million on three gas-fired

 projects, $186 million in charges for a fixed-price offshore project, and $87 million for two fixed-

 price downstream projects, and $55 million for forecast revisions on several fixed-price

 infrastructure projects. For the Government segment, Fluor reported $233 million on a fixed-price

 project from the Department of Defense. The Company also entered into monetary settlements with

 gas-fired customers, such as Duke, which had sued Fluor for cost overruns and delays at the Citrus

 County Plant. Fluor also withdrew all guidance. Analysts viewed this as a “‘kitchen sink’ type

 event.” See UBS August 1, 2019 pre earnings call report.

          324.      On August 1, 2019, after market hours, Fluor held its Q2 2019 earnings call. Fluor

 announced that it began conducting a “complete review of the business” on May 1, 2019, prior to the

 previous quarter’s results and earnings. Fluor’s executive chairman, Alan Boeckmann, stated that it

 was “a comprehensive assignment. And for the last 3 months, we have been relentless in looking

 into every aspect” of group leaders, the organization, and the portfolio of business. A new CFO,

 Steuert, was appointed and the Board formed a new Risk Committee made up of three independent

 Board members to oversee current and prospective projects. Lazard, who advises on mergers,

                                                  - 164 -
 Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                     Page 171 of 184 PageID 2575



 acquisitions, restructuring, capital structure, and strategy, was engaged as a strategic advisor.

 Boeckmann concluded by stating that “[o]ur Board absolutely recognizes the gravity of this

 announcement and has taken steps to improve our visibility into the contracting process, including

 the risks that we’re assuming in new projects as well as how we are approaching and executing our

 existing risk projects.”

          325.      Hernandez also discussed the results of the Company-wide review:

                  Please turn to Slide 6. It has become apparent to me that there are a few
          significant and common issues in many of our challenged projects. In May, we
          immediately implemented a more rigorous framework to our pursuit process. We
          have already enacted changes in our bid/no bid process so that our future backlog
          will be comprised of high-quality projects with a contract structure and execution
          approach that will generate improved risk-adjusted margins.

                                              *       *       *

                  With regard to our current backlog, one thing that has become exceedingly
          clear to me is that we must take a more disciplined approach to risk assessment on
          our projects. We have identified our challenges and outlined what needs to be done.
          Additionally, we’re making changes to how we approach engineering and project
          management to ensure our projects are staying in sequence with work not
          commencing until the appropriate reviews are complete.

                                              *       *       *

                  During the second quarter, the company met with a number of our clients,
          subcontractors and suppliers, in an attempt to resolve a number of matters. These
          include ongoing disputes, pending change orders, schedule extensions, closeout
          items, unpaid receivables and our position on outstanding claims.

                  As a result of these discussions, client settlements and revised estimates to
          complete projects, the company evaluated its position on a number of projects, which
          resulted in a pretax charge of $714 million. These charges impact a broad range of
          projects, including certain projects that remain profitable.

          326.      As a result of the disclosures, on August 2, 2019, Fluor stock fell nearly 27% on very

 high trading volume, closing at $22.67. Defendants, however, did not disclose the full extent and

 ramifications of the fraud, and the price of Fluor stock remained artificially inflated.




                                                   - 165 -
 Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                   Page 172 of 184 PageID 2576



          327.      On September 24, 2019, before the market opened, Fluor held a Strategic Review

 Webcast during which the Company announced that it was cutting the dividend by more than half,

 from $0.21 quarterly to $0.10 per share, and that it would be selling its Government business.

 Steuert stated that Fluor “reset the dividend to a level that we currently feel is sustainable and

 appropriate with the level of earnings post restructuring and post asset sales.” The Company also

 announced that it would be taking still more charges for fixed-priced projects, Radford Plant and

 Warren Project. The Company assured investors that it was monitoring “everything” in Fluor’s

 backlog, especially the “fixed price lump sum projects,” but did not disclose issues with its

 accounting control environment, nor did it disclose that the SEC was investigating these issues.

          328.      As a result of the disclosures, on September 24, 2019, Fluor stock fell over 8% on

 high trading volume, closing at $18.95. The full extent and ramifications of the fraud, however, was

 not disclosed, and the price of Fluor securities remained artificially inflated.

          329.      The additional charges concerned analysts. Morningstar Research, for example,

 stated in a September 24, 2019 report: “Given Fluor’s exposure to fixed-price contracts and the risk

 of further cost overruns, we are raising our uncertainty rating to very high from high.” Canaccord

 Genuity similarly stated, in their September 24, 2019 report, “we were disappointed with the

 disclosure that further negative costs re-forecasts would be taken in Q3/2019 in the Government

 segment, including on a newly disclosed troubled project.”

          330.      On February 18, 2020, Fluor announced that the SEC had opened an investigation

 into its past accounting practices, financial reporting, and charges on fixed-price projects taken in Q2

 2019. As a result, the Company announced that it would be unable to timely file its annual report for

 2019 on Form 10-K. Fluor issued a press release that day filed on Form 8-K, which stated:

          SEC Investigation and Form 10-K filing

                Fluor announced that the Securities and Exchange Commission (“SEC”) is
          conducting an investigation of the Company’s past accounting and financial
                                             - 166 -
 Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                   Page 173 of 184 PageID 2577



          reporting, and has requested documents and information related to projects for which
          the Company recorded charges in the second quarter of 2019.

                  In the course of responding to the SEC’s data requests and conducting our
          own internal review, the Company is reviewing its prior period reporting and related
          control environment. The Company has not made a determination at this time as to
          whether there are prior period material errors in its financial statements, although
          such remains possible. Given the ongoing internal review and recent developments
          on two projects, the Company does not expect to complete and file its annual report
          on Form 10-K prior to the end of February.

          331.      On the same day, before the market opened, Fluor held its Q4 2019 earnings call.

 Defendants disclosed that the Company was conducting its own internal review, not only of its prior

 financial reporting and control environment, but also its “revenue recognition charges.” Defendants

 stated that, “focusing initially on the Radford contract,” the Company was investigating whether “the

 accounting and financial reporting, along with a limited number of additional projects, was

 recognized in the appropriate reporting period.” Fluor also disclosed that the SEC was investigating

 16 projects that it “took charges” on in Q2 2019. It also disclosed that the “intent of the

 investigation” was to determine whether there were “material errors.” Further, Fluor announced that

 it had empaneled “a special committee of the Board of Directors” to “complete a review with the

 assistance of external advisers.” Fluor also announced that it would no longer be seeking the sale of

 its Government segment. It went on to state that its Form 10-K would not be filed to the end of

 February (it still has not been filed), and that the financial information it provided on the call was

 “preliminary, unaudited and subject to change.”

          332.      As a result of these disclosures, on February 18-19, 2020, Fluor stock fell 28% on

 very high trading volume, closing at $14.06.

          333.      Analysts were shocked by the disclosures. UBS’ February 18, 2020 report, titled

 “Another messy quarter and a new SEC investigation,” stated: “We think the biggest surprises are

 the SEC investigation, the continued uncertainty around projects, and the decision to retain the


                                                  - 167 -
 Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                    Page 174 of 184 PageID 2578



 Government business.”              Similarly, Deutsche Bank issued a report on the same day, titled

 “Investigation Casts Shadow on the Quarter.” And Barclays’s February 18, 2020 report stated:

                   In what’s been a challenging year for FLR, it appears to have gotten a bit
          tougher. 2019 results were withheld due to an SEC investigation, the planned sale
          of its government business was cancelled, and one-off charges (valuation allowance,
          impairments, and restructuring) crept higher in the quarter. . . . There will be
          questions why government was pulled, was it because of interest or truly cash
          potential, but more impactful is that this was a catalyst that some bulls were hoping
          for in the 1H that won’t be there.

          334.      Likewise, Canaccord Genuity’s February 19, 2020 report, titled “Light guide & SEC

 investigation force reset,” stated:

          Investment Recommendation

                  We are downgrading Fluor to HOLD from BUY and cutting our target to
          US $14.00 from US$25.00. Fluor disclosed an SEC investigation and associated
          internal review into prior period reporting that, combined with “recent developments
          on two projects,” have delayed the filing of its 10-K. Additionally, initial 2020 EPS
          guidance came in below our forecast as revenue and margins will take longer to
          recover than we estimated. All told, clarity on the path back to consistent FCF
          generation is not what it needs to be to warrant a Buy rating, in our view.

          Investment Highlights

                  SEC investigation disclosed and 10-K filing delayed – Fluor disclosed an
          SEC investigation of its past accounting and financial reporting, specifically
          surrounding documents associated with charges taken in Q2/2019. The company is
          conducting its own internal review of its prior period reporting and related control
          environment, focusing initially on the Radford contract. Management believes the
          dollar amount of the revenue and subsequent charges taken on the project were
          correct. The question is whether the financial reporting was recognized in the
          appropriate reporting period. Then there is the disclosure of “recent developments
          on two projects”. We do not know what this refers to but understand that these
          projects remain open to subsequent adjustments. As such, Fluor will not be filing
          its 10-K before the end of February and provided very few Q4/2019 details.

                  Confidence in internal controls has been impaired – Rarely does anything
          good for the company come out of an SEC investigation into financial reporting.
          An investigation such as this is particularly worrisome for an E&C company as the
          nature of work performed requires management to make a number of rather
          subjective estimates surrounding project completion and the likelihood of future
          collections from customers, especially related to disputes and change orders.



                                                    - 168 -
 Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                       Page 175 of 184 PageID 2579



          335.      As detailed herein, Defendants revealed the truth concealed by the fraud through a

 series of partial disclosures. Each disclosure removed artificial inflation from the price of Fluor’s

 stock, causing economic injury to Plaintiffs and other members of the Class. The chart below shows

 Fluor’s stock price during the Class Period and the dates of Defendants’ disclosures:




 XII.     APPLICABILITY OF THE PRESUMPTION OF RELIANCE AND THE
          FRAUD-ON-THE-MARKET DOCTRINE

          336.      Plaintiffs and the Class are entitled to a presumption of reliance pursuant to Basic Inc.

 v. Levinson, 485 U.S. 224 (1988), and the fraud-on-the-market doctrine because, during the Class

 Period, the material misstatements and omissions alleged herein would induce a reasonable investor

 to misjudge the value of Fluor common stock and without knowledge of the misrepresented or

 omitted material facts, Plaintiffs and other members of the Class purchased or acquired Fluor

 common stock between the time Defendants misrepresented and failed to disclose material facts

 about their business operations and financial prospects, and the time the true facts were disclosed.

 Accordingly, Plaintiffs and the other members of the Class relied, and were entitled to have relied,

 upon the integrity of the market for Fluor common stock, and are entitled to a presumption of

 reliance on Defendants’ materially false and misleading statements during the Class Period.


                                                    - 169 -
 Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                      Page 176 of 184 PageID 2580



          337.      At all relevant times, the market for Fluor common stock was efficient for the

 following reasons, among others:

                    (a)       Fluor common stock met the requirements for listing, and was listed and

 actively traded on the NYSE, a highly efficient market;

                    (b)       As a regulated issuer, Fluor filed periodic public reports with the SEC; and

                    (c)       Fluor regularly communicated with public investors via established market

 communication mechanisms, including through regular dissemination of press releases on the major

 news wire services and through other wide-ranging public disclosures, such as communications with

 the financial press, securities analysts, and other similar reporting services.

          338.      Plaintiffs and the Class are also entitled to a presumption of reliance under Affiliated

 Ute Citizens of Utah v. United States, 406 U.S. 128 (1972), because the claims asserted herein

 against Defendants are predicated upon omissions of material fact for which there was a duty to

 disclose.

 XIII. THE STATUTORY SAFE HARBOR DOES NOT APPLY TO
       DEFENDANTS’ FALSE AND MISLEADING STATEMENTS AND
       MATERIAL OMISSIONS

          339.      The statements alleged herein to be false and misleading are not subject to the

 protections of the Private Securities Litigation Reform Act of 1995’s (“PSLRA”) statutory Safe

 Harbor for forward-looking statements because: (a) they are not forward-looking; (b) they are

 subject to exclusion; or (c) even if purportedly forward-looking, Defendants cannot meet the

 requirements for invoking the protection, i.e., identifying the statements as forward-looking and

 demonstrating that the statements were accompanied by meaningful cautionary language. Many of

 the statements were misleading in light of omissions of material present or historical facts and cannot

 be considered forward-looking.



                                                     - 170 -
 Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                      Page 177 of 184 PageID 2581



          340.      Under the PSLRA’s statutory Safe Harbor for written statements, a forward-looking

 statement is protected if it is: (a) identified as such; and (b) “accompanied by meaningful cautionary

 statements.”        15 U.S.C. §78u-5(c)(1)(A)(i).       An oral forward-looking statement must be

 accompanied by an oral cautionary statement that it is forward-looking, that actual results may differ

 materially, and that additional information concerning risk factors is contained in a readily available

 written document. In addition, the oral statement must: (a) identify the written document, or portion

 thereof, that contains such factors; and (b) the referenced written document must contain meaningful

 cautionary language. 15 U.S.C. §78u-5(c)(2)(B).

          341.      The Safe Harbor excludes from protection all forward-looking statements that are

 included in financial statements purportedly prepared in compliance with GAAP, including those

 filed with the SEC on Form 8-K. 15 U.S.C. §78u-5(b)(2)(A).

          342.      Statements of historical fact, current condition, or a mixture thereof are not “forward-

 looking” and thus not protected by the Safe Harbor.

          343.      To the extent any of the statements were identified as forward-looking statements,

 they do not fall within the protections of the Safe Harbor because they lacked specific, meaningful

 cautionary statements identifying important factors that could cause actual results to differ materially

 from those in the purportedly forward-looking statements. A warning that identifies a potential risk,

 but implies that such risk had not materialized – i.e., states that something might occur but does not

 state that something actually has already occurred – is not meaningful and does not fall within the

 protections of the Safe Harbor.

          344.      Meaningful risk disclosures must also be substantive and tailored to the forward-

 looking statement they accompany. Many of Defendants’ purported risk disclosures remained

 unchanged over the course of the Class Period, despite the fact that such risks had in fact

 materialized, which change in circumstance was material to the reasonable investor. Defendants’

                                                    - 171 -
 Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                      Page 178 of 184 PageID 2582



 risk disclosures were therefore neither substantive nor tailored and do not satisfy the requirements of

 the Safe Harbor.

          345.      Nor were the historic or present-tense statements made by Defendants assumptions

 underlying or relating to any plan, projection, or statement of future economic performance, as they

 were not stated to be such assumptions when made, nor were any of the projections or forecasts

 made by Defendants expressly related to or stated to be dependent on those historic or present-tense

 statements when made.

          346.      Defendants’ alleged forward-looking statements also do not fall within the protections

 of the Safe Harbor because they had no reasonable basis. Defendants are liable for those false

 forward-looking statements because, at the time each of those forward-looking statements was made,

 the particular speaker knew that the particular forward-looking statement was false or misleading

 and/or the forward-looking statement was authorized and/or approved by an executive officer of

 Fluor, who knew that those statements were false or misleading when made.

 XIV. CLASS ACTION ALLEGATIONS

          347.      Plaintiffs bring this action as a class action pursuant to Rule 23 of the Federal Rules

 of Civil Procedure on behalf of a class of all persons who purchased or otherwise acquired Fluor

 common stock during the Class Period (the “Class”). Excluded from the Class are Defendants;

 members of the immediate families of the Individual Defendants; Fluor’s subsidiaries and affiliates;

 any person who was an officer or director of Fluor during the Class Period; any entity in which any

 Defendant has a controlling interest; and the legal representatives, heirs, successors, and assigns of

 any such excluded person or entity.

          348.      The members of the Class are so numerous that joinder of all members is

 impracticable. The disposition of their claims in a class action will provide substantial benefits to

 the parties and the Court. Throughout the Class Period, Fluor common stock was actively traded on

                                                    - 172 -
 Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                      Page 179 of 184 PageID 2583



 the NYSE, the largest stock exchange in the world. While the exact number of Class members is

 unknown to Plaintiffs at this time and can only be ascertained through appropriate discovery,

 Plaintiffs believe that there are thousands of members in the proposed Class. During the Class

 Period, the number of outstanding shares of Fluor common stock ranged in the hundreds of millions.

 Record owners and other members of the Class may be identified from records maintained by Fluor

 or its transfer agent(s) and may be notified of the pendency of this action using the form of notice

 similar to that customarily used in securities class actions.

          349.      There is a well-defined community of interest in the questions of law and fact

 involved in this case. Common questions of law and fact exist as to all members of the Class and

 predominate over any questions solely affecting individual members of the Class. Among the

 questions of law and fact common to the Class are: (a) whether Defendants violated the Exchange

 Act; (b) whether Defendants omitted and/or misrepresented material facts; (c) whether Defendants

 knew or recklessly disregarded that their statements were false; (d) whether Defendants made the

 statements and omissions at issue with scienter; (e) whether Defendants’ statements and/or

 omissions artificially inflated the price of Fluor common stock; and (f) the extent and appropriate

 measure of damages.

          350.      Plaintiffs’ claims are typical of those of the Class because Plaintiffs and the Class

 sustained damages as a result of Defendants’ wrongful conduct.

          351.      Plaintiffs will adequately protect the interests of the Class and have retained counsel

 who is experienced in securities and class action litigation. Plaintiffs have no interests which

 conflict with those of the Class.

          352.      A class action is superior to all other available methods for the fair and efficient

 adjudication of this controversy because joinder of all members is impracticable. Furthermore, as

 the damages suffered by individual Class members may be relatively small, the expense and burden

                                                    - 173 -
 Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                      Page 180 of 184 PageID 2584



 of individual litigation makes it impossible for members of the Class to individually redress the

 wrongs done to them. There will be no difficulty in the management of this action as a class action.

 XV.      CLAIMS FOR RELIEF

                                                COUNT I
                      For Violations of §10(b) of the Exchange Act and Rule 10b-5
                                         Against All Defendants

          353.      Plaintiffs repeat and reallege each and every allegation contained above as if fully set

 forth herein. Count I is brought pursuant to §10(b) of the Exchange Act, 15 U.S.C. §78j(b), and

 Rule 10b-5 promulgated thereunder, 17 C.F.R. §240.10b-5.

          354.      During the Class Period, Defendants disseminated or approved the false statements

 specified herein, which they knew or deliberately disregarded were misleading in that they contained

 misrepresentations and failed to disclose material facts necessary in order to make the statements

 made, in light of the circumstances under which they were made, not misleading.

          355.      Defendants and the Company’s officers, management, and agents directly and

 indirectly, by the use of means and instrumentalities of interstate commerce, the mails and/or the

 facilities of a national securities exchange: (a) employed devices, schemes, and artifices to defraud;

 (b) made untrue statements of material facts or omitted to state material facts necessary in order to

 make the statements made, in light of the circumstances under which they were made, not

 misleading; or (c) engaged in acts, practices, and a course of business that operated as a fraud or

 deceit upon Plaintiffs and others similarly situated in connection with their purchases of Fluor

 common stock during the Class Period. All Defendants are sued as primary participants in the

 wrongful and illegal conduct charged herein and as controlling persons as alleged below.

          356.      Defendants and the Company’s officers, management, and agents did not have a

 reasonable basis for their alleged false statements and engaged in transactions, practices, and a



                                                    - 174 -
 Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                      Page 181 of 184 PageID 2585



 course of business which operated as a fraud and deceit upon the purchasers of Fluor common stock

 during the Class Period.

          357.      Fluor is liable for all materially false and misleading statements and omissions made

 during the Class Period, as alleged above, including the false and misleading statements made by the

 Company’s officers and agents, as alleged above, as the maker of such statements and under the

 principle of respondent superior.

          358.      The allegations above establish a strong inference that Fluor, as an entity, acted with

 corporate scienter throughout the Class Period, as its officers and agents had actual knowledge of the

 misrepresentations and omissions of material facts set forth herein, or acted with reckless disregard

 for the truth because they failed to ascertain and to disclose such facts, even though such facts were

 available to them. Such material misrepresentations and omissions were done knowingly or with

 recklessness, and without a reasonable basis, for the purpose and effect of concealing the truth about

 Fluor’s business operations and financial prospects. By concealing these material facts from

 investors, Fluor’s share price was artificially inflated during the Class Period.

          359.      Plaintiffs and the Class have suffered damages in that, in reliance on the integrity of

 the market, they paid artificially inflated prices for Fluor common stock. Plaintiffs and the Class

 would not have purchased Fluor common stock at the prices they paid, or at all, if they had been

 aware that the market prices had been artificially and falsely inflated by Defendants’ misleading

 statements.

          360.      As a direct and proximate result of defendants’ wrongful conduct, Plaintiffs and the

 other members of the Class suffered damages in connection with their purchases of Fluor common

 stock during the Class Period.




                                                    - 175 -
 Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                      Page 182 of 184 PageID 2586



                                                     COUNT II
                                    For Violations of §20(a) of the Exchange Act
                                         Against the Individual Defendants

          361.      Plaintiffs repeat and reallege each and every allegation contained above as if fully set

 forth herein. Count II is brought pursuant to §20(a) of the Exchange Act, 15 U.S.C. §78t(a).

          362.      During the Class Period, the Individual Defendants acted as controlling persons of

 Fluor within the meaning of §20(a) of the Exchange Act. Fluor controlled the Individual Defendants

 and its other officers and employees. By virtue of their positions and their power to control public

 statements about Fluor, the Individual Defendants had the power and ability to influence and control

 and did influence and control, directly or indirectly, the Company’s decision-making, including the

 content and dissemination of the various statements which Plaintiffs contend are false and

 misleading. The Individual Defendants participated in the conference calls with investors and

 analysts, described herein, and/or prepared and approved the Company’s SEC filings, annual reports,

 and press releases, described herein, alleged by Plaintiffs to be misleading.

          363.      In particular, Defendants had direct and supervisory involvement in the Company’s

 day-to-day operations and, therefore, are presumed to have had the power to control or influence the

 particular transactions giving rise to the securities violations as alleged herein, and exercised the

 same. By reason of such conduct, Defendants are liable pursuant to §20(a) of the Exchange Act.

          364.      As set forth above, Defendants each violated §10(b) and Rule 10b-5 by their acts and

 omissions as alleged in this Complaint. By virtue of their positions as controlling persons,

 Defendants are liable pursuant to §20(a) of the Exchange Act. As a direct and proximate result of

 Defendants’ wrongful conduct, Plaintiffs and other members of the Class suffered damages in

 connection with their purchases of Fluor common stock during the Class Period.

                                             PRAYER FOR RELIEF

          WHEREFORE, Plaintiffs pray for judgment as follows:

                                                      - 176 -
 Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20                    Page 183 of 184 PageID 2587



           A.       Determining that this action is a proper class action, certifying Plaintiffs as Class

 representatives under Rule 23 of the Federal Rules of Civil Procedure, and designating Plaintiffs’

 counsel as Class Counsel;

           B.       Awarding Plaintiffs and the members of the Class damages and interest;

           C.       Awarding Plaintiffs’ reasonable costs, including attorneys’ fees; and

           D.       Awarding such equitable/injunctive or other relief as the Court may deem just and

 proper.

                                             JURY DEMAND

           Plaintiffs demand a trial by jury.

 DATED: October 29, 2020                         KENDALL LAW GROUP, PLLC
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                                                   - 177 -
 Cases\4827-6295-6752.v1-10/29/20
Case 3:18-cv-01338-X Document 130-4 Filed 10/29/20      Page 184 of 184 PageID 2588



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                                      - 178 -
 Cases\4827-6295-6752.v1-10/29/20
